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-and-

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Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor.1                    )



          SUMMARY COVER SHEET TO FOURTH INTERIM APPLICATION FOR
             ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
          EXPENSES BY PACHULSKI STANG ZIEHL & JONES LLP AS COUNSEL
             TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH JANUARY 31, 2022


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.


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          In accordance with the Local Rules for the Southern District of New York, Pachulski

  Stang Ziehl & Jones LLC (“PSZJ”), Counsel for the Official Committee of Unsecured Creditors

  (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New York (the

  “Debtor”), submits this summary (this “Summary”) of fees and expenses sought as actual,

  reasonable, and necessary in the fee application to which this Summary is attached (the

  “Application”) for the period from October 1, 2021 through January 31, 2022 (the “Application

  Period”).

          PSZJ submits the Application as an interim fee application in accordance with the Order

  Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

  Professionals dated November 4, 2020 [Docket No. 129] (the “Interim Compensation Order”).

Name of Applicant:                                                   Pachulski Stang Ziehl & Jones LLP
Name of client:                                                      Official Committee of Unsecured Creditors
Time period covered by this application:                             October 1, 2021 through January 31, 20222
Total compensation sought this period:                               $883,629.00
Total expenses sought this period:                                   $ 16,266.20
Petition Date:                                                       October 1, 2020
Retention Date:                                                      Effective October 16, 2020
Date of order approving employment:                                  November 17, 2020

Total compensation approved by interim order to date: $3,618,016.35

Total expenses approved by interim order to date:                    $     44,839.92
Blended rate in this application for all attorneys:                  $919.56
Blended rate in this application for all timekeepers:                $754.40
Compensation sought in this application already
paid pursuant to a monthly compensation order                        $524,990.80
but not yet allowed:



  2
    The applicant reserves the right to include any time expended and expenses incurred in the period indicated above
  in future application(s) if it is not included herein.


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Expenses sought in this application already paid
pursuant to a monthly compensation order but not yet        $ 16,266.20
allowed:
Number of professionals included in this application:       21
If applicable, number of professionals in this
application not included in staffing plan approved by       N/A
client:
If applicable, difference between fees budgeted
                                                            N/A
and compensation sought for this period:
Number of professionals billing fewer than 15 hours
                                                            9
to the case during this period:
                                                        As disclosed in its retention application the
Are any rates higher than those approved or disclosed
                                                        Firm’s standard hourly rates are subject to
at retention? If yes, calculate and disclose the total
                                                        periodic adjustment. The actual rates charged
compensation sought in this application using the rates
                                                        are disclosed herein and in the attached
originally disclosed in the retention application:
                                                        invoice
 This is a(n):    ☐ Monthly       ☒ Interim     ☐ Final Application.

                         Monthly Fee Statements (Fourth Interim Fee Period)

                                October 1, 2021 through January 31, 2022

     Date             Period Covered          Requested     Requested      Approved      Approved
    Filed                                       Fees        Expenses         Fees        Expenses
   11/30/21         10/01/21 – 10/31/21       $253,690.00    $5,405.69     $202,952.00    $5,405.69
   12/30/21         11/01/21 – 11/30/21       $253,510.00    $1,075.50     $202,808.00    $1,075.50
   01/28/22         12/01/21 – 12/31/21       $149,038.50    $4,704.51     $119,230.80    $4,704.51
   02/25/22         01/01/22 – 01/31/22       $227,390.50    $5,080.50        Pending      Pending




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                             PRIOR INTERIM FEE APPLICATIONS FILED

    Date           Period Covered        Requested       Requested        Approved        Approved
   Filed                                    Fees         Expenses            Fees         Expenses
  03/17/21     10/15/20 – 01/31/21      $ 987,643.50      $ 5,893.19     $ 978,077.35     $ 5,893.19
  07/19/21     02/01/21 – 05/31/21      $1,471,777.50     $18,816.79     $1,464,277.50    $18,816.79
  11/15/21     06/01/21 – 09/30/21      $1,175,661.50     $20,129.94     $1,175,661.50    $20,129.94

 Date: March 15, 2022                        PACHULSKI STANG ZIEHL & JONES LLP

                                             __________/s/ James I. Stang_____________________
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                                             -and-

                                             Ilan D. Scharf, Esq.
                                             Karen B. Dine, Esq.
                                             Brittany M. Michael, Esq.
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                                                            bmichael@pszjlaw.com
                                               Counsel for the Official Committee
                                               of Unsecured Creditors




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor.1                    )
                                                                )

    FOURTH INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION AND
    REIMBURSEMENT OF EXPENSES BY PACHULSKI STANG ZIEHL & JONES LLP
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH JANUARY 31, 2022

         Pachulski Stang Ziehl & Jones LLC (“PSZJ”), Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of the Debtor in the above-captioned case (the “Debtor”),

hereby submits this fourth interim fee application (the “Fee Application”) for the period from

October 1, 2021 through January 31, 2022 (the “Interim Compensation Period”) in accordance

with the Order Authorizing Procedures for Interim Compensation and Reimbursement of Expenses

of Professionals dated November 4, 2020 [Docket No. 129] (the “Interim Compensation Order”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”), the

Amended Guidelines for Fees and Disbursements for Professionals in the Southern District of New

York Bankruptcy Cases, effective December 4, 2009 (together with the “Local Rules”, the “Local

Guidelines”), the United States Trustee Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under 11 U.S.C. §330, effective January 31, 1996, and as

they may be amended (the “U.S. Trustee Guidelines”), and this Court’s Order Under 11 U.S.C.

§§331 and 105(a), Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.


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LLP as Counsel to the Official Committee of Unsecured Creditors Effective as of October 16,

2020, dated November 17, 2020 [Docket 163]. PSZJ requests compensation in the amount of

$883,629.00 for fees on account of reasonable and necessary professional services rendered to the

Committee by PSZJ during the Interim Compensation Period and reimbursement of actual and

necessary costs and expenses in the amount of $16,266.20 incurred by PSZJ during the Interim

Compensation Period. In support of the Application, PSZJ submits the Declaration of James I.

Stang attached hereto as Exhibit A and incorporated herein by reference. In further support of

this Fee Application, PSZJ respectfully represents as follows:

                                         Preliminary Statement

                 1.          During the Interim Compensation Period, PSZJ represented, advised and

assisted the Committee in fulfilling its statutory obligations and duties to unsecured creditors and

rendered services to the Committee in accordance with its instructions and directions. By this Fee

Application, PSZJ requests (a) interim allowance and payment of compensation in the amount of

$883,629.00; and (b) reimbursement of actual and necessary costs and expenses in the amount of

$16,266.20. PSZJ reserves the right to apply in the future for reimbursement of actual and

necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Application Period.

                 2.          To date, PSZJ has been paid a total of $541,257.00, comprising

(a) compensation of $524,990.80, representing 80% of its fees incurred during the Interim

Compensation Period; and (b) reimbursement of $16,266.20, representing 100% of its actual and

necessary expenses incurred during the Interim Compensation Period. By this Fee Application,

PSZJ seeks interim allowance and payment of all compensation for services rendered during the

Interim Compensation Period.




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                                                Background

                 3.          On October 1, 2020 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code with the Bankruptcy Court for the

Southern District of New York. The Debtor is operating its business and managing its properties

as debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee

or examiner has been appointed in this case.

                 4.          On October 16, 2020, the Office of the United States Trustee (the “UST”)

appointed the Committee pursuant to Section 1102 of the Bankruptcy Code. The Committee

consists of nine individuals who hold claims against the Debtor, including eight individuals who

were sexually abused as minors by perpetrators for whom the Debtor was responsible and one

representative of a minor with a civil rights claim against the Debtor.

                 5.          Following the Committee’s appointment, the Committee elected a Chair,

determined it needed counsel and, subject to Court approval, hired PSZJ on October 16, 2020.

                 6.          On November 04, 2020, the Committee filed for Entry of an Order Under

11 U.S.C. §§ 1103(A) and 328(A) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment of

Pachulski Stang Ziehl & Jones LLC as Counsel to the Official Committee of Unsecured Creditors

Effective as of October 16, 2020 (the “Retention Application”). As set forth in the Retention

Application, the Committee selected PSZJ to provide the following services to the Committee:

                                    assisting, advising and representing the Committee in its
                                    consultations with the Debtor regarding the administration of this
                                    Case;

                                    assisting, advising and representing the Committee in analyzing
                                    the Debtor’s assets and liabilities, investigating the extent and
                                    validity of liens or other interests in the Debtor’s property and
                                    participating in and reviewing any proposed asset sales, any asset
                                    dispositions, financing arrangements and cash collateral
                                    stipulations or proceedings;



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                               reviewing and analyzing all applications, motions, orders,
                               statements of operations and schedules filed with the Court by the
                               Debtor or third parties, advising the Committee as to their
                               propriety, and, after consultation with the Committee, taking
                               appropriate action;

                               preparing necessary applications, motions, answers, orders, reports
                               and other legal papers on behalf of the Committee;

                               representing the Committee at hearings held before the Court and
                               communicating with the Committee regarding the issues raised, as
                               well as the decisions of the Court;

                               performing all other legal services for the Committee which may
                               be necessary and proper in this Case and any related proceeding(s);

                               representing the Committee in connection with any litigation,
                               disputes or other matters that may arise in connection with this
                               Case or any related proceeding(s);

                               assisting, advising and representing the Committee in any manner
                               relevant to reviewing and determining the Debtor’s rights and
                               obligations under leases and other executory contracts;

                               assisting, advising and representing the Committee in investigating
                               the acts, conduct, assets, liabilities and financial condition of the
                               Debtor, the Debtor’s operations and the desirability of the
                               continuance of any portion of those operations, and any other
                               matters relevant to this Case;

                               assisting, advising and representing the Committee in their
                               participation in the negotiation, formulation and drafting of a plan
                               of liquidation or reorganization;

                               assisting, advising and representing the Committee on the issues
                               concerning the appointment of a trustee or examiner under section
                               1104 of the Bankruptcy Code;

                               assisting, advising and representing the Committee in
                               understanding its powers and its duties under the Bankruptcy Code
                               and the Bankruptcy Rules and in performing other services as are
                               in the interests of those represented by the Committee;

                               assisting, advising and representing the Committee in the
                               evaluation of claims and on any litigation matters, including
                               avoidance actions; and




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                                    providing such other services to the Committee as may be
                                    necessary in this Case or any related proceeding(s).

                 7.          On November 17, 2020, the Court entered the Order Authorizing and

Approving the Application of the Official Creditors’ Committee for Entry of an Order Under 11

U.S.C. §§ 1103(a) and 328(a) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment of

Pachulski Stang Ziehl & Jones LLC as Counsel to the Official Committee of Unsecured Creditors

Effective as of October 16, 2020 (the “Retention Order”). The Retention Order provides that all

compensation and reimbursement of costs and expenses incurred during PSZJ’s employment be

paid only after appropriate application and approval of this Court.

                                          Jurisdiction and Venue

                 8.          This Court has jurisdiction to hear and determine this Fee Application

pursuant to 28 U.S.C. §§ 157 and 1334. Venue is proper in this district pursuant to 28 U.S.C. §§

1408 and 1409. Sections 328(a), 330, and 1103(a) of the Bankruptcy Code and Bankruptcy Rule

2014 are the statutory predicates for the relief sought by this Fee Application.

                                              Billing Practices

                 9.          PSZJ is applying for compensation for professional services rendered in

accordance with its customary practices and in compliance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, Local Rules, any order establishing procedures for

interim compensation and reimbursement of expenses of this Court entered in this case, and any

other applicable orders of this Court and guidelines established by the United States Trustee.

                 10.         For professional services, fees are based on the PSZJ’s hourly rates. The

proposed rates of compensation, subject to final Court approval, are the customary hourly rates in

effect when services are performed by the professionals and paraprofessionals who provide

services to the Committee. In the Retention Application, the standard hourly rates for the PSZJ



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attorneys who are expected to primarily work on this matter were $1,195 for James I. Stang, $1,075

for Karen B. Dine, $995 for Kenneth H. Brown, $825 for Gail S. Greenwood, $795 for Ilan D.

Scharf, and $650 for Brittany M. Michael. PSZJ’s current standard hourly rates are:

                               Partners                 $725.00 to $1,495.00 per hour

                               Counsel                  $650.00 to $1,195.00 per hour

                               Associates               $575.00 to $695.00 per hour

                               Paralegals               $395.00 to $460.00 per hour

                 11.         PSZJ’s hourly rates are set at a level designed to fairly compensate PSZJ

for the work of its attorneys and paralegals and to cover fixed and routine overhead expenses.

Hourly rates vary with the experience and seniority of the individuals assigned, and by geographic

location and market. These hourly rates are subject to periodic adjustments to reflect economic

and other conditions and are consistent with the rates charged elsewhere. PSZJ’s hourly fees are

comparable to those charged by attorneys of similar experience and expertise for engagements of

scope and complexity similar to this chapter 11 case and are reasonable.

                 12.         PSZJ proposes to reduce its hourly rates for the benefit of the Committee’s

constituency (i.e., holders of tort claims against the Debtor). In order to assure that any price

reduction inures solely to the benefit of the Committee’s constituency, PSZJ will hold ten percent

of all fees received in this Case in a trust account to benefit this Case’s tort claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created,

the funds will be donated to a child advocacy organization to be selected by the Committee at the

conclusion of the Case.

                 13.         PSZJ will also seek reimbursement for actual and necessary expenses

incurred in connection with its engagement by the Committee in this Chapter 11 case. It is PSZJ’s




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policy to charge its clients in all areas of practice for all other expenses incurred in connection with

the client’s Case. The expenses charged to clients include, among other things, telephone charges,

mail and express mail charges, fax charges, special or hand delivery charges, document retrieval,

photocopying charges, charges for mailing supplies (including, without limitation, envelopes and

labels) provided by PSZJ to outside copying services for use in mass mailings, travel expenses,

expenses for “working meals,” computerized research, transcription costs, as well as non-ordinary

overhead expenses such as secretarial and other overtime. PSZJ will charge the Committee for

these expenses in a manner and at rates consistent with charges made generally to PSZJ’s other

clients, and all amendments and supplemental standing orders of the Court. PSZJ believes that it

is more appropriate to charge these expenses to the clients incurring them than to increase its hourly

rates and spread the expenses among all clients.

                 14.         PSZJ maintains contemporaneous records of the time expended and actual,

necessary expenses incurred in support of its billings. Time entries are recorded in six-minute

increments.

                 15.         All services for which PSZJ requests compensation were performed for or

on behalf of the Committee. PSZJ has received no payment and no promises for payment from

any source other than the Debtor for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application. PSZJ has not received a retainer in

this case. PSZJ has not entered into any agreement, express or implied, with any other party for

the purpose of fixing or sharing fees or other compensation to be paid for professional services

rendered in this case. No compensation will be paid to PSZJ or any member thereof in connection

with this case other than in accordance with the provisions of the Bankruptcy Code.




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                                          Monthly Fee Statements

                 16.         PSZJ has filed and served the following monthly fee statements for the

period October 1, 2021 through January 31, 2022, pursuant to the Interim Compensation Order.

To date, no objections to the Prior Monthly Statements have been filed.

    Date             Period Covered              Requested      Requested        Approved        Approved
   Filed                                           Fees         Expenses           Fees          Expenses
  11/30/21         10/01/21 – 10/31/21           $253,690.00     $5,405.69       $202,952.00      $5,405.69
  12/30/21         11/01/21 – 11/30/21           $253,510.00     $1,075.50       $202,808.00      $1,075.50
  01/28/22         12/01/21 – 12/31/21           $149,038.50     $4,704.51       $119,230.80      $4,704.51
  02/25/22         01/01/22 – 01/31/22           $227,390.50     $5,080.50          Pending        Pending


                             PRIOR INTERIM FEE APPLICATIONS FILED

    Date           Period Covered             Requested        Requested        Approved         Approved
   Filed                                         Fees          Expenses            Fees          Expenses
  03/17/21     10/15/20 – 01/31/21           $ 987,643.50       $ 5,893.19     $ 978,077.35      $ 5,893.19
  07/19/21     02/01/21 – 05/31/21           $1,471,777.50      $18,816.79     $1,464,277.50     $18,816.79
  11/15/21     06/01/21 – 09/30/21           $1,175,661.50      $20,129.94     $1,175,661.50     $20,129.94

                 17.         This Fee Application is PSZJ’s Fourth Interim fee application and seeks

payment of interim compensation for services rendered to the Committee in amounts that have

been applied for covering the Interim Compensation Period of October 1, 2021 through January

31, 2022.

                 18.         This Fee Application requests that the Court (a) approve interim fees in the

total amount of $883,629.00 and $16,266.20 in reasonable and necessary out-of-pocket expenses

in the total amount of $899,895.20 incurred by PSZJ for services rendered in the Chapter 11 case

during the Interim Compensation Period.

                 19.         The fees requested are reasonable, and all amounts requested were for actual

and necessary services rendered on behalf of the Committee.




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                Summary of Professional Services Rendered and Time Expended

                 20.         Pursuant to the Local Guidelines, PSZJ has classified all services performed

for which compensation is sought for this period into one of several major categories. PSZJ

attempted to place the services performed in the category that best relates to the service provided.

However, because certain services may relate to one or more categories, services pertaining to one

category may in fact be included in another category.

                 21.         Exhibit B sets forth a timekeeper summary that includes the respective

names, positions, department, bar admissions, hourly billing rates and aggregate hours spent by

each PSZJ professional and paraprofessional that provided services to the Committee during the

Interim Compensation Period. The rates charged by PSZJ for services rendered to the Committee

are the same rates that PSZJ charges generally for professional services rendered to its non-

bankruptcy clients.

                 22.         Exhibit C sets forth a task code summary that includes the aggregate hours

per task code spent by PSZJ professionals and paraprofessionals in rendering services to the

Committee during the Interim Compensation Period.

                 23.         Exhibit D sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZJ in connection with

services rendered to the Committee during the Interim Compensation Period.

                 24.         PSZJ’s invoices for the Interim Compensation Period were attached as

exhibits to the Prior Monthly Statements [Docket Nos. 891, 9362, 966 and 989] and are re-attached

here as Exhibit E.




2
  The invoice attached to the Eleventh Monthly Fee Statement filed with the Court was incorrect; however, the
amounts requested in the fee statement were correct. Attached hereto to the Eleventh Monthly Fee Statement is the
correct invoice.


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                 25.         The following summaries are intended to highlight key services rendered

by PSZJ during the Interim Compensation Period in certain task categories in which PSZJ has

expended a considerable number of hours of behalf of the Committee, and are not meant to be a

detailed description of all work performed.

A.      CA - Case Administration

                 26.         This category includes work regarding case administration issues. During

the Interim Compensation Period the Firm, among other things: (1) maintained a memorandum

of critical dates; (2) reviewed and analyzed dockets; (3) maintained service lists; (4) performed

work regarding a notice of adjournment of discovery status conference; and (5) corresponded and

conferred regarding case administration issues.

                             Fees: $8,948.00;      Hours: 17.70

B.      CEM – Cemetery Transfers

                 27.         This category includes work regarding cemetery transfer issues. During the

Interim Compensation Period the Firm, among other things: (1) performed work regarding a

confidentiality agreement and protective order; (2) reviewed and analyzed the IAC report

regarding cemetery transfers; (3) performed work regarding a memorandum relating to an analysis

of cemetery transfers; (4) performed work regarding a complaint against CemCo; (5) reviewed and

analyzed CemCo document production regarding asset transfers; (6) reviewed and analyzed issues

regarding the Anchin report; (7) reviewed and analyzed cemetery valuation issues; (8) performed

work regarding a PowerPoint presentation to the Committee regarding cemetery transfers;




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(9) performed work regarding discovery requests necessary for cemetery analysis; and

(10) corresponded and conferred regarding cemetery transfer issues.

                             Fees: $36,301.50;     Hours: 36.30

C.      CPO - Compensation of Professionals/Others

                 28.         This category includes work regarding compensation of professionals, other

than the Firm. During the Interim Compensation Period the Firm, among other things: reviewed

and analyzed issues regarding the Debtor’s professionals’ fees.

                             Fees: $3,731.50;      Hours: 4.70

D.      CREV - Claims Review

                 29.         This category includes work regarding claims analysis and review. During

the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed sexual

abuse claims; (2) performed work regarding a sexual abuse claims summary chart; (3) reviewed

and analyzed abuse claims for duplicate claims filed in other bankruptcy cases; (4) redacted

personal identifying information from sexual abuse claims; (5) reviewed and analyzed

demographic information regarding claimants; (6) responded to claimant inquiries; (7) reviewed

and analyzed issues regarding past settlements; (8) reviewed and analyzed claim values;

(9) reviewed and analyzed insurance issues; (10) reviewed and analyzed the claims chart;

(11) reviewed and analyzed insurance charts; (12) reviewed and analyzed claims slotting issues;

(13) reviewed and analyzed claims valuation issues; (14) prepared for and attended a telephonic

meeting with State Court Counsel regarding claim review issues; and (15) corresponded and

conferred regarding claims review issues.

                             Fees: $188,282.00;    Hours: 326.10




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E.      CRF - Committee Discovery Requests – Finance/Govern

                 30.         This category includes work regarding Committee discovery requests

relating to financial and governance issues. During the Interim Compensation Period the Firm,

among other things: (1) performed work regarding a discovery plan; (2) reviewed and analyzed

finance council minutes and materials; (3) reviewed and analyzed asset investigation issues;

(4) reviewed and analyzed issues regarding Ecclesia; (5) reviewed and analyzed documents

regarding financial condition of the Diocese and affiliates; (6) reviewed and analyzed Debtor

document production and prepared it for Committee review; (7) reviewed and analyzed issues

regarding Unitas document review; (8) reviewed and analyzed the Debtor’s produced policies and

guidelines; (9) prepared for and participated in teleconferences with Debtor’s counsel regarding

document production; (10) monitored discovery status; (11) reviewed and analyzed issues

regarding EBS Licenses; (12) reviewed and analyzed strategy issues regarding outstanding

discovery requests; (13) performed work regarding new discovery requests; (14) reviewed and

analyzed restricted asset documents; (15) reviewed and analyzed issues regarding potential

experts; and (16) corresponded and conferred regarding discovery issues.

                             Fees: $145,072.50;   Hours: 167.70

F.      CRP - Committee Discovery Requests – Parishes

                 31.         This category includes work regarding Committee discovery requests

relating to parishes. During the Interim Compensation Period the Firm, among other things:

(1) reviewed and analyzed issues regarding Parish real estate; and (2) reviewed and analyzed

Parish property sale issues.

                             Fees: $1,462.50;     Hours: 2.10




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G.      CVA - Committee Discovery Requests

                 32.         This category includes work regarding Committee discovery requests.

During the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed

issues regarding abusers named in claims; (2) reviewed and analyzed issues regarding redacted

documents; (3) reviewed and analyzed issues regarding IRCP data; and (4) reviewed and analyzed

CVA-related documents.

                             Fees: $1,912.00;    Hours: 1.60

H.      DCVA - Committee Discovery Requests - CVA

                 33.         This category includes work regarding Committee discovery requests

relating to CVA issues. During the Interim Compensation Period the Firm, among other things,

reviewed and analyzed documents and discovery regarding CVA claims.

                             Fees: $13,314.00;   Hours: 15.20

I.      IAC - IAC/Affiliate Transactions

                 34.         This category includes work regarding issues relating to the IAC and

affiliate transactions. During the Interim Compensation Period the Firm, among other things:

(1) reviewed and analyzed issues regarding IAC actions and mediation; (2) performed research;

(3) reviewed and analyzed issues regarding probable liability and solvency; (4) reviewed and

analyzed statute of limitations issues; (5) prepared for and participated in telephonic conferences

with the special mediator and counsel; (6) reviewed and analyzed IAC exhibits regarding intent

and timing of fraudulent transfers; (7) reviewed and analyzed issues regarding high school

transfers; (8) performed work regarding a complaint related to high school transfers; (9) reviewed

and analyzed evidence issues regarding high school asset transfers and treatment of related cash

and investments; (10) reviewed and analyzed Foundation issues; (11) performed work regarding a

memorandum relating to IAC-investigated transfer issues; (12) performed work regarding a


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memorandum related to high school transfers and analysis of claims; (13) performed work

regarding a PowerPoint presentation to the Committee relating to IAC issues; (14) reviewed and

analyzed New York law regarding fraudulent transfer issues; (15) reviewed and analyzed First

Amendment issues regarding Diocese defenses; (16) reviewed and analyzed issues regarding

mixed intent relating to fraudulent transfers; and (17) corresponded and conferred regarding IAC

and affiliate transaction issues.

                             Fees: $59,854.50;     Hours: 60.20

J.        IFA – Interim Fee Applications

                 35.         This category includes work regarding interim fee applications. During the

Interim Compensation Period the Firm, among other things: (1) communicated with Committee

professionals regarding interim fee applications; (2) performed work regarding the Firm’s Third

interim fee application; (3) performed work regarding the First interim fee application of Ruskin

Moscou Faltschek; (4) performed work regarding the Third interim fee applications of Burns

Bowen Bair and Berkeley Research Group; and (5) corresponded regarding interim fee application

issues.

                             Fees: $15,353.00;     Hours: 23.50

K.        IL – Insurance Litigation

                 36.         This category includes work regarding insurance litigation issues. During

the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed

documents regarding insurance litigation; (2) reviewed and analyzed pleadings relating to

insurance litigation; (3) performed work regarding a proposed post-mediation scheduling order;

(4) reviewed and analyzed issues regarding a coverage chart; (5) reviewed and analyzed insurance

allocation issues; (6) reviewed and analyzed Reed Smith time records; (7) reviewed and analyzed

SIR fund issues; and (8) conferred and corresponded regarding insurance litigation issues.


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                             Fees: $29,585.00;     Hours: 28.60

L.      MCC – Meetings/Conferences with Client

                 37.         This category includes work regarding issues relating to meetings and

conferences with the Committee. During the Interim Compensation Period the Firm, among other

things: (1) prepared for and participated in telephonic conferences with the Committee; (2)

performed work regarding Committee meeting agenda; (3) performed work regarding Committee

meeting minutes; (4) prepared for and attended telephonic conferences with State Court Counsel;

(5) reviewed and analyzed issues regarding a Future Claims Representative motion; (6) performed

work regarding a memorandum to the Committee regarding real property analysis issues; (7)

performed work regarding the preparation of presentations for Committee meetings; and (8)

corresponded and conferred regarding issues relating to meetings with the Committee.

                             Fees: $95,868.00;     Hours: 93.40

M.      MCP – Meetings/Conferences with Committee Professionals

                 38.         This category includes work regarding issues relating to meetings and

conferences with Committee Professionals. During the Interim Compensation Period the Firm,

among other things, conferred with Debtor’s counsel and with Committee professionals regarding

case issues.

                             Fees: $2,493.00;      Hours: 2.40

N.      ME - Mediation

                 39.         This category includes work regarding mediation issues. During the Interim

Compensation Period the Firm, among other things: (1) attended to strategy issues regarding the

mediation process; (2) performed work regarding a mediation order; (3) reviewed and analyzed a

mediation brief; (4) reviewed and analyzed insurance issues; (5) prepared for and attended an

October 19, 2021 telephonic meeting with the mediator and Committee professionals; (6) reviewed


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and analyzed mediation strategy issues; (7) performed work regarding an outline of issues relating

to mediation; (8) reviewed and analyzed issues regarding available insurance assets; (9) reviewed

and analyzed the Debtor’s mediation statement; (10) prepared for and attended a telephonic

conference with the mediator on January 17, 2022; (11) attended to scheduling issues; and

(12) corresponded and conferred regarding mediation issues.

                             Fees: $54,992.50;    Hours: 51.90

O.      MF – Meetings and Conferences with Case Professionals

                 40.         This category includes work regarding meetings and conferences with case

professionals.      During the Interim Compensation Period the Firm, among other things:

(1) prepared for and attended telephonic conferences with attorneys for the Debtor; and (2)

corresponded and conferred regarding issues relating to meetings and conferences with case

professionals.

                             Fees: $12,591.50;    Hours: 11.70

P.      MFA – Monthly Fee Statements

                 41.         This category includes work regarding monthly fee statements. During the

Interim Compensation Period the Firm, among other things: (1) performed work regarding the

Firm’s fee statements; (2) performed work regarding the Burns Bown Bair and Ruskin Moscou

fee statements; and (3) corresponded and conferred regarding monthly fee statement issues.

                             Fees: $15,643.50;    Hours: 31.60

Q.      MOCP – Meetings/Conferences with other Case Parties

                 42.         This category includes work regarding meetings and conferences with other

case parties. During the Interim Compensation Period the Firm, among other things: (1) reviewed

and analyzed privilege and bar date issues; (2) reviewed and analyzed status conference hearing




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issues; and (3) corresponded and conferred regarding issues relating to meetings and conferences

with other case parties.

                             Fees: $1,117.50;     Hours: 0.90

R.      OPH – Open Court Hearing

                 43.         This category includes work regarding court hearings. During the Interim

Compensation Period the Firm, among other things: (1) prepared for and attended a hearing on

October 4, 2021 regarding mediation issues; (2) prepared for and attended a hearing on November

4, 2021 regarding bar date and discovery issues; and (3) corresponded and conferred regarding

court hearing issues.

                             Fees: $4,916.00;     Hours: 4.10

S.      PD – Plan and Disclosure Statement

                 44.         This category includes work regarding a Plan of Reorganization (“Plan”)

and Disclosure Statement. During the Interim Compensation Period the Firm, among other things:

(1) reviewed and analyzed Future Claims Representative issues: (2) reviewed and analyzed issues

regarding the proposed definition of future claims; (3) prepared for and attended a status call with

attorneys for the Debtor on October 8, 2021 regarding the Future Claims Representative motion;

(4) performed research; (5) performed work regarding an objection to the Future Claims

Representative motion; (6) reviewed and analyzed issues regarding defined terms in diocese

chapter 11 plans of reorganization, and performed work regarding a chart of defined terms; and

(7) conferred and corresponded regarding Plan issues.

                             Fees: $21,604.00;    Hours: 28.30

T.      PINJ – Preliminary Injunction

                 45.         This category includes work regarding preliminary injunction issues.

During the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed


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issues regarding a proposed preliminary injunction extension; and (2) corresponded regarding

preliminary injunction issues.

                             Fees: $478.00;        Hours: 0.40

U.      PNTC – Public Notice

                 46.         This category includes work regarding public notice issues. During the

Interim Compensation Period the Firm, among other things: (1) performed work regarding a bar

date order; (2) reviewed and analyzed the Debtor’s motion to modify bar date order; (3) drafted

discovery requests related to bar date motion; (4) reviewed and analyzed claims impacted by the

Debtor’s proposed bar date changes; (5) performed work regarding a limited objection to Debtor’s

motion to amend bar date order; (6) reviewed and analyzed Diocesan child protection protocols;

(7) reviewed and analyzed Diocesan Review Board policies; (8) reviewed and analyzed issues

regarding confidentiality agreements; (9) reviewed and analyzed bar date order issues; (10)

reviewed and analyzed issues regarding a document request related to review board motion; (11)

reviewed and commented on language regarding amendment of bar date order; (12) reviewed and

analyzed issues relating to expert access to proofs of claims; and (13) conferred and corresponded

regarding public notice issues.

                             Fees: $44,782.50;     Hours: 55.10

V.      REAL – Real Estate

                 47.         This category includes work regarding real estate issues. During the Interim

Compensation Period the Firm, among other things: (1) reviewed and analyzed issues regarding

the Diocese’s real estate holdings; (2) performed work regarding a real estate chart; (3) reviewed

and analyzed Diocese and Parish real estate holdings; and (4) conferred and corresponded

regarding real estate issues.

                             Fees: $53,417.50;     Hours: 130.70


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W.        SEM – Seminary Transfers

                 48.         This category includes work regarding Seminary transfer issues. During the

Interim Compensation Period the Firm, among other things: (1) performed work regarding a

stipulation to restrict transfer of Seminary property; (2) reviewed and analyzed budget issues

regarding a Seminary request for funding; (3) reviewed and analyzed Seminary responses to

financial questions; (4) performed work regarding a memoranda to the Committee regarding

Seminary transfer; (5) reviewed and analyzed fraudulent transfer claims regarding Seminary

transfer; (6) reviewed and analyzed burden of proof issues; (7) reviewed and analyzed religious

liberty defenses regarding Seminary transfer; (8) reviewed and analyzed an appraisal proposal

regarding Seminary property; (9) prepared for and attended a telephonic conference with State

Court Counsel regarding Seminary update and strategy; (10) prepared for and attended a telephonic

conference with an appraiser and Debtor’s counsel; (11) reviewed and analyzed chain of title

issues; (12) conferred with an appraiser regarding Seminary property; (13) reviewed and analyzed

a proposed Seminary appraisal; (14) reviewed and analyzed historic Seminary appraisals;

(15) reviewed and analyzed marketability issues; (17) performed work regarding comments to

seminary appraisal assumptions; and (18) corresponded and conferred regarding Seminary transfer

issues.

                             Fees: $71,908.50;     Hours: 74.00

                                        Allowance of Compensation

                 49.         Section 330(a)(1)(A) of the Bankruptcy Code provides that the Court may

award to a professional person, “reasonable compensation for actual, necessary services rendered.”

11 U.S.C. § 330(a)(1)(A). Section 330(a)(3)(A), in turn, provides that in determining the amount




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of reasonable compensation to be awarded, the Court shall consider the nature, the extent, and the

value of such services, taking into account all relevant factors, including:

                                    The time spent on such services;

                                    The rates charges for such services;

                                    Whether the services were necessary to the administration of, or
                                    beneficial at the time which the service was rendered toward the
                                    completion of, a case under this title;

                                    Whether the services were performed within a reasonable amount
                                    of time commensurate with the complexity, importance, and nature
                                    of the problem, issue, or task addressed; and

                                    Whether the compensation is reasonable based on the customary
                                    compensation charged by comparably skilled practitioners in cases
                                    other than cases under this title.

11 U.S.C. § 330(a)(3)(A).

                 50.         The congressional policy expressed above provides for adequate

compensation in order to continue to attract qualified and competent professionals to bankruptcy

cases. PSZJ respectfully submits that the consideration of these factors should result in this Court’s

allowance of the full compensation sought.

                                        Time and Labor Required

                 51.         During the Interim Compensation Period, the Committee relied heavily on

the experience and expertise of PSZJ when dealing with the matters described herein. As a result,

PSZJ devoted significant time and effort to perform properly and expeditiously the required

professional services. During the Interim Compensation Period, PSZJ expended 1,168.20 hours

in providing the requested professional services. PSZJ’s hourly billing rates are based on PSZJ’s

normal billing rates for services of this kind and are competitive with those of other firms with the

same level of qualifications.




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                                Experience and Ability of the Professionals

                 52.         PSZJ’s attorneys have extensive experience representing creditors’

committees, debtors, creditors, trustees, and others in a wide variety of bankruptcy cases. Notably,

attorneys of PSZJ have unique experience representing committees of survivors of childhood

sexual abuse in chapter 11 cases involving entities affiliated with the Roman Catholic Church.

PSZJ also has experience representing Committees comprised of, or including, survivors of

childhood sexual abuse and adult survivors of sexual abuse and harassment, including Boy Scouts

of America, USA Gymnastics, and The Weinstein Companies. Such experience makes PSZJ

highly, if not uniquely, qualified to represent the Committee in this Case, and to maximize

efficiency based on its experience with Roman Catholic dioceses, such as the Debtor.

                                                    Notice

                 53.         Pursuant to the Interim Compensation Order, PSZJ has provided notice of

this Fee Application upon the following parties by electronic or first class mail: (a) the Debtor c/o

The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville

Centre, NY 11571-9023 (Attn: Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250

Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and

Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee Region 2 (the “U.S.

Trustee”), 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara

Cornell, Esq.). No other or further notice need be provided.

                                                  Conclusion

                 54.         PSZJ respectfully requests that the Court enter an order, in the form attached

hereto as Exhibit F, (a) granting the relief requested in this Fee Application; (b) allowing (i) PSZJ

interim fees in the total amount of $883,629.00 for services rendered in the Chapter 11 case, and

(ii) reimbursement of actual and necessary costs and expenses in the amount of $16,266.20 during


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the Interim Compensation Period; (c) authorizing and directing payment of the unpaid portion of

such allowed interim fees and costs; and (d) granting such further relief as is just and proper.

 Date: March 15, 2022                        PACHULSKI STANG ZIEHL & JONES LLP

                                             __________/s/ James I. Stang________________
                                             James I. Stang, Esq. (admitted pro hac vice)
                                             10100 Santa Monica, Boulevard, 11th Floor
                                             Los Angeles, California 90067
                                             Telephone:      (310) 277-6910
                                             Facsimile:     (310) 201-0760
                                             Email:         jstang@pszjlaw.com

                                             -and-

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                                             Brittany M. Michael, Esq.
                                             780 Third Avenue, 36th Floor
                                             New York, New York 10017
                                             Telephone:      (212) 561-7700
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                                                            ischarf@pszjlaw.com
                                                            bmichael@pszjlaw.com
                                               Counsel for the Official Committee
                                               of Unsecured Creditors




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                                               EXHIBIT A

                                       Declaration of James I. Stang

                 I, James I. Stang, declare under penalty of perjury pursuant to 28 U.S.C. § 1746

and pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure and Rule 2016 of the

Local Rules for the Bankruptcy Court for the Southern District of New York that the following is

true and correct:

                 1.          I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP

(“PSZJ”).

                 2.          I have personally reviewed the information contained in the Application,

and believe its contents to be true and correct to the best of my knowledge, information and belief.

In addition, I believe that the Fee Application complies with the Local Rules for the Southern

District of New York and the Amended Guidelines for Fees and Disbursements for Professionals

in Southern District of New York Bankruptcy Cases.

                 3.          All services for which PSZJ requests compensation were performed for or

on behalf of the Committee. PSZJ has received no payment and no promises for payment from

any source other than the Debtor for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Fee Application. There is no agreement or

understanding between PSZJ and any other person other than the partners of PSZJ for the sharing

of compensation to be received for services rendered in this case. PSZJ has not received a retainer

in this case.

                 4.          PSZJ makes the following disclosures pursuant to the Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

§ 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013.




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                 5.          The Court authorized the Committee to retain PSZJ as their attorneys in this

chapter 11 case pursuant to the Order Authorizing and Approving the Employment of Pachulski

Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured Creditors of the

Debtor Effective as of October 16, 2020 (the “Retention Order”) [Docket No. 163] entered on

November 17, 2020. The billing rates in this Fee Application are those disclosed and approved at

retention, subject to annual rate increases that the Firm makes in the ordinary course of its business.

                 6.          8 professionals and 13 paraprofessionals are included in this Fee

Application. Of those professionals, 9 billed fewer than 15 hours during the Interim Compensation

Period.

                 7.          In accordance with the U.S. Trustee Guidelines, PSZJ responds to the

questions identified therein as follows:

                 Question 1: Did PSZJ agree to any variations from, or alternatives to, PSZJ’s

                 standard or customary billing rates, fees or terms for services pertaining to this

                 engagement that were provided during the application period? If so, please

                 explain.

                 Answer: Yes. PSZJ agreed to hold 10% of its fees in trust for the Committee’s

                 constituency.

                 Question 2: If the fees sought in the Application as compared to the fees

                 budgeted for the time period covered by the Application are higher by 10% or

                 more, did PSZJ discuss the reasons for the variation with the client?

                 Answer: N/A

                 Question 3: Have any of the professionals included in the Application varied

                 their hourly rate based on geographic location of the bankruptcy case?

                 Answer: No.


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                 Question 4: Does the Application include time or fees related to reviewing or

                 revising time records or preparing, reviewing or revising invoices?

                 Answer: No.

                 Question 5: Does the Application include time or fees for reviewing time

                 records to redact any privileged or other confidential information? If so, please

                 quantify hours and fees.

                 Answer: No.

                 Question 6: Does the Application include any rate increases since PSZJ’s

                 retention in this case?

                 Answer: Yes.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Dated: March 15, 2022
                                                              _____/s/ James I. Stang_____
                                                                      James I. Stang




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                                                    EXHIBIT B
                                                Timekeeper Summary

                                                                                    TOTAL
   NAME OF                                       YEAR       YEAR OF     HOURLY                     TOTAL
                                TITLE                                               HOURS
 PROFESSIONAL                                  ADMITTED   PARTNERSHIP    RATE                   COMPENSATION
                                                                                    BILLED
James I. Stang          Partner                  1980        1983       $1,595.00        7.80       $ 11,895.00
James I. Stang          Partner                  1980        1983       $1,345.00       25.60       $ 34,432.00
Kenneth H. Brown        Partner                  1981        2001       $1,395.00        2.30       $ 3,208.50
Kenneth H. Brown        Partner                  1981        2001       $1,225.00        6.60       $ 8,085.00
Karen B. Dine           Of Counsel               1994        N/A        $1,295.00       33.00       $ 42,735.00
Karen B. Dine           Of Counsel               1994        N/A        $1,195.00      139.50       $166,702.50
Iain A. W. Nasatir      Partner                  1983        1999       $1,295.00        7.90       $ 10,230.50
Iain A. W. Nasatir      Partner                  1983        1999       $1,145.00       10.20       $ 11,679.00
Gail S. Greenwood       Of Counsel               1994        N/A        $1,045.00       39.20       $ 40,964.00
Gail S. Greenwood       Of Counsel               1994        N/A        $ 950.00       103.30       $ 98,135.00
Ilan D. Scharf          Partner                  2002        2010       $ 995.00        20.30       $ 20,198.50
Ilan D. Scharf          Partner                  2002        2010       $ 895.00         8.10       $ 7,249.50
William L. Ramseyer     Of Counsel               1980        N/A        $ 850.00        10.60       $ 9,010.00
Brittany M. Michael     Of Counsel               2015        N/A        $ 725.00        71.40       $ 51,765.00
Brittany M. Michael     Of Counsel               2015        N/A        $ 695.00       309.80       $215,311.00
Leslie A. Forrester     Law Library Director     N/A         N/A        $ 495.00         0.50       $    247.50
Leslie A. Forrester     Law Library Director     N/A         N/A        $ 475.00         1.10       $    522.50
Kerri L. LaBrada        Paralegal                N/A         N/A        $ 495.00         5.50       $ 2,722.50
La Asia S. Canty        Paralegal                N/A         N/A        $ 460.00         0.30       $    138.00
Nancy P. F. Lockwood    Paralegal                N/A         N/A        $ 460.00        37.00       $ 17,020.00
Bernadette Anavim       Legal Assistant          N/A         N/A        $ 460.00        24.40       $ 11,224.00
Cheryl A. Knotts        Paralegal                N/A         N/A        $ 425.00         5.10       $ 2,167.50
Ben C. Downing          Other                    N/A         N/A        $ 395.00        38.10       $ 15,049.50
Diane H. Hinojosa       Paralegal                N/A         N/A        $ 395.00       156.50       $ 61,817.50
Denise L. Mendoza       Other                    N/A         N/A        $ 395.00         0.40       $    158.00
Myra Kulick             Other                    N/A         N/A        $ 395.00        49.50       $ 19,552.50
Nancy H. Brown          Legal Assistant          N/A         N/A        $ 395.00         7.00       $ 2,765.00
Rolanda L. Mori         Other                    N/A         N/A        $ 395.00        10.90       $ 4,305.50
Sophia Lee              Other                    N/A         N/A        $ 395.00        36.30       $ 14,338.50
Total                                                                                1,168.20       $883,629.00




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                                        EXHIBIT C

                                    Task Code Summary




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                                          EXHIBIT C

                                      Task Code Summary

         Code                     Description                 Hours        Amount
         CA         Case Administration                          17.70      $ 8,948.00
        CEM         Cemetery Transfers                           36.30      $ 36,301.50
         CPO        Compensation of Prof./Others                  4.70      $ 3,731.50
        CREV        Claims Review                               326.10      $188,282.00
                    Committee Discovery Requests –
         CRF                                                    167.70      $145,072.50
                    Finance/Governance
        CRP         Committee Discovery Requests – Parishes       2.10      $    1,462.50
       CVA          Committee Discovery Requests                  1.60      $    1,912.00
       DCVA         Committee Discovery Requests - CVA           15.20      $   13,314.00
        IAC         IAC/Affiliate Transactions                   60.20      $   59,854.50
        IFA         Interim Fee Applications                     23.50      $   15,353.00
         IL         Insurance Litigation                         28.60      $   29,585.00
       MCC          Mtgs/Conf w/ Client                          93.40      $   95,868.00
       MCP          Mtgs/Conf w/ Cmte Profs                       2.40      $    2,493.00
        ME          Mediation                                    51.90      $   54,992.50
         MF         Mtgs/Conf w/ Case Prof.                      11.70      $   12,591.50
       MFA          Monthly Fee Statements                       31.60      $   15,643.50
       MOCP         Mtgs/Conf w/ Other Case Parties               0.90      $    1,117.50
        OPH         Open Court Hearings                           4.10      $    4,916.00
         PD         Plan & Disclosure Statement                  28.30      $   21,604.00
        PINJ        Preliminary Injunction                        0.40      $      478.00
       PNTC         Public Notice                                55.10      $   44,782.50
       REAL         Real Estate                                 130.70      $   53,417.50
        SEM         Seminary Transfers                           74.00      $   71,908.50
        Total                                                  1,168.20      $883,629.00




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                                        EXHIBIT D

                                   Disbursement Summary




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                                        EXHIBIT D

                                   Disbursement Summary

                       Expenses (by Category)                   Amounts
            Bloomberg                                                $    55.40
            Conference Call                                          $ 840.03
            Federal Express                                          $    47.84
            Legal Research – Lexis/Nexis                             $ 992.82
            Legal Vision Atty Mess Service                           $ 127.50
            Outside Services                                         $ 8,557.99
            Court Research - Pacer                                   $    51.10
            Postage                                                  $ 163.72
            Reproduction Expense                                     $ 557.60
            Reproduction/ Scan Copy                                  $ 129.60
            Research                                                 $ 4,527.10
            Transcript                                               $ 215.50
            Total                                                    $16,266.20




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                                        EXHIBIT E

                PSZJ’s Monthly Invoices for October 2021 through January 2022




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                                             Objection Deadline: December 15, 2021

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               bmichael@pszjlaw.com

Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                         Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


              TENTH MONTHLY FEE STATEMENT OF PACHULSKI
           STANG ZIEHL & JONES LLP FOR PROFESSIONAL SERVICES
           RENDERED AND DISBURSEMENTS INCURRED AS COUNSEL
          TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021




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    Name of Applicant:                                                Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services                       Official Committee of Unsecured Creditors
    to:
                                                                      Effective October 16, 2020 pursuant to Order
    Date of Retention:
                                                                      dated November 17, 2020 [Docket No.163]
    Period for which Compensation and
                                                                      October 1, 2021 – October 30, 2021 1
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                                      $202,952.00 (80% of $253,690.00)
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                                      $5,405.69
    as Actual, Reasonable and Necessary:

This is a:            x Monthly                Interim              Final Application.

                                                   Preliminary Statement

          Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), attorneys for the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York (the “Debtor”), hereby submits this statement of fees and disbursements (the

“Monthly Statement”) for the period from October 1, 2021 through October 31, 2021 (the

“Compensation Period”) in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals dated November 4, 2020

[Docket No. 129] (the “Interim Compensation Order”). PSZ&J requests (a) interim allowance

and payment of compensation in the amount of $202,952.00 (80% of $253,690.00) for fees on

account of reasonable and necessary professional services rendered to the Committee by

PSZ&J 2; and (b) reimbursement of actual and necessary costs and expenses in the amount of

$5,405.69. PSZ&J reserves the right to apply in the future for reimbursement of actual and




1 The applicant reserves the right to include any time expended in the time period indicated above in future application(s) if it is
not included herein.
2 PSZJ will hold ten percent of all fees received in this Case in a trust account to benefit this Case’s tort claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created, the funds will be donated to a
child advocacy organization to be selected by the Committee at the conclusion of the Case.



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necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Compensation Period.

                        Services Rendered During the Compensation Period

                 Exhibit A sets forth a timekeeper summary that includes the respective names,

positions, department, bar admissions, hourly billing rates and aggregate hours spent by each

PSZ&J professional and paraprofessional that provided services to the Committee during the

Compensation Period. The rates charged by PSZ&J for services rendered to the Committee are

the same rates that PSZ&J charges generally for professional services rendered to its non-

bankruptcy clients.

                 Exhibit B sets forth a task code summary that includes the aggregate hours per

task code spent by PSZ&J professionals and paraprofessionals in rendering services to the

Committee during the Compensation Period.

                 Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZ&J in connection with

services rendered to the Committee during the Compensation Period.

                 Exhibit D sets forth a complete itemization of all time records for PSZ&J

professionals and paraprofessionals for the Compensation Period.

                                    Notice and Objection Procedures

                 No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, notice of the Monthly Statement has been served by hand or

overnight delivery upon: (a) the Debtor c/o The Roman Catholic Diocese of Rockville Centre,

50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn: Thomas Renker); (b)

the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne




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Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and (c) the Office of the

United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite 1006, New York,

NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). PSZ&J submits that no other or

further notice need be provided.

                 Pursuant to the Interim Compensation Order, objections to this Application, if

any, must be served upon the Application Recipients by December 15, 2021 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

                 If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay PSZ&J 80% of the fees and 100% of the expenses set forth above.

                 To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is

directed and promptly pay the remainder of the fees and disbursements in the percentages set

forth above. To the extent such objection is not resolved; it shall be preserved and presented to

the Court at the next interim or final fee application hearing.




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                                    PACHULSKI STANG ZIEHL & JONES LLP
 Dated: November 30, 2021
                                     /s/ James I. Stang
                                    James I. Stang, Esq.
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                                    -and-

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                                    ischarf@pszjlaw.com
                                    bmichael@pszjlaw.com

                                    Counsel to the Official Committee of Unsecured
                                    Creditors of The Roman Catholic Diocese of
                                    Rockville Centre, New York




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                                             EXHIBIT A

                                         Timekeeper Summary

 NAME OF PROFESSIONAL           TITLE      YEAR OF      YEAR OF     HOURLY      TOTAL        TOTAL
                                          ADMISSION   PARTNERSHIP    RATE       HOURS     COMPENSATION
                                                                                BILLED




James I. Stang               Partner        1980         1983       $1,345.00    11.50      $15,467.50
Iain A.W. Nasatir            Partner        1983         1998       $1,145.00      5.30      $6,068.50
Kenneth H. Brown             Partner        1981         2001       $1,225.00      2.20      $2,695.00
Gail S. Greenwood            Counsel        1994         N/A         $950.00     50.20      $47,690.00
Karen B. Dine                Counsel        1994         N/A        $1,195.00    53.60      $64,052.00
Brittany M. Michael          Counsel        2015         N/A         $695.00    135.70      $94,311.50
Nancy P.F. Lockwood          Paralegal      N/A          N/A         $460.00     17.00       $7,820.00
Diane H. Hinojosa            Paralegal      N/A          N/A         $395.00     24.70       $9,756.50
La Asia S. Canty             Paralegal      N/A          N/A         $460.00        .30        $138.00
Bernadette Anavim            Assistant      N/A          N/A         $460.00       2.10        $966.00
Sophia L. Lee                Assistant      N/A          N/A         $395.00     11.00       $4,345.00
Leslie A. Forrester          Other          N/A          N/A         $475.00        .80        $380.00
Total                                                                           314.30     $253,690.00




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                                          EXHIBIT B

                                      Task Code Summary

       Code                          Description             Hours      Amount
        CA         Case Administration                         8.30      $4,379.50
       CEM         Cemetery Transfers                          16.10    $15,300.00
        CPO        Comp. of Prof/Others                          .50       $572.50
       CREV        Claims Review                             105.00     $66,701.00
        CRF        Committee Discovery Requests –              27.80
                   Finance/Governance                                   $25,703.50
        CRP        Committee Discovery Requests – Parishes      2.00     $1,390.00
        IAC        IAC/Affiliate Transactions                   8.10     $8,024.50
        IFA        Interim Fee Applications                      .50       $347.50
         IL        Insurance Litigation                         1.60     $1,618.00
       MCC         Mtgs/Conf w/ Client                         23.50    $23,902.50
        ME         Mediation                                   21.40    $20,964.00
        MF         Mtgs/ Conf w/ Case Professionals             3.50     $3,697.50
       MFA         Monthly Fee Statements                       9.00     $4,589.00
        OPH        Open Court Hearings                           .70       $763.00
         PD        Plan & Disclosure Statement                 28.30    $21,604.00
       PNTC        Public Notice                               16.10    $14,699.50
       SEM         Seminary Transfers                          41.90    $39,434.00
                   TOTAL                                      314.30   $253,690.00




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                                       EXHIBIT C

                                 Disbursement Summary


                      Expenses (by Category)            Amounts
            Bloomberg                                         $20.40
            Conference Call                                  $560.03
            Lexis/Nexis – Legal Research                     $515.07
            Outside Services                               $4,165.99
            Pacer – Court Research                            $26.30
            Reproduction Expense                              $56.80
            Research                                          $61.10
            TOTAL                                          $5,405.69




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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      2FWREHU


                                                                                         +RXUV           5DWH       $PRXQW

  &DVH$GPLQLVWUDWLRQ>%@
    13/     &$        &RQWLQXHGXSGDWLQJRIZHHNO\FULWLFDOGDWH                               
                                PHPRUDQGXP

    13/     &$        3UHSDUHFRXQVHOIRUXSFRPLQJKHDULQJV                                    

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK%$QDYLPUHJDUGLQJ                             
                                XSGDWHGFULWLFDOGDWHV

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK%$QDYLPUHJDUGLQJ                             
                                FULWLFDOGDWHV

    %00     &$        5HYLHZFULWLFDOGDWHVPHPRUDQGXP                                         

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                          

    .%'     &$        5HYLHZUHFHQWO\ILOHGSOHDGLQJVRQGRFNHWV                               

    .%'     &$        )ROORZXSFDOOZ-6WDQJUHJDUGLQJRXWVWDQGLQJ                         
                                LVVXHV

    13/     &$        8SGDWHPDVWHUVHUYLFHOLVW                                               

    13/     &$        5HYLHZKHDULQJDJHQGDIRURPQLEXVKHDULQJ                                 
                                VFKHGXOHGIRU

    13/     &$        3UHSDUHXSGDWHGZHHNO\FULWLFDOGDWHPHPRUDQGXP                          

    .%'     &$        5HYLHZGUDIWQRWLFHRIDGMRXUQPHQWRIGLVFRYHU\                         
                                VWDWXVFRQIHUHQFH

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK.'LQHDQG%0LFKDHO                          
                                UHJDUGLQJQRWLFHRIDGMRXUQPHQWRIGLVFRYHU\VWDWXV
                                FRQIHUHQFH

    13/     &$        (GLWVWRQRWLFHRIDGMRXUQPHQWRIGLVFRYHU\VWDWXV                        
                                FRQIHUHQFH

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                            
                                ILQDOL]HGQRWLFHRIDGMRXUQPHQWUHJDUGLQJGLVFRYHU\
                                VWDWXVFRQIHUHQFH

    13/     &$        'UDIWHPDLOWRLQWHUHVWHGSDUWLHVUHJDUGLQJQRWLFHRI                     
                                DGMRXUQPHQWRIGLVFRYHU\VWDWXVFRQIHUHQFH

    13/     &$        3UHSDUHXSGDWHGFULWLFDOGDWHPHPRUDQGXP                                 

    13/     &$        3UHSDUHFHUWLILFDWHRIQRREMHFWLRQVUHJDUGLQJWKH                       
                                &RPPLWWHH VSURIHVVLRQDOV$XJXVWPRQWKO\IHH 
                                6WDWHPHQWV

    13/     &$        3UHSDUHZHHNO\XSGDWHGFULWLFDOGDWHVPHPRUDQGXP                         
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     2FWREHU


                                                                                       +RXUV            5DWH       $PRXQW

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                            
                                FHUWLILFDWHRIQRREMHFWLRQWR&RPPLWWHH$XJXVWIHH
                                VWDWHPHQWV

    13/     &$        )LQDOL]HFHUWLILFDWHRIQRREMHFWLRQWR&RPPLWWHH                        
                                $XJXVWIHHVWDWHPHQWV

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                          

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK%$QDYLPUHJDUGLQJ                            
                                XSGDWHGGHDGOLQHV

    13/     &$        3UHSDUHFHUWLILFDWHRIVHUYLFHRI&RPPLWWHH                               
                                6HSWHPEHUIHHVWDWHPHQWV

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK0.XOLFNUHJDUGLQJ                             
                                VHUYLFHOLVWXSGDWHVIRU&RPPLWWHH6HSWHPEHU
                                PRQWKO\IHHVWDWHPHQWV

    13/     &$        (PDLOVHUYLFHRI&RPPLWWHH6HSWHPEHUIHH                             
                                VWDWHPHQWV

                                                                                                               

  &HPHWHU\7UDQVIHUV
    .%'     &(0       5HYLHZ%0LFKDHOHGLWVWRGUDIWFRQILGHQWLDOLW\                        
                                DJUHHPHQWZLWKFHPHWHU\

    %00     &(0       5HYLHZSURSRVHGFRQILGHQWLDOLW\DJUHHPHQW                                

    .%'     &(0       5HYLHZDQGSUHSDUHFRPPHQWVWR%0LFKDHOHGLWV                         
                                GUDIWFRQILGHQWLDOLW\DJUHHPHQW

    %00     &(0       ,QFRUSRUDWH.'LQHHGLWVDQGIXUWKHUUHYLVHGUDIW                       
                                FRQILGHQWLDOLW\RUGHUZLWKFHPHWHU\

    .%'     &(0       5HYLHZSURSRVHGDGGLWLRQDOUHYLVLRQVWR                                 
                                FRQILGHQWLDOLW\DJUHHPHQW

    .+%     &(0       5HYLHZGUDIWSURWHFWLYHRUGHUDQGHPDLO%0LFKDHO                      
                                UHVDPH

    *6*     &(0       5HYLHZ,$&UHSRUWUHFHPHWHU\WUDQVIHUVDQG                             
                                DQDO\VLVIRUH[SODQDWLRQWR&RPPLWWHH

    .%'     &(0       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-WHDP-RQHV                            
                                'D\DQGFHPHWHU\FRXQVHOUHJDUGLQJ1'$

    .+%     &(0       5HYLHZHPDLOVIURP%0LFKDHOUHFRQILGHQWLDOLW\                        
                                DJUHHPHQW

    *6*     &(0       'UDIWPHPRUHDQDO\VLVRIFHPHWHU\WUDQVIHUVDQG                        
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     2FWREHU


                                                                                       +RXUV            5DWH         $PRXQW
                                UHYLHZXQGHUO\LQJGRFXPHQWVUHVDPH
    *6*     &(0       5HYLHZ$QFKLQUHSRUWV  UHSHUPDQHQW                                   
                                PDLQWHQDQFHDQGHQWHUSULVHYDOXDWLRQV  

    *6*     &(0       'UDIWUHYLVHPHPRWR&RPPLWWHHUHDQDO\VLVRI                            
                                FHPHWHU\WUDQVIHUV

                                                                                                              

  &RPSRI3URI2WKHUV
    ,$:1 &32          5HYLHZ5HHG6PLWKIHHDSSOLFDWLRQ                                        

                                                                                                                 

  &ODLPV5HYLHZ
    6//     &5(9      5HYLHZDQGFKDUWVH[XDODEXVHFODLPV                                      

    -,6     &5(9      &DOOZLWK.'LQH,6FKDUIDQG%0LFKDHOUH                           
                                FODLPVILOHGLQPXOWLSOHFDVHV

    13/     &5(9      5HYLHZDEXVHSURRIRIFODLPV                                              

    .%'     &5(9      &DOOZ,6FKDUI-6WDQJDQG%0LFKDHOUHJDUGLQJ                      
                                FODLPVILOHGLQPXOWLSOHFDVHV

    %00     &5(9      &DOOZLWK.'LQH,6FKDUIDQG-6WDQJUHJDUGLQJ                       
                                SURRIRIFODLPVLQPXOWLSOHFDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    6//     &5(9      5HYLHZDQGFKDUWVH[XDODEXVHFODLPV                                     

    '++     &5(9      5HYLHZDQGFKDUWILOHGVH[XDODEXVHFODLPV                               

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    6//     &5(9      5HYLHZDQGFKDUWVH[DEXVHFODLPV                                        

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

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    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    .%'     &5(9      7HOHSKRQHFRQIHUHQFHZLWK%0LFKDHOUHJDUGLQJ                           
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      2FWREHU


                                                                                         +RXUV           5DWH       $PRXQW
                                FODLPVPDWWHUV
    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    '++     &5(9      5HYLHZILOHGDEXVHFODLPVIRUGXSOLFDWHFODLPVILOHG                      
                                LQRWKHUEDQNUXSWF\FDVHV

    '++     &5(9      5HYLHZILOHGDEXVHFODLPVIRUGXSOLFDWHFODLPVILOHG                      
                                LQRWKHUEDQNUXSWF\FDVHV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    .%'     &5(9      5HYLHZSURRIVRIFODLP                                                  

    .%'     &5(9      5HYLHZSURRIVRIFODLP                                                   

    .%'     &5(9      5HYLHZSURRIVRIFODLP                                                  

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                         
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                         
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    %00     &5(9      $QDO\]HGHPRJUDSKLFLQIRUPDWLRQIRUFODLPDQWV                             

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                         
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                         
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                               

    -,6     &5(9      &DOOZLWKVXUYLYRU VVSRXVHUHJDUGLQJFDVHVWDWXV                        

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                         
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    2FWREHU


                                                                                      +RXUV            5DWH         $PRXQW
                                RWKHUEDQNUXSWF\FDVHV
    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    .%'     &5(9      5HYLHZPRQWKO\IHHVWDWHPHQWUHYLHZSURRIVRI                           
                                FODLP

    .%'     &5(9      5HYLHZSURRIVRIFODLP                                                  

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    .%'     &5(9      5HYLHZSURRIVRIFODLPV                                                 

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                             

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     2FWREHU


                                                                                        +RXUV           5DWH       $PRXQW

  &PWH'LVF5HTV)LQDQFH*RYHUQ
    .%'     &5)       7HOHSKRQHFRQIHUHQFHZLWK%0LFKDHOUHJDUGLQJ                          
                                GLVFRYHU\PDWWHUVDQGQH[WVWHSV

    %00     &5)       5HYLHZILQDQFHFRXQFLOPLQXWHVDQGPDWHULDOV                            

    .%'     &5)       7HOHSKRQHFRQIHUHQFHZLWK-RQHV'D\DQG%                              
                                0LFKDHOUHJDUGLQJRXWVWDQGLQJGLVFRYHU\

    .%'     &5)       )ROORZXSUHJDUGLQJGLVFRYHU\LVVXHVZ%0LFKDHO                       

    %00     &5)       0HHWLQJZLWK-RQHV'D\UHJDUGLQJGRFXPHQW                                
                                SURGXFWLRQ

    %00     &5)       )ROORZXSUHJDUGLQJGLVFRYHU\LVVXHVZ.'LQH                          

    .%'     &5)       &DOOZ%0LFKDHODQG-RQHV'D\UHJDUGLQJ                               
                                GLVFRYHU\PDWWHUV

    .%'     &5)       &DOOZ%5*DQG%0LFKDHOUHJDUGLQJGLVFRYHU\                           
                                VWDWXVDQGQH[WVWHSV

    %00     &5)       0HHWLQJZLWK%5*DQG.'LQHUHJDUGLQJDVVHW                             
                                LQYHVWLJDWLRQ

    .%'     &5)       7HOHSKRQHFRQIHUHQFHZLWK&'L3RPSHRUHJDUGLQJ                         
                                GLVFRYHU\PDWWHUV

    .%'     &5)       &RUUHVSRQGHQFHUHJDUGLQJGLVFRYHU\PDWWHUVZ%5*                        
                                DQG36=-WHDPV

    ,$:1 &5)          2IILFHFRQIHUHQFHZLWK%0LFKDHOUH(FFOHVLD                           
                                ILQDQFLDOV

    .%'     &5)       $QDO\]HGRFXPHQWVUHODWLQJWRILQDQFLDOFRQGLWLRQRI                   
                                GLRFHVHDQGDIILOLDWHV

    %00     &5)       0HHWLQJZLWK,1DVDWLUUHJDUGLQJ(FFOHVLDDQDO\VLV                       

    .%'     &5)       5HYLHZLQIRUPDWLRQUHJDUGLQJILQDQFLDOFRQGLWLRQRI                     
                                GLRFHVH

    %00     &5)       5HYLHZ'HEWRU VUHFHQWGRFXPHQWSURGXFWLRQ                         
                                SUHSDUHVDPHIRU&RPPLWWHHUHYLHZ  

    *6*     &5)       5HYLHZVWDWXVXSGDWHHPDLOVIURP36=-WHDPUH                            
                                GLVFRYHU\DQGDGYHUVDU\SURFHHGLQJV

    .%'     &5)       7HOHSKRQHFRQIHUHQFHZLWK%0LFKDHOUHJDUGLQJ                          
                                GRFXPHQWSURGXFWLRQDQGUHYLHZ

    .%'     &5)       5HYLHZGRFXPHQWVSURGXFHGE\'LRFHVHUHJDUGLQJ                         
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                            3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                ,QYRLFH 
                                                                                  2FWREHU


                                                                                     +RXUV           5DWH       $PRXQW
                                &9$ILQDQFLDOPDWWHUV
    .%'     &5)       5HYLHZFRUUHVSRQGHQFHUHODWLQJWRGRFXPHQW                           
                                SURGXFWLRQ

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJGRFXPHQWSURGXFWLRQ                       
                                DQGRWKHUFDVHLVVXHV

    %00     &5)       5HYLHZ'HEWRU VGRFXPHQWSURGXFWLRQ                            

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-DQG-RQHV'D\                       
                                WHDPVUHJDUGLQJGRFXPHQWSURGXFWLRQ

    .%'     &5)       5HYLHZGRFXPHQWVSURGXFHGUHJDUGLQJ&9$DQG                         
                                ILQDQFLDOPDWWHUVZ%0LFKDHO IRUSDUW

    %00     &5)       &DOOZLWK'HEWRUUHJDUGLQJGRFXPHQWSURGXFWLRQ                        

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJGRFXPHQWSURGXFWLRQ                       
                                DQGRWKHUFDVHLVVXHV

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-DQG-RQHV'D\                       
                                WHDPVUHJDUGLQJRXWVWDQGLQJPDWWHUV

    .%'     &5)       &DOOZ$%XWOHU(6WHSKHQVDQG%0LFKDHO                         
                                UHJDUGLQJRXWVWDQGLQJGLVFRYHU\

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                         
                                SURGXFWLRQ

    .%'     &5)       &DOOZ%5*DQG%0LFKDHOUHJDUGLQJGRFXPHQW                         
                                GLVFRYHU\

    %00     &5)       0HHWLQJZLWK.'LQHDQG%5*UHJDUGLQJDVVHW                          
                                DQDO\VLV

    .%'     &5)       &DOOUHJDUGLQJ(FFOHVLDDQDO\VLVZLWK%5*%                        
                                0LFKDHODQG,1DVDWLU

    .%'     &5)       &RUUHVSRQGHQFHUHODWLQJDPRQJ36=-WHDPDQG6&&                      
                                UHJDUGLQJRXWVWDQGLQJPDWWHUV

    %00     &5)       0HHWLQJZLWK36=-DQG%5*WHDPVUHJDUGLQJ                             
                                (FFOHVLD

    ,$:1 &5)          7HOHSKRQHFRQIHUHQFHZ%5*DQG.'LQHDQG%                       
                                0LFKDHOUH(FFOHVLD

    *6*     &5)       7HOHSKRQHFDOOZLWK%0LFKDHOUH8QLWDVGRFXPHQW                     
                                UHYLHZ

    %00     &5)       &DOOZLWK**UHHQZRRGUHGRFXPHQWUHYLHZ                            

    %00     &5)       5HYLHZ'HEWRU VSURGXFHGSROLFLHVDQGJXLGHOLQHV                     
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     2FWREHU


                                                                                                              

  &PWH'LVF5HTV3DULVKHV
    %00     &53       'LVFXVVLRQZLWK56WURQJDQG&7HUJHYRUNLDQ                             
                                UHJDUGLQJSDULVKUHDOSURSHUW\DQGRWKHUFDVHLVVXHV

    %00     &53       0HHWLQJZLWK%5*UHJDUGLQJSDULVKUHDOHVWDWH                             

                                                                                                                

  ,$&$IILOLDWH7UDQVDFWLRQV
    -,6     ,$&       &DOOZLWK-*RQ]DOH]UHJDUGLQJVWDWXVRI,$&                            
                                DFWLRQVDQGPHGLDWLRQ

    *6*     ,$&       5HYLHZ,$&RUGHU                                                          

    .%'     ,$&       &DOOZ$*RQ]DOH]()LVKHUDQG-6WDQJUHJDUGLQJ                     
                                RQJRLQJFDVHLVVXHV

    *6*     ,$&       )ROORZXSUHVHDUFKUHSUREDEOHOLDELOLW\DQG                             
                                VROYHQF\

    *6*     ,$&       )ROORZXSUHVHDUFKUHFDVHVDGGUHVVLQJVWDWXWHRI                        
                                OLPLWDWLRQDQGSUREDEOHOLDELOLW\

    .%'     ,$&       0HHWLQJZLWK6SHFLDO0HGLDWRUFRXQVHODQG%                            
                                0LFKDHOUHJDUGLQJRXWVWDQGLQJLVVXHV

                                                                                                                

  ,QWHULP)HH$SSOLFDWLRQV
    %00     ,)$       &RPPXQLFDWLRQVZLWK&RPPLWWHHSURIHVVLRQDOV                               
                                UHJDUGLQJLQWHULPIHHDSSOLFDWLRQV

    %00     ,)$       &RPPXQLFDWLRQVZLWK&RPPLWWHHSURIHVVLRQDOV                               
                                UHJDUGLQJLQWHULPIHHDSSOLFDWLRQV

                                                                                                                 

  ,QVXUDQFH/LWLJDWLRQ
    .%'     ,/        &RUUHVSRQGHQFHDPRQJ36=-DQG%XUQV%RZHQ%DLU                           
                                WHDPVUHODWLQJWRLQVXUDQFHDFWLRQV

    .%'     ,/        $QDO\]HGRFXPHQWVZLWKUHVSHFWWRLQVXUDQFH                              
                                OLWLJDWLRQ

    .%'     ,/        5HYLHZFRUUHVSRQGHQFHIURP%XUQV%RZHQ%DLU                              
                                UHJDUGLQJVWDWXVRILQVXUDQFHDFWLRQV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                             3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                 ,QYRLFH 
                                                                                   2FWREHU


                                                                                     +RXUV            5DWH       $PRXQW

    .%'     ,/        5HYLHZSOHDGLQJVUHODWLQJWRLQVXUDQFHOLWLJDWLRQ                     

    13/     ,/        5HYLHZSURSRVHGSRVWPHGLDWLRQVFKHGXOLQJRUGHU                        

    13/     ,/        (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                          
                                SRVWPHGLDWLRQVFKHGXOLQJRUGHU

                                                                                                             

  0WJV&RQIZ&OLHQW
    .%'     0&&       &RUUHVSRQGHQFHZLWK&RPPLWWHHDQG6&&UHJDUGLQJ                       
                                RXWVWDQGLQJPDWWHUV

    %00     0&&       &RPPXQLFDWLRQVZLWK6&&DQG&RPPLWWHH                                  
                                UHJDUGLQJVWDWXVFRQIHUHQFHDQGXSFRPLQJPHHWLQJ

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ&RPPLWWHH6&&DQG36=-                          
                                WHDPUHJDUGLQJFRXUWKHDULQJ

    -,6     0&&       &RPPLWWHHFDOOUHJDUGLQJVWDWXVRIFDVH)&5DQG                     
                                PHGLDWLRQRUGHU

    .%'     0&&       &RUUHVSRQGHQFHZLWK&RPPLWWHH6&&DQG36=-                           
                                WHDPUHJDUGLQJRXWVWDQGLQJPDWWHUV

    .%'     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                  

    .%'     0&&       3UHSDUHIRUFDOOZLWK&RPPLWWHHRQRXWVWDQGLQJ                        
                                PDWWHUV

    .%'     0&&       3DUWLFLSDWHLQFDOOZLWK&RPPLWWHHDQGDGYLVRUV                      
                                UHODWLQJWRRXWVWDQGLQJPDWWHUV

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                           
                                PHHWLQJUHJDUGLQJRQJRLQJLVVXHV

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQG&RPPLWWHH                          
                                UHJDUGLQJPHHWLQJ

    %00     0&&       &RPPXQLFDWLRQZLWK&RPPLWWHHUHJDUGLQJPHHWLQJ                         
                                DQGFDVHXSGDWHV

    .%'     0&&       3UHSDUHDJHQGDIRU6&&PHHWLQJ                                        

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQG6&&                                
                                UHJDUGLQJPHHWLQJDJHQGD

    -,6     0&&       $WWHQG6WDWH&RXUW&RXQVHOPHHWLQJUHJDUGLQJ                         
                                PHGLDWLRQ)&5FRQVWLWXHQF\$,&PHHWLQJZLWK- 
                                *RQ]DOH]

    .%'     0&&       3UHSDUHIRUFDOOZ6&&UHJDUGLQJRXWVWDQGLQJ                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    2FWREHU


                                                                                       +RXUV           5DWH       $PRXQW
                                PDWWHUV
    .%'     0&&       &DOOZ6&&UHJDUGLQJRXWVWDQGLQJPDWWHUV                                

    %00     0&&       3DUWLFLSDWHLQFDOOZLWK6WDWH&RXUW&RXQVHO                            
                                UHJDUGLQJIXWXUHFODLPVUHSUHVHQWDWLYH

    .%'     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                    

    .%'     0&&       5HYLHZDQGSUHSDUHFRPPHQWVWRHPDLOWR                                
                                &RPPLWWHHUHJDUGLQJRXWVWDQGLQJLVVXHV

    %00     0&&       'UDIWFRPPXQLFDWLRQWR&RPPLWWHHUHJDUGLQJ)&5                          
                                PRWLRQ

    -,6     0&&        3DUWLDO &RPPLWWHHPHHWLQJUHJDUGLQJPHGLDWLRQ                       
                                VWDWXVDQGUHODWHGFDVHLVVXHV

    .%'     0&&       3UHSDUHIRUFDOOZ&RPPLWWHHRQRXWVWDQGLQJPDWWHUV                     

    .%'     0&&       &DOOZ&RPPLWWHHDQG6&&UHJDUGLQJRXWVWDQGLQJ                        
                                PDWWHUV

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                            
                                PHHWLQJUHJDUGLQJPHGLDWLRQDQGRWKHUFDVHLVVXHV

    %00     0&&       &RPPXQLFDWLRQZLWK-6WDQJDQG.'LQHUHJDUGLQJ                       
                                IXWXUH&RPPLWWHHPHHWLQJV

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQG6&&                                 
                                UHJDUGLQJRXWVWDQGLQJPDWWHUV

    %00     0&&       &RPPXQLFDWLRQZLWK6&&UHJDUGLQJ'HEWRU¶VODWHVW                        
                                EDUGDWHPRWLRQ

    .%'     0&&       3UHSDUHIRUPHHWLQJZLWK6&&UHJDUGLQJRXWVWDQGLQJ                     
                                PDWWHUV

    .%'     0&&       0HHWLQJZLWK6&&UHJDUGLQJRXWVWDQGLQJLVVXHV                           

    -,6     0&&       $WWHQG6WDWH&RXUW&RXQVHOFDOOUHJDUGLQJ                             
                                PRGLILFDWLRQWREDUGDWHRUGHU

    .%'     0&&       5HYLHZGUDIWPLQXWHVIURPPHHWLQJ                                      

    .%'     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                   

    .%'     0&&       &RUUHVSRQGHQFHZLWK&RPPLWWHHDQG6&&RQ                               
                                RXWVWDQGLQJLVVXHV

    .%'     0&&       3DUWLFLSDWHLQFDOOZ&RPPLWWHHUHJDUGLQJ                             
                                RXWVWDQGLQJPDWWHUV

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                            
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    2FWREHU


                                                                                      +RXUV            5DWH         $PRXQW
                                PHHWLQJUHJDUGLQJLQVXUDQFHDQGRWKHUFDVHLVVXHV
    .%'     0&&       0HHWLQJZ57ROOQHU-'DO\DQG%0LFKDHO                            
                                UHJDUGLQJIHHLVVXHVDQGRWKHUFDVHPDWWHUV

    %00     0&&       &DOOZLWK.'LQHUHJDUGLQJ6WDWH&RXUW&RXQVHO                          
                                PHHWLQJ

    %00     0&&       0HHWLQJZH[HFXWLYHFRPPLWWHHUHJDUGLQJIHHVDQG                         
                                PHHWLQJVFKHGXOLQJ

    %00     0&&       &DOOZLWK.'LQHIROORZLQJXSRQ6&&PHHWLQJ                            

    .%'     0&&       3UHSDUHIRUFDOOZLWK6&&Z-6WDQJ IRUSDUW                          

    .%'     0&&       3DUWLFLSDWHLQFDOOZ6&&UHJDUGLQJRXWVWDQGLQJ                         
                                PDWWHUV

    .%'     0&&       )ROORZXSIURP6&&FDOOZ%0LFKDHO                                    

    .%'     0&&       5HYLHZDQGSUHSDUHFRPPHQWVRQFRUUHVSRQGHQFH                           
                                Z6&&RQRXWVWDQGLQJPDWWHUV

    %00     0&&       3DUWLFLSDWHLQFDOOZLWK6WDWH&RXUW&RXQVHO                             
                                UHJDUGLQJRQJRLQJFDVHLVVXHV

    .%'     0&&       5HYLHZDQGFRPPHQWRQFRUUHVSRQGHQFHWR6&&UH                          
                                RXWVWDQGLQJLVVXHV

                                                                                                             

  0HGLDWLRQ
    13/     0(        5HYLHZDQGUHSO\WRHPDLOIURP%0LFKDHO                                 
                                UHJDUGLQJPHGLDWLRQVWDWXVFRQIHUHQFH

    .%'     0(        5HYLHZQRWLFHRIVWDWXVFRQIHUHQFH                                      

    13/     0(        3UHSDUHIRUPHGLDWLRQVWDWXVFRQIHUHQFHXVLQJ                             
                                &RXUW6ROXWLRQV

    13/     0(        7HOHSKRQHFDOOZLWK%0LFKDHOUHJDUGLQJPHGLDWLRQ                        
                                VWDWXVFRQIHUHQFH

    .%'     0(        6WUDWHJL]HUHJDUGLQJPHGLDWLRQSURFHVVZLWK%                         
                                0LFKDHO-6WDQJDQG,6FKDUI

    .%'     0(        5HYLHZSURSRVHGPHGLDWLRQRUGHU                                         

    %00     0(        0HGLDWLRQVWUDWHJ\PHHWLQJZLWK%0LFKDHO,                           
                                6FKDUIDQG-6WDQJ

    .%'     0(        5HYLHZDQGSUHSDUHFRPPHQWVWRPHGLDWLRQRUGHU                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      2FWREHU


                                                                                         +RXUV           5DWH       $PRXQW

    %00     0(        5HYLVHPHGLDWLRQRUGHU  DQGVHQGVDPHWR36=-                         
                                WHDP  

    %00     0(        )XUWKHUUHYLVHGUDIWPHGLDWLRQRUGHU ZLWK-6WDQJ                      
                                IRUSDUW 

    .%'     0(        5HYLHZDQGSUHSDUHFRPPHQWVWRPHGLDWLRQIRUPRI                         
                                RUGHU

    %00     0(        5HYLVHGUDIWPHGLDWLRQRUGHU                                              

    %00     0(        )XUWKHUUHYLVLRQVWRPHGLDWLRQRUGHU ZLWK$6PLWK                      
                                LQSDUW 

    .%'     0(        5HYLHZFRUUHVSRQGHQFHIURPPHGLDWRUWR36=-WHDP                         
                                UHJDUGLQJPHGLDWLRQ

    .%'     0(        &RUUHVSRQGHQFHUHJDUGLQJGUDIWPHGLDWLRQRUGHU                           
                                Z&RPPLWWHH6&&

    .%'     0(        &RUUHVSRQGHQFHZLWKPHGLDWRUDQG36=-UHJDUGLQJ                          
                                PHGLDWLRQ

    ,$:1 0(           7HOHSKRQHFRQIHUHQFHUHPHGLDWLRQZ%XUQV%RZHQ                          
                                %DLU%0LFKDHO-6WDQJDQG.'LQH

    ,$:1 0(           5HYLHZPHGLDWLRQEULHI                                                  

    -,6     0(        &DOOZLWK.'LQH%0LFKDHO,1DVDWLUDQGVSHFLDO                    
                                LQVXUDQFHFRXQVHOUHPHHWLQJZLWKPHGLDWRU

    .%'     0(        &DOOZ7%XUQV-%DLU-6WDQJ,1DVDWLUDQG%                    
                                0LFKDHOUHJDUGLQJLVVXHVUHODWLQJWRPHGLDWLRQ

    %00     0(        0HGLDWLRQSUHSDUDWLRQPHHWLQJZLWK36=-DQG%XUQV                         
                                %RZHQ%DLUWHDPV

    -,6     0(        'LVFXVVLRQZLWK36=-%5* SDUW %XUQV%RZHQ                            
                                %DLU SDUW UHXSFRPLQJPHHWLQJZLWKPHGLDWRU

    .%'     0(        &DOOZ36=-%5* IRUSDUW DQG%XUQV%RZHQ%DLU                        
                                 IRUSDUW UHJDUGLQJSUHSDUDWLRQIRUPHGLDWLRQ

    %00     0(        0HHWLQJZLWK36=-%5* LQSDUW DQG%XUQV                               
                                %RZHQ%DLU LQSDUW UHJDUGLQJPHHWLQJZLWK9DQ 
                                2VVHOHDU

    ,$:1 0(           0HHWLQJZPHGLDWRUDQG&RPPLWWHHSURIHVVLRQDOV                         

    ,$:1 0(           ([FKDQJHHPDLOVZLWK.LPUHDWWDFKPHQW                                   

    -,6     0(        0HHWLQJEHWZHHQ36=-%5*DQGLQVXUDQFHFRXQVHO                         
                                ZLWK39DQ2VVHODHU PHGLDWRU 
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    2FWREHU


                                                                                      +RXUV            5DWH         $PRXQW

    .%'     0(        3UHSDUHIRUFDOOZ0HGLDWRU                                             

    .%'     0(        &DOOZ39DQ2VVHODHU36=-%XUQV%RZHQ%DLU                         
                                DQG%5*UHJDUGLQJPHGLDWLRQ

    %00     0(        0HHWLQJZLWKPHGLDWRUDQG&RPPLWWHH                                      
                                SURIHVVLRQDOV

    ,$:1 0(           5HYLHZ39DQ2HVOHUHPDLOUHPHGLDWRUDQG                              
                                DWWDFKPHQWV

    .%'     0(        5HYLHZFRUUHVSRQGHQFHIURPPHGLDWRU                                     

                                                                                                             

  0WJV&RQIZ&DVH3URI
    %00     0)        0HHWLQJZLWK-RQHV'D\UHJDUGLQJIXWXUHFODLPV                           
                                UHSUHVHQWDWLYHDQGRWKHUFDVHLVVXHV

    -,6     0)        6WDWXVFDOOZLWK'HEWRUUHJDUGLQJPHGLDWLRQ                             
                                VFKHGXOHGLVFRYHU\DGMRXUQPHQWRIKHDULQJDQG
                                RWKHUFDVHLVVXHV

    .%'     0)        3DUWLFLSDWHLQFDOOZ-RQHV'D\DQG-6WDQJ                            
                                UHJDUGLQJRXWVWDQGLQJLVVXHV

    .%'     0)        )ROORZXSZ-6WDQJIROORZLQJ-RQHV'D\FDOO                           

    -,6     0)        &DOO.'LQHUHJDUGLQJVWDWXVPHHWLQJZLWK'HEWRU                       

    -,6     0)        &DVHVWDWXVFDOOZLWK'HEWRU VFRXQVHO                                  

    %00     0)        0HHWLQJZLWK-RQHV'D\UHJDUGLQJRQJRLQJFDVH                            
                                LVVXHV

    .%'     0)        &DOOZ-RQHV'D\DQG%0LFKDHOUHJDUGLQJ                               
                                RXWVWDQGLQJPDWWHUV

    %00     0)        &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJRQJRLQJFDVH                        
                                LVVXHV

                                                                                                               

  0RQWKO\)HH6WDWHPHQWV
    13/     0)$       'UDIWHPDLOWR-6WDQJ.'LQHDQG%0LFKDHO                           
                                UHJDUGLQJXSGDWHGSURIHVVLRQDOIHHFDOFXODWLRQV
                                SXUVXDQWWRPRQWKO\IHHVWDWHPHQWV

    '++     0)$       5HYLHZHGLW36=-6HSWHPEHUPRQWKO\VWDWHPHQW                             
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     2FWREHU


                                                                                       +RXUV            5DWH       $PRXQW

    '++     0)$       5HYLHZHGLW36=-6HSWHPEHUPRQWKO\VWDWHPHQW                             

    %00     0)$       5HYLVHPRQWKO\IHHVWDWHPHQW                                             

    %00     0)$       5HYLVHPRQWKO\IHHVWDWHPHQW                                             

    '++     0)$       5HYLHZ36=-$XJXVWPRQWKO\VWDWHPHQW                                      

    %00     0)$       5HYLVHPRQWKO\IHHVWDWHPHQW                                             

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                            
                                &RPPLWWHH6HSWHPEHUIHHVWDWHPHQWV

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK-6XOOLYDQUHJDUGLQJ                           
                                5XVNLQIHHVWDWHPHQW

    '++     0)$       3UHSDUH36=-6HSWHPEHUPRQWKO\IHHVWDWHPHQW                             

    '++     0)$       7HOHSKRQHFRQIHUHQFHZLWK0.XOLFNDQGHPDLOV                           
                                WRIURP0.XOLFN1/RFNZRRGDQG%0LFKDHO
                                UHJDUGLQJUHGDFWLRQRIFODLPV

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                            
                                6HSWHPEHUIHHVWDWHPHQWVIRU&RPPLWWHH
                                SURIHVVLRQDOV

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK'+LQRMRVDUHJDUGLQJ                           
                                36=-6HSWHPEHUIHHVWDWHPHQW

    13/     0)$       3UHSDUH%XUQV%RZHQ%DLU6HSWHPEHUIHHVWDWHPHQW                         
                                IRUILOLQJ

    13/     0)$       3UHSDUH5XVNLQ0RVFRX)DOWLVFKHN6HSWHPEHUIHH                           
                                VWDWHPHQWIRUILOLQJ

    13/     0)$       3UHSDUH36=-6HSWHPEHUIHHVWDWHPHQWIRUILOLQJ                          

    13/     0)$       (GLWVWR5XVNLQ0RVFRX)DOWLVFKHN6HSWHPEHUIHH                           
                                VWDWHPHQW

    %00     0)$       5HYLHZILQDOPRQWKO\IHHVWDWHPHQWVDQGIDFLOLWDWH                       
                                ILOLQJ

                                                                                                               

  2SHQ&RXUW+HDULQJ
    .%'     23+       3DUWLFLSDWHLQFRXUWFRQIHUHQFHUHJDUGLQJPHGLDWLRQ                      

    *6*     23+       $WWHQGKHDULQJUHPHGLDWRUVWDWXV                                        

    .%'     23+       &RUUHVSRQGHQFHZLWK&KDPEHUVUHJDUGLQJKHDULQJ                           
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    2FWREHU


                                                                                                               

  3ODQ 'LVFORVXUH6WPW>%@
    %00     3'        &DOOZLWK,6FKDUIUHJDUGLQJIXWXUHFODLPV                             
                                UHSUHVHQWDWLYH

    -,6     3'        &DOOZLWK,6FKDUI.'LQHDQG%0LFKDHO                            
                                UHJDUGLQJXSFRPLQJVWDWXVFRQIHUHQFHIXWXUHFODLPV 
                                UHSH[SHUWUHWHQWLRQPRWLRQRWKHU867LVVXHV

    .%'     3'        &DOOZ6&RUQHOO%0LFKDHODQG,6FKDUI                            
                                UHJDUGLQJUHWHQWLRQRI)&5DQGRIH[SHUWV

    .%'     3'        &DOOZ,6FKDUI-6WDQJDQG%0LFKDHOUHJDUGLQJ                    
                                UHWHQWLRQRI)&5DQGH[SHUWV

    %00     3'        &DOOZLWK.'LQH,6FKDUIDQG867UHJDUGLQJFDVH                    
                                LVVXHV

    %00     3'        &DOOZLWK.'LQH,6FKDUIDQG-6WDQJUHJDUGLQJ                     
                                PRWLRQWRDSSRLQW)&5

    .+%     3'        (PDLOIURP.'LQHUHDSSRLQWPHQWRIPHGLDWRU                          

    .%'     3'        )ROORZXSZ%0LFKDHODQG,6FKDUI LQSDUW                          
                                UHJDUGLQJIXWXUHFODLPVPDWWHUV

    .%'     3'        &RUUHVSRQGHQFHZ-RQHV'D\UHJDUGLQJ)&5                               
                                PDWWHUV

    %00     3'        0HHWLQJZLWK.'LQHDQG,6FKDUI LQSDUW                             
                                UHJDUGLQJIXWXUHFODLPVUHSUHVHQWDWLYH

    .%'     3'        5HYLHZDQGSUHSDUHFRPPHQWVWRUHWHQWLRQRI)&5                        

    %00     3'        5HYLHZSUHFHGHQWRUGHUVDQGGUDIWIXWXUHFODLP                          
                                GHILQLWLRQ

    %00     3'        'UDIWSURSRVHGGHILQLWLRQRIIXWXUHFODLPV                             

    .%'     3'        7HOHSKRQHFDOOZ36=-WHDP$%XWOHUDQG%                           
                                5RVHQEOXPUHJDUGLQJDSSRLQWPHQWRI)&5

    .%'     3'        )ROORZXSFDOOZ%5RVHQEOXPUHJDUGLQJ)&5                            

    .%'     3'        )ROORZXSZ%0LFKDHOUHJDUGLQJREMHFWLRQWR)&5                      
                                PRWLRQ

    .%'     3'        &RUUHVSRQGHQFHDPRQJ36=-DQG-RQHV'D\                                
                                UHJDUGLQJ)&5PRWLRQ

    -,6     3'        6WDWXVFDOOZLWK'HEWRUUHJDUGLQJ)&5PRWLRQ                           

    %00     3'        0HHWLQJZLWK-RQHV'D\UHJDUGLQJIXWXUHFODLPV                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      2FWREHU


                                                                                         +RXUV           5DWH       $PRXQW
                                UHSUHVHQWDWLYH
    %00     3'        5HVHDUFKREMHFWLRQWR'HEWRU V)&5PRWLRQ                                

    /$)     3'        /RFDWHWUDQVFULSWLQ&KULVWLDQ%URWKHUVFDVH                              

    13/     3'        7HOHSKRQHFDOOZLWK%0LFKDHOUHJDUGLQJREMHFWLRQ                         
                                WR'HEWRUSODQRIUHRUJDQL]DWLRQ

    13/     3'        (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                             
                                'HEWRUSODQGHILQLWLRQV

    13/     3'        6HWXSFKDUWUHJDUGLQJSODQGHILQLWLRQVLQGLRFHVH                        
                                FDVHV

    %00     3'        5HVHDUFKREMHFWLRQWR'HEWRU V)&5PRWLRQ                                 

    %00     3'        5HVHDUFKREMHFWLRQWR'HEWRU V)&5PRWLRQ                                 

    %00     3'        5HVHDUFKREMHFWLRQWR'HEWRU V)&5PRWLRQ                                 

    /$)     3'        /HJDOUHVHDUFKUH+HDULQJWUDQVFULSWLQ&KULVWLDQ                        
                                %URWKHUV

    13/     3'        5HVHDUFKGHILQHGWHUPVLQGLRFHVHFKDSWHUSODQV                        
                                RIUHRUJDQL]DWLRQ

    13/     3'        8SGDWHFKDUWRIGHILQHGWHUPVLQGLRFHVHFKDSWHU                      
                                SODQVRIUHRUJDQL]DWLRQ

    13/     3'        (GLWVWRGLRFHVHSODQGHILQLWLRQVFKDUW                                   

    13/     3'        'UDIWHPDLOWR%0LFKDHOUHJDUGLQJGLRFHVHGHILQHG                        
                                WHUPVFKDUW

    %00     3'        5HVHDUFKREMHFWLRQWR'HEWRU V)&5PRWLRQ                                 

    .%'     3'        $QDO\]HLVVXHVUHODWLQJWR)&5PRWLRQZLWK%                            
                                0LFKDHO

    .%'     3'        $QDO\]HLVVXHVUHODWLQJWRDSSOLFDWLRQWRHPSOR\                         
                                )&5Z%0LFKDHO IRUSDUW

    ,$:1 3'           2IILFHFRQIHUHQFHZLWK-%DLUDQG7%XUQV                               
                                UH5HHG6PLWKIHHDSSOLFDWLRQ

    ,$:1 3'           7HOHSKRQHFRQIHUHQFHZ-%DLU7%XUQV%                            
                                0LFKDHO-6WDQJDQG.'LQHUH)&5

    -,6     3'        &DOOZLWK%0LFKDHO.'LQH,1DVDWLUDQGVSHFLDO                    
                                LQVXUDQFHFRXQVHOUHJDUGLQJ)&5GHILQLWLRQ

    .%'     3'        &DOOZ7%XUQV-%DLU-6WDQJ,1DVDWLUDQG%                    
                                0LFKDHOUHJDUGLQJLVVXHVUHODWLQJWR)&5
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      2FWREHU


                                                                                        +RXUV            5DWH         $PRXQW

    %00     3'        5HVHDUFKREMHFWLRQWR'HEWRU V)&5PRWLRQ                                 

    %00     3'        0HHWLQJZLWK36=-DQG%XUQV%RZHQ%DLUUHJDUGLQJ                           
                                IXWXUHFODLPVGHILQLWLRQ

    .%'     3'        5HYLHZDQGSUHSDUHFRPPHQWVWRHPDLOWR-RQHV                             
                                'D\UHJDUGLQJ)&5

                                                                                                               

  3XEOLF1RWLFH
    .%'     317&      &RUUHVSRQGHQFHZLWK-RQHV'D\DQG36=-UHEDU                             
                                GDWHRUGHU

    %00     317&      5HYLHZSURSRVHGFKDQJHVWREDUGDWHRUGHU                                  

    .%'     317&      5HYLHZFRUUHVSRQGHQFHDPRQJ36=-DQG-RQHV'D\                            
                                WHDPVUHJDUGLQJEDUGDWHPRGLILFDWLRQV

    %00     317&      5HYLHZ'HEWRU VSURSRVHGEDUGDWHFKDQJH                               
                                FRPPXQLFDWHVDPHWRWHDP  

    %00     317&      &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJODWHVWEDUGDWH                       
                                PRWLRQ

    %00     317&      &DOOZLWK.'LQHUHJDUGLQJEDUGDWHPRWLRQQH[W                           
                                VWHSV

    .%'     317&      5HYLHZODQJXDJHDQGLVVXHVUHODWLQJWREDUGDWH                           
                                RUGHU

    .%'     317&      7HOHSKRQHFRQIHUHQFHZLWKZ%5RVHQEOXP$                              
                                %XWOHUDQG%0LFKDHOUHJDUGLQJEDUGDWHRUGHU

    .%'     317&      )ROORZXSUHJDUGLQJEDUGDWHRUGHUPRWLRQZ%                            
                                0LFKDHO

    -,6     317&      &DOO,6FKDUIUHPRGLILFDWLRQRIEDUGDWHRUGHU                          

    .%'     317&      )ROORZXSIURP6&&PHHWLQJZ%0LFKDHO                                   

    .%'     317&      5HYLHZFRUUHVSRQGHQFHDPRQJ36=-UHJDUGLQJEDU                            
                                GDWHPDWWHUV

    .%'     317&      &RUUHVSRQGHQFHDPRQJ36=-DQG-RQHV'D\WHDPV                             
                                UHJDUGLQJ%DU'DWHPDWWHUV

    .%'     317&      5HYLHZPRWLRQIRUDPHQGPHQWWREDUGDWHRUGHU                             

    .%'     317&      )ROORZXSFDOOZ%0LFKDHOUHJDUGLQJEDUGDWH                            
                                PRWLRQDQGRXWVWDQGLQJLVVXHV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       2FWREHU


                                                                                         +RXUV            5DWH         $PRXQW

    %00     317&      'UDIWUHVSRQVHWRHPDLOIURP-RQHV'D\UHJDUGLQJ                            
                                EDUGDWHPRWLRQVFKHGXOLQJ

    %00     317&      &DOOZLWK.'LQHUHJDUGLQJEDUGDWHPRWLRQQH[W                            
                                VWHSV

    .%'     317&      3UHSDUHFRPPHQWVWRGUDIWFRUUHVSRQGHQFHUHJDUGLQJ                         
                                EDUGDWHRUGHU

    %00     317&      )ROORZXSZLWK.'LQHUHJDUGLQJEDUGDWHPRWLRQ                            

    %00     317&      'UDIWGLVFRYHU\UHTXHVWVUHODWHGWREDUGDWHPRWLRQ                         

    .%'     317&      )ROORZXSZLWK%0LFKDHOUHJDUGLQJEDUGDWH                               
                                LVVXHV

    .%'     317&      5HYLHZFRUUHVSRQGHQFHZLWK-RQHV'D\DQG                                   
                                &KDPEHUVUHJDUGLQJPRWLRQ

    %00     317&      5HYLHZEDUGDWHRUGHUDQGFRPSDUHWRDSSURYHG                               
                                ODQJXDJH

    %00     317&      5HYLVH5)3VUHEDUGDWHPRWLRQDQGVHQGWR'HEWRU                           

    .%'     317&      7HOHSKRQHFRQIHUHQFHZLWK%0LFKDHOUHJDUGLQJEDU                         
                                GDWHLVVXHVDQGQH[WVWHSV

    .%'     317&      5HYLHZQRWLFHRISUHVHQWPHQW                                               

    %00     317&      $QDO\]HFODLPVLPSDFWHGE\'HEWRU VSURSRVHGEDU                            
                                GDWHFKDQJHV

    %00     317&      &DOOZLWK.'LQHUHJDUGLQJEDUGDWHPRWLRQQH[W                            
                                VWHSV

    %00     317&      &DOOZLWK-RQHV'D\UHJDUGLQJEDUGDWHPRWLRQ                               

    .%'     317&      &DOOZ%5RVHQEOXPDQG$%XWOHURI-RQHV'D\                            
                                DQG%0LFKDHOUHJDUGLQJ%DU'DWH2UGHU

    .%'     317&      )ROORZXSRQLVVXHVGLVFXVVHGRQFDOOZ-RQHV'D\                          
                                Z%0LFKDHO IRUSDUW 

    .%'     317&      5HYLHZDQGDQDO\]HLVVXHVUHODWLQJWR'HERU VEDU                          
                                GDWHPRWLRQ

    %00     317&      'UDIWOLPLWHGREMHFWLRQWREDUGDWHRUGHU                                  

                                                                                                                

  6HPLQDU\7UDQVIHUV
    /6&     6(0       5HYLVHQRWLFHRISUHVHQWPHQWRIVWLSXODWLRQDQGRUGHU                       
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'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      2FWREHU


                                                                                         +RXUV           5DWH       $PRXQW
                                SUHVHQWLQJVDOHDQGUHVHDUFKDQGFRUUHVSRQGHQFH
                                UHJDUGLQJSURFHGXUHVZLWKUHVSHFWWRVDPH
    .+%     6(0       (PDLOVZLWK.'LQHDQG&0XUU\UHUHFRUGLQJ                           
                                VWLSXODWLRQIRUQRWUDQVIHUDQGPHHWLQJZLWK0D\RU 
                                  HPDLOVIURP:+HXHUUH6HPLQDU\3URSHUW\
                                LVVXHV  UHYLHZSURSRVHGGHFOE\&0XUU\UH
                                VWLSXODWLRQ  UHYLHZ6HPLQDU\%XGJHWUHUHTXHVW
                                IRUIXQGLQJ  

    *6*     6(0       5HYLHZUHVSRQVHVE\FRXQVHOUHVHPLQDU\VWDWXVDQG                        
                                UHYLHZHPDLOUHEXGJHW

    .%'     6(0       5HYLHZPDWHULDOVSURYLGHGE\VHPLQDU\UHJDUGLQJ                          
                                ILQDQFLDOFRQGLWLRQ

    .%'     6(0       5HYLHZSURSRVHGVWLSXODWLRQIRUUHFRUGLQJUHJDUGLQJ                      
                                VHPLQDU\SURSHUW\

    %00     6(0       5HYLHZVHPLQDU\UHVSRQVHVWRILQDQFLDOTXHVWLRQV                          

    %00     6(0       'UDIWPHPRWR&RPPLWWHHUHJDUGLQJVHPLQDU\                                
                                WUDQVIHU

    *6*     6(0       &RQIHUZLWK%0LFKDHOUH&RPPLWWHHUHVHDUFK                              
                                PHPR

    *6*     6(0       5HYLHZILQDQFLDOVDQGDSSUDLVDOVUHVHPLQDU\                             
                                WUDQVIHU

    *6*     6(0       'UDIWPHPRUHIDFWXDODQGOHJDOVXPPDU\RI                               
                                IUDXGXOHQWWUDQVIHUFODLPVUHVHPLQDU\WUDQVIHU

    *6*     6(0       'UDIWUHYLVHPHPRUHLQWHQWLRQDOIUDXGXOHQWWUDQVIHU                     
                                FODLPVEDVHGUHODWHGWR6HPLQDU\7UDQVIHU

    *6*     6(0       'UDIWUHYLVHPHPRUHFRQVWUXFWLYHO\IUDXGXOHQW                           
                                WUDQVIHUFODLPVDQGHOHPHQWV

    .+%     6(0       (PDLOVZLWK&0XUU\DQG.'LQHUHVWLSXODWLRQ                          

    *6*     6(0       5HVHDUFKUHYLHZEXUGHQVRISURRIDQGDQDO\VLVRI                         
                                VHPLQDU\WUDQVIHU

    *6*     6(0       'UDIWPHPRUHDQDO\VLVRIVHPLQDU\WUDQVIHU                              

    *6*     6(0       5HVHDUFKUHYLHZUHOLJLRXVOLEHUW\GHIHQVHVUH                            
                                VHPLQDU\WUDQVIHU

    *6*     6(0       'UDIWUHYLVHPHPRUHVHPLQDU\WUDQVIHUDQDO\VLV                         
                                DIILUPDWLYHGHIHQVHVDQGVWUHQJWKVZHDNQHVVHV

    .%'     6(0       &RUUHVSRQGHQFHZLWKUHDOHVWDWHFRXQVHOUHJDUGLQJ                        
                                VWDWXVUHVHPLQDU\
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     2FWREHU


                                                                                        +RXUV           5DWH       $PRXQW

    *6*     6(0       5HYLHZVWLSXODWLRQUHVHPLQDU\SURSHUW\                                   

    %00     6(0       5HYLVH6HPLQDU\PHPR                                                    

    %00     6(0       &DOOZLWK**UHHQZRRGUH6HPLQDU\PHPR                                 

    %00     6(0       &DOOZLWKVSHFLDOPHGLDWRUUHJDUGLQJWUDQVIHU                            
                                LQYHVWLJDWLRQ

    *6*     6(0       5HYLHZHPDLOVUHVHPLQDU\VWDWXVDQGVWLSXODWLRQ                          

    .%'     6(0       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQGVSHFLDOUHDO                         
                                HVWDWHFRXQVHOUHJDUGLQJVWDWXV

    .%'     6(0       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-WHDP                                  
                                VHPLQDU\FRXQVHODQG-RQHV'D\UHJDUGLQJDSSUDLVDO

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                                FODLPV

    *6*     6(0       5HYLHZ&0XUUD\HPDLODQGDSSUDLVDOSURSRVDOUH                         
                                VHPLQDU\SURSHUW\

    .%'     6(0       5HYLHZFRUUHVSRQGHQFHUHJDUGLQJDSSUDLVDOLVVXHV                        
                                DPRQJ36=--RQHV'D\DQGUHDOHVWDWHFRXQVHO

    %00     6(0       5HYLVH6HPLQDU\PHPR                                                     

    %00     6(0       5HYLVH6HPLQDU\PHPR                                                     

    *6*     6(0       5HYLHZHPDLOIURP&0XUUD\UHVHPLQDU\                                  
                                GHYHORSPHQWDSSURYDOWLPHOLQHV

    .%'     6(0       5HYLHZDQGSUHSDUHFRPPHQWVWRPHPRUDQGXP                              
                                UHJDUGLQJVHPLQDU\WUDQVIHU

    *6*     6(0       5HYLHZ.'LQHFRPPHQWVUHVHPLQDU\WUDQVIHU                             
                                DQDO\VLV

    *6*     6(0       7HOHSKRQHFDOOZLWK%0LFKDHOUHVHPLQDU\WUDQVIHU                      
                                DQDO\VLVWLPLQJDQGFRPPXQLFDWLRQZLWK 
                                &RPPLWWHH

    *6*     6(0       5HYLHZDSSUDLVDOVUHDVVXPSWLRQVDQGOLPLWDWLRQVUH                      
                                VHPLQDU\SURSHUW\

    *6*     6(0       5HYLVHDQGEODFNOLQHPHPRUHDQDO\VLVRIVHPLQDU\                       
                                WUDQVIHU

    %00     6(0       &DOOZLWK**UHHQZRRGUHVHPLQDU\PHPR                                  

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                                              Objection Deadline: January 14, 2022

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Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                         Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


              ELEVENTH MONTHLY FEE STATEMENT OF PACHULSKI
            STANG ZIEHL & JONES LLP FOR PROFESSIONAL SERVICES
            RENDERED AND DISBURSEMENTS INCURRED AS COUNSEL
         TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
        THE PERIOD FROM NOVEMBER 1, 2021 THROUGH NOVEMBER 31, 2021




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    Name of Applicant:                                                Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services                       Official Committee of Unsecured Creditors
    to:
                                                                      Effective October 16, 2020 pursuant to Order
    Date of Retention:
                                                                      dated November 17, 2020 [Docket No.163]
    Period for which Compensation and
                                                                      November 1, 2021 – November 30, 2021 1
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                                      $202,808.00 (80% of $253,510.00)
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                                      $1,075.50
    as Actual, Reasonable and Necessary:

This is a:            x Monthly                Interim              Final Application.

                                                   Preliminary Statement

          Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), attorneys for the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York (the “Debtor”), hereby submits this statement of fees and disbursements (the

“Monthly Statement”) for the period from November 1, 2021 through November 30, 2021 (the

“Compensation Period”) in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals dated November 4, 2020

[Docket No. 129] (the “Interim Compensation Order”). PSZ&J requests (a) interim allowance

and payment of compensation in the amount of $202,808.00 (80% of $253,510.00) for fees on

account of reasonable and necessary professional services rendered to the Committee by

PSZ&J 2; and (b) reimbursement of actual and necessary costs and expenses in the amount of

$1,075.50. PSZ&J reserves the right to apply in the future for reimbursement of actual and




1 The applicant reserves the right to include any time expended in the time period indicated above in future application(s) if it is
not included herein.
2 PSZJ will hold ten percent of all fees received in this Case in a trust account to benefit this Case’s tort claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created, the funds will be donated to a
child advocacy organization to be selected by the Committee at the conclusion of the Case.



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necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Compensation Period.

                        Services Rendered During the Compensation Period

                 Exhibit A sets forth a timekeeper summary that includes the respective names,

positions, department, bar admissions, hourly billing rates and aggregate hours spent by each

PSZ&J professional and paraprofessional that provided services to the Committee during the

Compensation Period. The rates charged by PSZ&J for services rendered to the Committee are

the same rates that PSZ&J charges generally for professional services rendered to its non-

bankruptcy clients.

                 Exhibit B sets forth a task code summary that includes the aggregate hours per

task code spent by PSZ&J professionals and paraprofessionals in rendering services to the

Committee during the Compensation Period.

                 Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZ&J in connection with

services rendered to the Committee during the Compensation Period.

                 Exhibit D sets forth a complete itemization of all time records for PSZ&J

professionals and paraprofessionals for the Compensation Period.

                                    Notice and Objection Procedures

                 No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, notice of the Monthly Statement has been served by hand or

overnight delivery upon: (a) the Debtor c/o The Roman Catholic Diocese of Rockville Centre,

50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn: Thomas Renker); (b)

the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne




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Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and (c) the Office of the

United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite 1006, New York,

NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). PSZ&J submits that no other or

further notice need be provided.

                 Pursuant to the Interim Compensation Order, objections to this Application, if

any, must be served upon the Application Recipients by January 14, 2022 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

                 If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay PSZ&J 80% of the fees and 100% of the expenses set forth above.

                 To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is

directed and promptly pay the remainder of the fees and disbursements in the percentages set

forth above. To the extent such objection is not resolved; it shall be preserved and presented to

the Court at the next interim or final fee application hearing.


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                                    PACHULSKI STANG ZIEHL & JONES LLP
 Dated: December 30, 2021
                                     /s/ James I. Stang
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                                    -and-

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                                    ischarf@pszjlaw.com
                                    bmichael@pszjlaw.com

                                    Counsel to the Official Committee of Unsecured
                                    Creditors of The Roman Catholic Diocese of
                                    Rockville Centre, New York




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                                             EXHIBIT A

                                         Timekeeper Summary

 NAME OF PROFESSIONAL           TITLE      YEAR OF      YEAR OF     HOURLY      TOTAL        TOTAL
                                          ADMISSION   PARTNERSHIP    RATE       HOURS     COMPENSATION
                                                                                BILLED




James I. Stang               Partner        1980         1983       $1,345.00      8.10     $10,894.50
Iain A.W. Nasatir            Partner        1983         1998       $1,145.00      1.00      $1,145.00
Kenneth H. Brown             Partner        1981         2001       $1,225.00      4.20      $5,145.00
Ilan D. Scharf               Partner        2002         2010        $895.00       3.00      $2,685.00
Gail S. Greenwood            Counsel        1994         N/A         $950.00     50.90      $48,355.00
Karen B. Dine                Counsel        1994         N/A        $1,195.00    44.90      $53,655.50
Brittany M. Michael          Counsel        2015         N/A         $695.00    131.30      $91,253.50
William L. Ramseyer          Counsel        1980         N/A         $850.00     10.60       $9,010.00
Nancy P.F. Lockwood          Paralegal      N/A          N/A         $460.00     12.60       $5,796.00
Diane H. Hinojosa            Paralegal      N/A          N/A         $395.00     16.00       $6,320.00
Bernadette Anavim            Assistant      N/A          N/A         $460.00       6.00      $2,760.00
Cheryl A. Knotts             Paralegal      N/A          N/A         $424.00       5.10      $2,167.50
Sophia L. Lee                Assistant      N/A          N/A         $395.00       5.80      $2,291.00
Myra Kulick                  Assistant      N/A          N/A         $395.00     30.10      $11,889.50
Leslie A. Forrester          Other          N/A          N/A         $475.00        .30        $142.50
Total                                                                           329.90     $253,510.00




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                                           EXHIBIT B

                                       Task Code Summary

       Code                          Description           Hours       Amount
        CA         Case Administration                       3.60       $1,656.00
       CEM         Cemetery Transfers                        7.70       $7,471.00
        CPO        Comp. of Prof/Others                     3.70$       $2,796.50
       CREV        Claims Review                           109.00      $64,815.00
        CRF        Committee Discovery Requests –             60.80
                   Finance/Governance                                  $53,486.50
       DCVA        Cmte Disc Reqs – CVA                       9.70      $6,741.50
        IAC        IAC/Affiliate Transactions                12.20     $11,654.50
        IFA        Interim Fee Applications                  21.90     $14,499.50
         IL        Insurance Litigation                        .40        $468.00
       MCC         Mtgs/Conf w/ Client                       20.30     $21,703.50
         ME        Mediation                                  6.70      $7,121.50
         MF        Mtgs/ Conf w/ Case Professionals           2.80      $3,206.00
       MFA         Monthly Fee Statements                     9.90      $4,960.00
       MOCP        Mtgs/Conf w/other Case Parties              .90      $1,117.50
        OPH        Open Court Hearings                        3.40      $4,153.00
        PINJ       Preliminary Injunction                      .40       $478.00
       PNTC        Public Notice                             35.90     $27,128.50
       REAL        Real Estate                                2.80      $2,198.00
        SEM        Seminary Transfers                        17.80     $17,855.50
                   TOTAL                                    329.90    $253,510.00




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                                       EXHIBIT C

                                 Disbursement Summary


                      Expenses (by Category)            Amounts
            Bloomberg                                         $12.50
            Conference Call                                 $140.00
            Lexis/Nexis – Legal Research                    $179.53
            Pacer – Court Research                            $11.20
            Postage                                         $136.77
            Reproduction Expense                            $595.50
            TOTAL                                          $1,075.50




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                                 EXHIBIT D




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 0)                 0WJV&RQIZ&DVH3URI                                                        

 0)$                0RQWKO\)HH6WDWHPHQWV                                                         

 02&3               0WJV&RQIZRWKHU&DVH3DUWLHV                                                 

 23+                2SHQ&RXUW+HDULQJ                                                             

 3,1-               3UHOLPLQDU\,QMXQFWLRQ                                                             

 317&               3XEOLF1RWLFH                                                                

 5($/               5HDO(VWDWH                                                                    

 6(0                6HPLQDU\7UDQVIHUV                                                           

                                                                                               
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                   ,QYRLFH 
                                                                     1RYHPEHU


  6XPPDU\RI([SHQVHV
  'HVFULSWLRQ                                                                                $PRXQW
%ORRPEHUJ                                                                                    
&RQIHUHQFH&DOO>(@                                                                      
/H[LV1H[LV/HJDO5HVHDUFK>(                                                              
3DFHU&RXUW5HVHDUFK                                                                       
3RVWDJH>(@                                                                              
5HSURGXFWLRQ([SHQVH>(@                                                                 
5HSURGXFWLRQ6FDQ&RS\                                                                      

                                                                                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                           3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                               ,QYRLFH 
                                                                                 1RYHPEHU


                                                                                   +RXUV           5DWH         $PRXQW

  &DVH$GPLQLVWUDWLRQ>%@
    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                      

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                      

    13/     &$        8SGDWHPDVWHUVHUYLFHOLVW                                           

    13/     &$        8SGDWHHPDLOVHUYLFHOLVW                                            

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                      

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                      

                                                                                                        

  &HPHWHU\7UDQVIHUV
    *6*     &(0       8SGDWHFHPHWHU\WUDQVIHUPHPREDVHGRQ.                        
                                %URZQ-6WDQJFRPPHQWVDQGPHPRUH6HPLQDU\

    .%'     &(0       &RUUHVSRQGHQFHIURP&HPHWHU\FRXQVHOUHJDUGLQJ                      
                                GLVFRYHU\PDWWHUV

    .+%     &(0       (PDLOVZLWK.'LQHUH&HPHWHU\FRPSODLQWDQG                       
                                WLPHIRUILOLQJ

    *6*     &(0       5HYLHZ&HPHWHU\FRPSODLQWUHRSHQLWHPV                              

    .%'     &(0       &RUUHVSRQGHQFHDPRQJ36=-WHDPUHJDUGLQJ                            
                                FRPSODLQWDJDLQVW&HP&R

    *6*     &(0       5HYLHZOHWWHUIURP)2VZDOGUHGLVFRYHU\                             

    .+%     &(0       (PDLOVZLWK.'LQHDQG-6WDQJUH&HPHWHU\                        
                                FRPSODLQW

    %00     &(0       &RPPXQLFDWLRQZLWK**UHHQZRRGUHJDUGLQJ                            
                                UHYLHZRI&HP&RGRFXPHQWV

    .%'     &(0       5HYLHZUHTXHVWIRULQIRUPDWLRQIURPFRXQVHOWR                      
                                &HP&R

    *6*     &(0       5HYLHZ&HP&RGRFXPHQWSURGXFWLRQDQGQRWHVUH                    
                                VDPH

    *6*     &(0       5HYLHZ&HPF&RGRFXPHQWSURGXFWLRQUHDVVHW                       
                                WUDQVIHUVDQGXQGHUO\LQJGRFXPHQWDWLRQ

    *6*     &(0       5HYLHZ&HP&RGRFXPHQWSURGXFWLRQUHDVVHW                            
                                WUDQVIHUVDQGQRWHVUH,$&H[KLELWV

    *6*     &(0       5HYLHZUHYLVHPHPRUH&HPHWHU\WUDQVIHUVDQG                         
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                        +RXUV           5DWH         $PRXQW
                                DYDLODEOHHYLGHQFH
    *6*     &(0       5HYLVH&HPHWHU\FRPSODLQWUHFODLPV                                        

    *6*     &(0       &RPSOHWHUHYLHZRI&HP&RSURGXFWLRQ                                       

    *6*     &(0       (PDLO%0LFKDHOUHVXPPDU\RI&HP&R                                      
                                SURGXFWLRQ

                                                                                                             

  &RPSRI3URI2WKHUV
    %00     &32       5HYLHZ'HEWRU VSURIHVVLRQDOIHHV                                     

    ,$:1 &32          5HYLHZ5HHG6PLWKELOO                                                   

                                                                                                             

  &ODLPV5HYLHZ
    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                   
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                   
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      7HOHSKRQHFRQIHUHQFHZLWK'+LQRMRVD                                      
                                UHUHGDFWLRQRISDJHFODLP

    ,'6     &5(9      7HOHSKRQHFRQIHUHQFHZLWK.'LQHDQG%0LFKDHO                          
                                UHJDUGLQJFODLPVORWWLQJ

    ,'6     &5(9      5HYLHZFODLPVDQDO\VLVLQSUHSDUDWLRQIRULQVXUDQFH                   
                                VORWWLQJ

    .%'     &5(9      7HOHSKRQHFRQIHUHQFHZLWK,6FKDUIDQG%0LFKDHO                       
                                UHJDUGLQJFODLPUHYLHZ
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     1RYHPEHU


                                                                                        +RXUV          5DWH         $PRXQW

    %00     &5(9      0HHWLQJZLWK,6FKDUIDQG.'LQHUHJDUGLQJFODLPV                      
                                FKDUWLQJ

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    .%'     &5(9      5HYLHZSURRIVRIFODLP                                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                         

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    .%'     &5(9      5HYLHZDEXVHFODLPV                                                 

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    .%'     &5(9      7HOHSKRQHFRQIHUHQFHZ%0LFKDHOUHJDUGLQJ                         
                                FODLPVUHYLHZDQGRWKHURXWVWDQGLQJPDWWHUV

    .%'     &5(9      5HYLHZSURRIVRIFODLP                                              

    .%'     &5(9      7HOHSKRQHFRQIHUHQFHZLWK-6WDQJUHJDUGLQJFODLPV                     
                                UHYLHZVWDWXV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     1RYHPEHU


                                                                                        +RXUV          5DWH         $PRXQW

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                          

    %00     &5(9      5HYLHZVH[XDODEXVHFODLPVDQGUHYLVHFKDUW                              

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    %00     &5(9      3UHSDUHUHGDFWHGFODLPVFKDUWIRU&RPPLWWHH                              

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    .%'     &5(9      5HYLHZFKDUWRIFODLPV                                                  

    6//     &5(9      5HGDFWFRQILGHQWLDOSURRIVRIFODLP                                      

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    .%'     &5(9      5HYLHZFODLPVFKDUW                                                      

    %00     &5(9      &DOOZLWK6&&UHJDUGLQJFODLPV                                           
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     1RYHPEHU


                                                                                        +RXUV          5DWH         $PRXQW

    6//     &5(9      5HGDFWFRQILGHQWLDOSURRIVRIFODLP                                      

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    .%'     &5(9      5HYLHZRIFODLPVFKDUW                                                  

    %00     &5(9      5HYLVHFODLPVFKDUWIROORZLQJ&RPPLWWHHIHHGEDFN                         

    %00     &5(9      &RPPXQLFDWLRQZLWK36=-WHDPUHJDUGLQJSDVW                              
                                VHWWOHPHQWV

    %00     &5(9      3UHSDUHXSGDWHGFODLPVFKDUWIRU&RPPLWWHHUHYLHZ                        

    6//     &5(9      5HGDFWFRQILGHQWLDODEXVHFODLPV                                         

    '++     &5(9      (PDLOVWRIURP%0LFKDHO0.XOLFN6/HHDQG%                      
                                $QDYLPUHJDUGLQJVWDWXVRIUHGDFWLRQRIDEXVH
                                FODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    .%'     &5(9      5HYLHZFODLPVFKDUW                                                     

    %00     &5(9      &LUFXODWHXSGDWHGFODLPVFKDUWWR&RPPLWWHH                              

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                        +RXUV           5DWH         $PRXQW

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

                                                                                                          

  &PWH'LVF5HTV)LQDQFH*RYHUQ
    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                              

    .%'     &5)       &DOOZ%0LFKDHOUHJDUGLQJGLVFRYHU\PDWWHUV                            

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJGRFXPHQWSURGXFWLRQUH                        
                                8QLWDV

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZ&RPPLWWHHGLVFRYHU\DQGUHVSRQVHUHDFFHVV                         
                                WRSURRIVRIFODLP

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    %00     &5)       5HYLHZ'HEWRU VSURGXFHGSROLFLHVDQGJXLGHOLQHV                      

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    %00     &5)       5HYLHZ'HEWRU VSURGXFHGSROLFLHVDQGJXLGHOLQHV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                          

    .%'     &5)       &DOOZ-RQHV'D\UHJDUGLQJRXWVWDQGLQJGLVFRYHU\                         

    %00     &5)       0HHWLQJZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                             3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                 ,QYRLFH 
                                                                                   1RYHPEHU


                                                                                      +RXUV          5DWH         $PRXQW
                                SURGXFWLRQ
    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                       

    *6*     &5)       5HYLHZDQGWDJGRFXPHQWSURGXFWLRQUH8QLWDV                           

    *6*     &5)       3UHSDUHVXPPDU\HPDLOWR%0LFKDHOUH8QLWDV                          
                                GRFXPHQWUHYLHZ

    .%'     &5)       &DOOZ%0LFKDHO&7HUJHYRUNLDQ0%DEFRFN                   
                                DQG'6WURQJUHJDUGLQJGLVFRYHU\PDWWHUV

    %00     &5)       &DOOZLWK%5*UHJDUGLQJDVVHWDQDO\VLVSURJUHVV                        

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ%5*$OYDUH]                             
                                0DUVDO36=-DQG-RQHV'D\WHDPVUHJDUGLQJ
                                GLVFRYHU\PDWWHUV

    %00     &5)       5HYLHZGRFXPHQWVSURGXFHGUHODWHGWR(FFOHVLD                      

    %00     &5)       'UDIWDVVHWLQYHVWLJDWLRQVWDWXVDQGVFKHGXOH                          

    *6*     &5)       5HYLHZGDWDEDVHUHDGGLWLRQDOGLVFRYHU\IRUUHYLHZ                     
                                UH8QLWDVDQGHPDLO%0LFKDHOUHVDPH

    .%'     &5)       &DOOZ(6WHSKHQV$%XWOHUDQG%0LFKDHO                          
                                UHJDUGLQJGLVFRYHU\VWDWXV

    .%'     &5)       )ROORZXSZ%0LFKDHOUHJDUGLQJGLVFRYHU\                            

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                          
                                SURGXFWLRQ

    %00     &5)       5HYLHZGRFXPHQWVSURGXFHGUHODWHGWR(FFOHVLD                          

    .%'     &5)       &DOOZ%5*WHDPDQG%0LFKDHOUHJDUGLQJVWDWXVRI                
                                GLVFRYHU\PDWWHUV SDUWLDO 

    %00     &5)       5HYLHZGRFXPHQWVSURGXFHGUHODWHGWR(FFOHVLD                          

    %00     &5)       0HHWLQJZLWK%5*DQG.'LQH LQSDUW WRGLVFXVV                  
                                DVVHWDQDO\VLVSURJUHVV

    .%'     &5)       5HYLHZFKDUWUHJDUGLQJ3DULVKLQIRUPDWLRQ                             

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                      
                                DQDO\VLV

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ$OYDUH] 0DUVHO                          
                                DQG%5*UHJDUGLQJGLVFRYHU\PDWWHUV

    .%'     &5)       )ROORZXSZ%0LFKDHOUHJDUGLQJGLVFRYHU\FDOO                       

    .%'     &5)       &DOOZ56WURQJ&7HUNYRUNLDQ0%DEFRFNDQG                      
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                        +RXUV           5DWH         $PRXQW
                                %0LFKDHOUHJDUGLQJGLVFRYHU\
    %00     &5)       0HHWLQJZLWK.'LQHDQG%5*UHJDUGLQJDVVHW                              
                                LQYHVWLJDWLRQ

    *6*     &5)       (PDLO.'LQHDQG%0LFKDHOUHSDULVKZHEVLWHDQG                        
                                UHSUHVHQWDWLRQVUHEDQNUXSWF\

    .%'     &5)       5HYLHZLQIRUPDWLRQUHJDUGLQJ'LRFHVHDQG3DULVK                          
                                DVVHWV

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ%5*DQG36=-WHDP                            
                                UHJDUGLQJGLVFRYHU\PDWWHUVDQGVWDWXV

    %00     &5)       &RPPXQLFDWLRQVZLWK36=-WHDPDQG'LRFHVH                             
                                UHJDUGLQJGLVFRYHU\UHTXHVWV

    .%'     &5)       3DUWLFLSDWHLQFDOOZ-RQHV'D\UHJDUGLQJ                                
                                RXWVWDQGLQJGLVFRYHU\

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJGRFXPHQWSURGXFWLRQ                           

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                             
                                SURGXFWLRQ

                                                                                                           

  &PWH'LVF5HTV&9$
    %00     '&9$      5HYLHZDEXVHUVQDPHGLQFODLPVDQG&9$PHULWV                         
                                GRFXPHQWVSURGXFHG

    %00     '&9$      5HYLVH'LRFHVH VSURSRVHGOHWWHUUHJDUGLQJUHGDFWHG                       
                                GRFXPHQWV

    %00     '&9$      &RPPXQLFDWLRQZLWK'HEWRU VFRXQVHOUHJDUGLQJ                             
                                ,5&3GDWD

    %00     '&9$      5HYLHZ&9$PHULWVGRFXPHQWV                                           

                                                                                                             

  ,$&$IILOLDWH7UDQVDFWLRQV
    .%'     ,$&       3DUWLFLSDWHLQFDOOZLWKVSHFLDOPHGLDWRUDQG%                         
                                0LFKDHO

    %00     ,$&       0HHWLQJZLWKVSHFLDOPHGLDWRUUHJDUGLQJRQJRLQJ                           
                                FDVHLVVXHV

    *6*     ,$&       5HVHDUFKUHYLHZ,$&H[KLELWVUHLQWHQWDQGWLPLQJRI                      
                                IUDXGXOHQWWUDQVIHUV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       1RYHPEHU


                                                                                         +RXUV           5DWH         $PRXQW

    .%'     ,$&       &DOOZVSHFLDOPHGLDWRUDQGFRXQVHOZ%0LFKDHO                          
                                 IRUSDUW 

    *6*     ,$&       5HYLHZUHYLVH'2(FRPSODLQWUHKLJKVFKRRO                             
                                WUDQVIHUV

    *6*     ,$&       'LVFXVVVFKRROWUDQVIHUVDQGRXWVWDQGLQJLVVXHVZLWK                       
                                .'LQHDQG%0LFKDHO

    *6*     ,$&       5HYLHZ+6'2(ILQDQFLDOVUHKLJKVFKRROWUDQVIHUV                      
                                DQGELOORIVDOH

    *6*     ,$&       (PDLO.'LQHDQG%0LFKDHOUHKLJKVFKRRO                                
                                WUDQVIHUVDQGGUDIWFRPSODLQW

    .%'     ,$&       &DOOZ%0LFKDHODQG**UHHQZRRGUHJDUGLQJ                              
                                VFKRROWUDQVIHUV

    %00     ,$&       'LVFXVV'2(WUDQVIHUVDQGRWKHU,$&LQYHVWLJDWHG                           
                                WUDQVIHUVZ**UHHQZRRG .'LQH

    *6*     ,$&       5HYLHZGDWDEDVHUHKLJKVFKRRODQG'2(ILQDQFLDOV                      
                                DQGWUDQVIHURIDVVHWV

    *6*     ,$&       5HYLHZGDWDEDVHUHKLJKVFKRROWUDQVIHUGRFXPHQWV                      
                                DQGFRPPXQLFDWLRQV

    *6*     ,$&       3UHSDUHVXPPDU\RIDYDLODEOHHYLGHQFHUHKLJK                              
                                VFKRRODVVHWWUDQVIHUVDQGWUHDWPHQWRIUHODWHGFDVK
                                DQGLQYHVWPHQWV

                                                                                                            

  ,QWHULP)HH$SSOLFDWLRQV
    &$.     ,)$       'UDIWVSUHDGVKHHWLQSUHSDUDWLRQRIUG,QWHULPIHH                        
                                DSSOLFDWLRQ

    :/5     ,)$       'UDIWWKLUGLQWHULPIHHDSSOLFDWLRQ                                    

    :/5     ,)$       'UDIWWKLUGLQWHULPIHHDSSOLFDWLRQ                                        

    :/5     ,)$       'UDIWWKLUGLQWHULPIHHDSSOLFDWLRQ                                    

    13/     ,)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                              
                                &RPPLWWHHLQWHULPIHHDSSOLFDWLRQV

    :/5     ,)$       'UDIWWKLUGLQWHULPIHHDSSOLFDWLRQ                                    

    :/5     ,)$       'UDIWWKLUGLQWHULPIHHDSSOLFDWLRQ                                    

    :/5     ,)$       5HYLHZDQGUHYLVHWKLUGLQWHULPIHHDSSOLFDWLRQ                        
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                   3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                       ,QYRLFH 
                                                                                         1RYHPEHU


                                                                                           +RXUV           5DWH         $PRXQW

    &$.     ,)$       5HYLHZDQGXSGDWHWKLUGLQWHULPIHHDSSOLFDWLRQDQG                      
                                GUDIW867([KLELWVWRVDPH

    13/     ,)$       5HYLHZHPDLOVIURP%0LFKDHOUHJDUGLQJ                                       
                                &RPPLWWHHWKLUGLQWHULPIHHDSSOLFDWLRQV

    %00     ,)$       3UHSDUH&RPPLWWHHSURIHVVLRQDOLQWHULPIHH                               
                                DSSOLFDWLRQV

    13/     ,)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                               
                                &RPPLWWHHSURIHVVLRQDOVLQWHULPIHHDSSOLFDWLRQV

    13/     ,)$       )LQDOHGLWVWRILUVWLQWHULPIHHDSSOLFDWLRQRI5XVNLQ                       
                                0RVFRX)DOWVFKHN

    13/     ,)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                                
                                ILUVWLQWHULPIHHDSSOLFDWLRQRI5XVNLQ0RVFRX
                                )DOWVFKHN

    13/     ,)$       )LQDOL]HWKLUGLQWHULPIHHDSSOLFDWLRQRI%XUQV                              
                                %RZHQ%DLU

    13/     ,)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                                
                                WKLUGLQWHULPIHHDSSOLFDWLRQRI%XUQV%RZHQ%DLU

    13/     ,)$       )LQDOL]HWKLUGLQWHULPIHHDSSOLFDWLRQRI%HUNHOH\                           
                                5HVHDUFK*URXS

    13/     ,)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                                
                                WKLUGLQWHULPIHHDSSOLFDWLRQRI%HUNHOH\5HVHDUFK
                                *URXS

    13/     ,)$       )LQDOL]HWKLUGLQWHULPIHHDSSOLFDWLRQRI3DFKXOVNL                          
                                6WDQJ=LHKO -RQHV

    13/     ,)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                                
                                WKLUGLQWHULPIHHDSSOLFDWLRQIRU3DFKXOVN6WDQJ
                                =LHKO -RQHV

    13/     ,)$       &RRUGLQDWHVHUYLFHRI&RPPLWWHHSURIHVVLRQDOV                                 
                                LQWHULPIHHDSSOLFDWLRQVZLWK0.XOLFN

    13/     ,)$       'UDIWHPDLOWRPDVWHUVHUYLFHOLVWUHJDUGLQJ                                  
                                &RPPLWWHHSURIHVVLRQDOV LQWHULPIHHDSSOLFDWLRQV

    13/     ,)$       'UDIWHPDLOWRFKDPEHUVUHJDUGLQJ&RPPLWWHH                                   
                                SURIHVVLRQDOV LQWHULPIHHDSSOLFDWLRQV

                                                                                                              
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                      ,QYRLFH 
                                                                                        1RYHPEHU


                                                                                          +RXUV           5DWH         $PRXQW

  ,QVXUDQFH/LWLJDWLRQ
    .%'     ,/        5HYLHZILOLQJVUHODWLQJWRLQVXUDQFHOLWLJDWLRQ                            

    ,$:1 ,/           5HYLHZ-%DLUXSGDWHVUHUHPRYDOPRWLRQV                                  

    ,$:1 ,/           5HYLHZ%0LFKDHOHPDLOUHFRYHUDJHFKDUW                                  

                                                                                                                   

  0WJV&RQIZ&OLHQW
    .%'     0&&       5HYLHZDQGSUHSDUHFRPPHQWVWRFRUUHVSRQGHQFH                              
                                ZLWK&RPPLWWHHRQRXWVWDQGLQJPDWWHUV

    .%'     0&&       5HYLHZFRUUHVSRQGHQFHZLWK&RPPLWWHHUHJDUGLQJ                             
                                RXWVWDQGLQJPDWWHUV

    .%'     0&&       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-6&&DQG                                  
                                &RPPLWWHHUHJDUGLQJRXWVWDQGLQJPDWWHUV

    .%'     0&&       5HYLHZGUDIW1RWLFHRI3UHVHQWPHQWUHJDUGLQJ                               
                                0RRUHPDWWHUDQGUHODWHGFRUUHVSRQGHQFH

    .%'     0&&       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-&RPPLWWHH                                
                                DQG6&&RQRXWVWDQGLQJPDWWHUV

    -,6     0&&       &DOOZLWK6WDWH&RXUW&RXQVHOUHJDUGLQJVHPLQDU\                           
                                WUDQVDFWLRQXSGDWHRQODVWVWDWXVKHDULQJ&RPPLWWHH 
                                PHHWLQJVFKHGXOLQJ

    -,6     0&&       &DOOZLWK&RPPLWWHHUHJDUGLQJFDVHVWDWXV                                  

    .%'     0&&       3DUWLFLSDWHLQFDOOZ6&&UHJDUGLQJRXWVWDQGLQJ                            
                                PDWWHUV

    %00     0&&       3DUWLFLSDWHLQFDOOZLWK6WDWH&RXUW&RXQVHO                                
                                UHJDUGLQJRQJRLQJFDVHLVVXHV

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQG&RPPLWWHH                               
                                UHJDUGLQJRXWVWDQGLQJLVVXHV

    %00     0&&       'UDIWFRPPXQLFDWLRQZLWK&RPPLWWHHUHJDUGLQJ                                
                                RQJRLQJFDVHLVVXHV

    -,6     0&&       &DOO.'LQHUHIROORZXSWRLVVXHVUHODWHGWR39DQ                      
                                2VVHODHUVWDWXVFDOO

    .%'     0&&       &RUUHVSRQGHQFHZLWK&RPPLWWHHDQG6&&UHJDUGLQJ                            
                                RXWVWDQGLQJPDWWHUV

    .%'     0&&       &RUUHVSRQGHQFHZ&RPPLWWHHDQG6&&RQ                                      
                                RXWVWDQGLQJPDWWHUV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                         +RXUV          5DWH         $PRXQW

    .%'     0&&       &DOOZ57ROOQHU-'DO\DQG%0LFKDHOUHJDUGLQJ                      
                                RXWVWDQGLQJPDWWHUV

    .%'     0&&       )ROORZXSRQFDOOZ%0LFKDHOUHJDUGLQJRQJRLQJ                         
                                FDVHLVVXHV

    %00     0&&       &DOOZLWK([HFXWLYH&RPPLWWHHDERXWRQJRLQJFDVH                          
                                LVVXHV

    %00     0&&       &RRUGLQDWHORJLVWLFVRISRWHQWLDOLQSHUVRQ                               
                                &RPPLWWHHPHHWLQJ

    %00     0&&       6FKHGXOLQJGLVFXVVLRQVZ1<VWDIIUHJDUGLQJ                               
                                &RPPLWWHHPHHWLQJV

    %00     0&&       &RPPXQLFDWLRQZLWK6WDWH&RXUW&RXQVHOUHJDUGLQJ                          
                                PHHWLQJDQGFDVHXSGDWHV

    .%'     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                     

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQG&RPPLWWHH                             
                                UHJDUGLQJRXWVWDQGLQJPDWWHUV

    -,6     0&&       &DOOZLWK&RPPLWWHHUHJDUGLQJ3ODQLVVXHV                           
                                PHGLDWLRQFODLPVUHYLHZ

    .%'     0&&       3DUWLFLSDWHLQ&RPPLWWHHFDOOUHJDUGLQJFDVHLVVXHV                  

    .%'     0&&       5HYLHZRXWVWDQGLQJPDWWHUVDQGQH[WVWHSVIRU                        
                                SUHVHQWDWLRQWR&RPPLWWHHZLWK%0LFKDHO

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQG6&&                                   
                                UHJDUGLQJRXWVWDQGLQJLVVXHV

    .%'     0&&       &RUUHVSRQGHQFHZ&RPPLWWHH6&&DQG36=-WHDP                            
                                RQRXWVWDQGLQJPDWWHUV

    .%'     0&&       7HOHSKRQHFRQIHUHQFHZ%0LFKDHOUHJDUGLQJ                              
                                RXWVWDQGLQJLVVXHVIRU&RPPLWWHH

    %00     0&&       'UDIWHPDLOWR&RPPLWWHHUHJDUGLQJUHDOSURSHUW\                          
                                DQDO\VLV

    .%'     0&&       &DOOZ-'DO\57ROOQHUDQG%0LFKDHOUHJDUGLQJ                      
                                FDVHLVVXHV

    .%'     0&&       &DOOZ%0LFKDHOUHJDUGLQJRXWVWDQGLQJLVVXHVIRU                       
                                &RPPLWWHH

    .%'     0&&       3UHSDUHRXWOLQHRISUHVHQWDWLRQUHODWLQJWRPHGLDWLRQ                    
                                IRU&RPPLWWHH

    .%'     0&&       3UHSDUHPHHWLQJDJHQGDDQGUHODWHGFRUUHVSRQGHQFH                        
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                        +RXUV           5DWH         $PRXQW
                                IRU&RPPLWWHH
    %00     0&&       0HHWLQJZLWKH[HFXWLYHFRPPLWWHHUHJDUGLQJ                                
                                RQJRLQJFDVHLVVXHV

    .%'     0&&       3UHSDUHIRU&RPPLWWHHPHHWLQJ                                            

    .%'     0&&       $WWHQG&RPPLWWHHPHHWLQJRQRXWVWDQGLQJPDWWHUV                      

    .%'     0&&       &DOOZ&0XUUD\57ROOQHUDQG%0LFKDHO                              
                                UHJDUGLQJRXWVWDQGLQJUHDOHVWDWHPDWWHUV

    %00     0&&       0HHWLQJZLWK&0XUUD\.'LQHDQG57ROOQHU                            
                                UHJDUGLQJ6HPLQDU\SURSHUW\

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                              
                                PHHWLQJUHJDUGLQJPHGLDWLRQDQGRWKHUFDVHLVVXHV

                                                                                                           

  0HGLDWLRQ
    .%'     0(        5HYLHZGLVFORVXUHVXEPLWWHGE\)&5                                       

    -,6     0(        &DOO39DQ2VVHODHUUHJDUGLQJPHGLDWLRQVWDWXV                          

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQVWUDWHJ\                            

    .%'     0(        &RUUHVSRQGHQFHDPRQJ-RQHV'D\DQG36=-WHDPV                            
                                UHJDUGLQJPHGLDWLRQ

    .%'     0(        $QDO\]HLVVXHVDQGVWHSVLQSUHSDUDWLRQIRU                              
                                PHGLDWLRQ

    .%'     0(        $QDO\VLVRIPDWWHUVIRUPHGLDWLRQ                                        

    .%'     0(        5HYLHZDQGSUHSDUHFRPPHQWVWROHWWHUUHJDUGLQJ                          
                                UHGDFWLRQVDQGPHGLDWLRQ

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQVWUDWHJ\                            

    .%'     0(        &DOOZ%0LFKDHOUHJDUGLQJRXWVWDQGLQJPDWWHUVIRU                      
                                PHGLDWLRQ

    .%'     0(        5HYLHZFRUUHVSRQGHQFHIURP-RQHV'D\WRPHGLDWRU                         

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQSODQQLQJ                            

    .%'     0(        5HYLHZFRUUHVSRQGHQFHDPRQJ39DQ2VVHODHUDQG                          
                                SDUWLHVUHJDUGLQJPHGLDWLRQ

    .%'     0(        $QDO\VLVRILVVXHVUHODWLQJWRPHGLDWLRQ                                 

    .%'     0(        5HYLHZFRUUHVSRQGHQFHDPRQJPHGLDWRUDQG36=-                            
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                      ,QYRLFH 
                                                                                        1RYHPEHU


                                                                                          +RXUV           5DWH         $PRXQW
                                WHDP
    .%'     0(        'UDIWRXWOLQHUHJDUGLQJGLVFXVVLRQWRSLFVUHODWLQJWR                      
                                PHGLDWLRQ

    .%'     0(        2XWOLQHLVVXHVUHODWLQJWRPHGLDWLRQDQGVWUDWHJL]H                    
                                UHJDUGLQJSUHVHQWDWLRQRIVDPHZ%0LFKDHODQG-
                                6WDQJ IRUSDUW 

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQVWUDWHJ\                              

    ,$:1 0(           5HYLHZ%0LFKDHOGUDIWHPDLOWR39DQ2VVHODHU                           
                                DQG-6WDQJUHVSRQVH

    ,$:1 0(           5HYLHZ39DQ2VVHODHUHPDLOUHPHGLDWLRQ                                  

                                                                                                               

  0WJV&RQIZ&DVH3URI
    .%'     0)        5HYLHZFRUUHVSRQGHQFHIURP-RQHV'D\RQ                                    
                                RXWVWDQGLQJPDWWHUV

    -,6     0)        &DOOZLWK'HEWRUUHVWDWXVRIFDVHLQFOXGLQJEDUGDWH                     
                                RUGHU

    .%'     0)        &DOOZ-RQHV'D\-6WDQJDQG%0LFKDHOUHJDUGLQJ                        
                                RXWVWDQGLQJLVVXHV

    %00     0)        &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJRQJRLQJFDVH                           
                                LVVXHV

    .%'     0)        &RUUHVSRQGHQFHZ-RQHV'D\RQRXWVWDQGLQJ                                  
                                PDWWHUV

    .%'     0)        5HYLHZFRUUHVSRQGHQFHIURP-RQHV'D\WHDP                                  
                                UHJDUGLQJRXWVWDQGLQJPDWWHUV

    .%'     0)        5HYLHZFRUUHVSRQGHQFHDPRQJ36=-DQG-RQHV'D\                             
                                WHDPVUHJDUGLQJRXWVWDQGLQJPDWWHUV

    .%'     0)        &DOOZ-RQHV'D\DQG36=-WHDPVUHJDUGLQJ                                 
                                RXWVWDQGLQJPDWWHUV

    .%'     0)        &DOOZ-RQHV'D\UHJDUGLQJGLVFRYHU\LVVXHV                                

    .%'     0)        &DOOZ-RQHV'D\UHJDUGLQJRXWVWDQGLQJPDWWHUV                             

                                                                                                               

  0RQWKO\)HH6WDWHPHQWV
    13/     0)$       (PDLOFRPPXQLFDWLRQZLWK%0LFKDHOUHJDUGLQJ                                
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                        +RXUV           5DWH         $PRXQW
                                REMHFWLRQGHDGOLQHIRU&RPPLWWHH6HSWHPEHU
                                PRQWKO\IHHVWDWHPHQWV
    '++     0)$       5HYLHZHGLW36=-6HSWHPEHUPRQWKO\VWDWHPHQW                              

    '++     0)$       5HYLHZHGLW36=-6HSWHPEHUPRQWKO\VWDWHPHQW                              

    %00     0)$       5HYLVH36=-0RQWKO\)HHVWDWHPHQW                                         

    '++     0)$       5HYLHZHGLW36=-6HSWHPEHUPRQWKO\VWDWHPHQW                              

    13/     0)$       3UHSDUHFHUWLILFDWHRIQRREMHFWLRQVWR&RPPLWWHH                         
                                6HSWHPEHUPRQWKO\IHHVWDWHPHQWV

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                             
                                &RPPLWWHH6HSWHPEHUIHHVWDWHPHQWV

    '++     0)$       5HYLHZHGLW36=-6HSWHPEHUPRQWKO\VWDWHPHQW                              

    %00     0)$       5HYLVH36=-0RQWKO\)HHVWDWHPHQW                                     

    13/     0)$       )LQDOL]HFHUWLILFDWHRIQRREMHFWLRQVUHJDUGLQJ                            
                                &RPPLWWHHPRQWKO\IHHVWDWHPHQWV

    '++     0)$       5HYLHZILQDOHGLWVWR36=-6HSWHPEHUPRQWKO\                              
                                VWDWHPHQWDQGSUHSDUH36=-6HSWHPEHUIHH
                                VWDWHPHQW

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                             
                                2FWREHUPRQWKO\IHHVWDWHPHQWVIRU&RPPLWWHH 
                                SURIHVVLRQDOV

    13/     0)$       (PDLOVHUYLFHRI2FWREHUPRQWKO\IHHVWDWHPHQWVIRU                        
                                &RPPLWWHHSURIHVVLRQDOV

    13/     0)$       &RRUGLQDWHVHUYLFHE\PDLOUHJDUGLQJ2FWREHU                               
                                PRQWKO\IHHVWDWHPHQWVIRU&RPPLWWHHSURIHVVLRQDOV

    13/     0)$       )LQDOL]H36=-2FWREHUIHHVWDWHPHQW                                       

    13/     0)$       )LQDOL]H5XVNLQ0DVFRX2FWREHUPRQWKO\IHH                                
                                VWDWHPHQW

    13/     0)$       )LQDOL]H%XUQV%RZHQ%DLU2FWREHUPRQWKO\IHH                              
                                VWDWHPHQW

    13/     0)$       3UHSDUHFHUWLILFDWHRIVHUYLFHUHJDUGLQJ2FWREHU                          
                                PRQWKO\IHHVWDWHPHQWVIRU&RPPLWWHHSURIHVVLRQDOV

    %00     0)$       )LQDOL]HPRQWKO\IHHVWDWHPHQWVIRUILOLQJ                                

                                                                                                             
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     1RYHPEHU


                                                                                       +RXUV           5DWH         $PRXQW

  0WJV&RQIZRWKHU&DVH3DUWLHV
    .+%     02&3      (PDLOIURP%0LFKDHOUHSULYLOHJHLVVXHVDQGEDU                       
                                GDWHLVVXHV  HPDLOVZLWK-6WDQJUHSULYLOHJH
                                LVVXHVLQ&RPPLWWHHFRPPXQLFDWLRQV  

    -,6     02&3      &DOO.'LQHUHIROORZXSIURPVWDWXVFRQIHUHQFH                        
                                KHDULQJ

    -,6     02&3      &DOOWR.'LQHUHJDUGLQJKHUFRQIHUHQFHFDOOZLWK                      
                                VSHFLDOPHGLDWRU

    .%'     02&3      )ROORZXSRQRXWVWDQGLQJPDWWHUVZ%0LFKDHO                           

                                                                                                            

  2SHQ&RXUW+HDULQJ
    .%'     23+       5HYLHZFRUUHVSRQGHQFHDPRQJ&KDPEHUV-RQHV                             
                                'D\DQG36=-WHDPVUHJDUGLQJKHDULQJ

    .%'     23+       7HOHSKRQHFRQIHUHQFHVZ%0LFKDHOUHJDUGLQJEDU                        
                                GDWHPDWWHUVDQGKHDULQJLVVXHV

    .%'     23+       3UHSDUHIRUFRXUWKHDULQJUHJDUGLQJEDUGDWHDQG                    
                                GLVFRYHU\VWDWXV

    -,6     23+       6WDWXVFRQIHUHQFHUHJDUGLQJPHGLDWLRQDQGEDUGDWH                      
                                PRWLRQ

    .%'     23+       3UHSDUHIRUKHDULQJ  SDUWLFLSDWHLQFRXUW                         
                                KHDULQJ

    .%'     23+       )ROORZXSZ%0LFKDHO IRUSDUW DQG-6WDQJ IRU                     
                                SDUW IURPKHDULQJ

    .%'     23+       5HYLHZQRWLFHRIFDQFHOODWLRQRIKHDULQJ                                

                                                                                                            

  3UHOLPLQDU\,QMXQFWLRQ
    .%'     3,1-      &RUUHVSRQGHQFHDPRQJ36=-DQG-RQHV'D\WHDPV                           
                                UHJDUGLQJSUHOLPLQDU\LQMXQFWLRQ

    .%'     3,1-      5HYLHZSURSRVHGSUHOLPLQDU\LQMXQFWLRQH[WHQVLRQ                        

                                                                                                                

  3XEOLF1RWLFH
    .%'     317&      5HYLHZDQGSUHSDUHFRPPHQWVWRREMHFWLRQWREDU                         
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     1RYHPEHU


                                                                                        +RXUV          5DWH         $PRXQW
                                GDWHPRWLRQ
    .%'     317&      7HOHSKRQHFRQIHUHQFHVZLWK%0LFKDHOUHJDUGLQJ                         
                                LVVXHVUHODWLQJWREDUGDWHPRWLRQ

    *6*     317&      5HYLHZHPDLOIURP%0LFKDHOUHEDUGDWHRUGHU                            
                                H[WHQVLRQDQGSURSRVHGXVHRISURRIVRIFODLP

    %00     317&      'UDIWOLPLWHGREMHFWLRQWREDUGDWHRUGHU                                

    %00     317&      'UDIWOLPLWHGREMHFWLRQWREDUGDWHRUGHU                                

    %00     317&      0HHWLQJZLWK.'LQHUHJDUGLQJEDUGDWHPRWLRQ                           

    %00     317&      5HYLVHOLPLWHGREMHFWLRQWREDUGDWHRUGHU ZLWK.                      
                                'LQHLQSDUW 

    .%'     317&      5HYLHZGUDIWREMHFWLRQDQGFRPPHQWVUHJDUGLQJEDU                       
                                GDWHPRWLRQ

    .%'     317&      $QDO\]HLVVXHVUHODWLQJWREDUGDWHPRWLRQLQ                           
                                SUHSDUDWLRQIRUFRQIHUHQFH

    -,6     317&      5HYLHZUHYLVHREMHFWLRQWRPRWLRQUHEDUGDWH                       

    ,'6     317&      5HYLVHGUDIWREMHFWLRQWREDUGDWHPRGLILFDWLRQ                          

    ,'6     317&      7HOHSKRQHFRQIHUHQFHZLWK-LP6WDQJUHJDUGLQJ                            
                                PRGLILFDWLRQRIEDUGDWH

    13/     317&      'UDIWHPDLOWRFKDPEHUVUHJDUGLQJOLPLWHGREMHFWLRQV                      
                                WR'HEWRU VPRWLRQWRDPHQGWKHEDUGDWHRUGHU

    13/     317&      (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                            
                                &RPPLWWHH VOLPLWHGREMHFWLRQWR'HEWRU VPRWLRQWR 
                                DPHQGEDUGDWHRUGHU

    13/     317&      3UHSDUH&RPPLWWHH VOLPLWHGREMHFWLRQWR'HEWRU V                        
                                PRWLRQWRDPHQGEDUGDWHRUGHUIRUILOLQJ

    13/     317&      3UHSDUHGHFODUDWLRQRI%0LFKDHOUHJDUGLQJ                              
                                &RPPLWWHH VOLPLWHGREMHFWLRQWR'HEWRU VPRWLRQWR 
                                DPHQGEDUGDWHRUGHUIRUILOLQJ

    13/     317&      )LQDOHGLWVWR&RPPLWWHH VOLPLWHGREMHFWLRQWR                           
                                'HEWRU VPRWLRQWRDPHQGEDUGDWHRUGHU

    13/     317&      &RRUGLQDWHVHUYLFHRI&RPPLWWHH VOLPLWHGREMHFWLRQ                      
                                WR'HEWRU VPRWLRQWRDPHQGEDUGDWHRUGHUZLWK0
                                .XOLFN

    13/     317&      (PDLOVHUYLFHRI&RPPLWWHH VOLPLWHGREMHFWLRQWR                         
                                'HEWRU VPRWLRQWRDPHQGEDUGDWHRUGHU
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    1RYHPEHU


                                                                                       +RXUV          5DWH         $PRXQW

    .%'     317&      )ROORZXSFDOOUHJDUGLQJEDUGDWHDQGRWKHUPDWWHUV                    
                                Z-6WDQJDQG%0LFKDHO

    .%'     317&      5HYLHZFRUUHVSRQGHQFHDPRQJ36=-WHDPDQG                              
                                -RQHV'D\UHJDUGEDUGDWHPDWWHUV

    .%'     317&      5HYLHZDQGSUHSDUHFRPPHQWVWRREMHFWLRQWREDU                        
                                GDWHPRWLRQ

    -,6     317&      5HYLHZGUDIWREMHFWLRQWREDUGDWHPRWLRQIRU                          
                                PRGLILFDWLRQ

    %00     317&      5HYLVHOLPLWHGREMHFWLRQWREDUGDWHRUGHU                          

    %00     317&      5HYLVHOLPLWHGREMHFWLRQWREDUGDWHRUGHU                              

    %00     317&      &DOOZLWK-6WDQJDQG.'LQHUHJDUGLQJPRWLRQWR                      
                                DPHQGEDUGDWHRUGHU

    %00     317&      5HYLVHDQGILOHOLPLWHGREMHFWLRQWREDUGDWHRUGHU                 

    %00     317&      &DOOZLWK&RPPLWWHHPHPEHUUHJDUGLQJEDUGDWH                           
                                PRWLRQ

    %00     317&      &DOOZLWK.'LQHUHJDUGLQJEDUGDWHPRWLRQ                             

    %00     317&      &RPPXQLFDWLRQZLWK&RPPLWWHHUHJDUGLQJEDUGDWH                         
                                PRWLRQ

    .%'     317&      5HYLHZSURSRVHGUHYLVLRQVWR%DU'DWH2UGHU                            
                                SURYLVLRQV

    %00     317&      5HYLHZ'HEWRU VSURSRVHGEDUGDWHUHYLVLRQV                             

    %00     317&      5HYLVHSURSRVHGUHYLVHGEDUGDWHRUGHU                              
                                FRPPXQLFDWHUHVDPHZLWK'HEWRU VFRXQVHO  

    %00     317&      5HVHDUFKGLRFHVDQFKLOGSURWHFWLRQSURWRFROV                            

    %00     317&      5HYLHZ'LRFHVDQ5HYLHZ%RDUGSROLFLHV                               

    %00     317&      5HYLHZ'LRFHVDQ5HYLHZ%RDUGSROLFLHV                                   

    %00     317&      5HYLHZ'LRFHVDQ5HYLHZ%RDUGSROLFLHV                               

    %00     317&      5HYLHZ'LRFHVDQ5HYLHZ%RDUGSROLFLHV                               

    %00     317&      5HYLHZ'LRFHVDQ5HYLHZ%RDUGSROLFLHV                                   

    %00     317&      5HYLHZ'LRFHVDQ5HYLHZ%RDUGSROLFLHV                                   

    .%'     317&      $QDO\]HLVVXHUHJDUGLQJFRQILGHQWLDOLW\DJUHHPHQWV                     
                                ZLWK%0LFKDHO IRUSDUW 
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                        +RXUV           5DWH         $PRXQW

    %00     317&      5HYLHZLVVXHZLWKEDUGDWHRUGHUDQGGLVFORVXUHV                          
                                 ZLWK.'LQHLQSDUW 

                                                                                                           

  5HDO(VWDWH
    %00     5($/      5HVSRQGWR%5*TXHVWLRQVUHJDUGLQJUHDOSURSHUW\                          

    %00     5($/      5HYLHZLQIRUPDWLRQUHJDUGLQJ'LRFHVH¶VUHDOHVWDWH                        
                                KROGLQJV

    %00     5($/      &RPPXQLFDWLRQZLWKGHEWRU VFRXQVHOUHJDUGLQJ                              
                                TXHVWLRQVRQUHDOSURSHUW\

    %00     5($/      5HYLVHUHDOHVWDWHFKDUW                                                  

    .%'     5($/      5HYLHZFKDUWUHJDUGLQJUHDOHVWDWHDVVHWV                                

    *6*     5($/      5HYLHZ%5*UHDOHVWDWHDQDO\VLV                                           

                                                                                                             

  6HPLQDU\7UDQVIHUV
    -,6     6(0       5HYLHZFRPPHQWRQPHPRUHJDUGLQJ6HPLQDU\                            
                                SURSHUW\

    .+%     6(0       :RUNRQPHPRWR&RPPLWWHHUHIUDXGXOHQWWUDQVIHU                     
                                FODLPVDJDLQVW6HPLQDU\  FRQIHUZLWK-6WDQJ 
                                UHVDPHDQGUHVHWWOHPHQWSURSRVDO  

    *6*     6(0       5HYLHZPHPRIURP&0XUUD\UH6HPLQDU\                                    
                                SURSHUW\

    *6*     6(0       5HYLHZ.%URZQFRPPHQWVDQGUHYLVHFLUFXODWH                             
                                PHPRUH6HPLQDU\7UDQVIHU

    %00     6(0       5HYLVH6HPLQDU\PHPR                                                      

    .%'     6(0       5HYLHZPHPRUDQGXPUHJDUGLQJ6HPLQDU\SURSHUW\                            
                                IRU&RPPLWWHH

    -,6     6(0       &DOOZLWK%0LFKDHODQG.'LQHUHJDUGLQJPHPR                          
                                WR&RPPLWWHHRQ6HPLQDU\

    .%'     6(0       5HYLHZDQGSUHSDUHFRPPHQWVWRPHPRUDQGXP                                
                                UHJDUGLQJ6HPLQDU\

    %00     6(0       5HYLVH6HPLQDU\PHPR                                                  

    .+%     6(0       (PDLOVIURP.'LQH-6WDQJDQG%0LFKDHOUH                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                      ,QYRLFH 
                                                                                        1RYHPEHU


                                                                                           +RXUV          5DWH         $PRXQW
                                PHPRWR&RPPLWWHHRQIUDXGXOHQWWUDQVIHUFODLPV
    *6*     6(0       (PDLOVIURP.'LQHUH6HPLQDU\XSGDWHDQG                                   
                                VFKHGXOLQJ&RPPLWWHHPHHWLQJ

    *6*     6(0       5HYLHZEODFNOLQHUH6HPLQDU\PHPRDQGH[KLELWVLQ                           
                                SUHSDUDWLRQIRU6&&FDOO

    *6*     6(0       &DOOZLWK6&&UH6HPLQDU\XSGDWHDQGVWUDWHJ\                               

    *6*     6(0       5HYLHZ,$&UHSRUWUH6HPLQDU\ILQDQFLDOVDQGHPDLO                          
                                IROORZXSUHVDPH

    -,6     6(0       &DOOZLWKDSSUDLVHUUHJDUGLQJ6HPLQDU\SURSHUW\                            

    .%'     6(0       &DOOZ-6WDQJ&0XUUD\-RQHV'D\DQG                                  
                                $SSUDLVHUUHJDUGLQJ6HPLQDU\SURSHUW\

    %00     6(0       &DOOZLWKDSSUDLVHUDQG'HEWRU VFRXQVHO                                    

    .+%     6(0       (PDLOVIURP56WURQJUHFKDLQRIWLWOHDQDO\VLV                       
                                HPDLOVIURP-6WDQJUHVDPH  

    *6*     6(0       5HYLHZHPDLODQGDWWDFKPHQWVIURP6WURQJUHWLWOHWR                        
                                6HPLQDU\SURSHUW\

    *6*     6(0       5HYLHZ%0LFKDHOHPDLOUHPHHWLQJDJHQGDDQG                                
                                6HPLQDU\LVVXHV

    -,6     6(0       5HYLHZDSSUDLVHUVHPDLOUHVWDQGDUGVIRUDSSUDLVDO                         

    .%'     6(0       5HYLHZFRUUHVSRQGHQFHUHJDUGLQJ6HPLQDU\                                   
                                SURSHUW\ZLWKVSHFLDOFRXQVHODQG36=-

    %00     6(0       &RPPXQLFDWLRQZLWKUHDOHVWDWHFRXQVHOUHJDUGLQJ                            
                                RQJRLQJFDVHLVVXHV

    -,6     6(0       &DOOZLWK.'LQH%0LFKDHODQGVSHFLDOUHDOHVWDWH                      
                                FRXQVHOUHJDUGLQJDSSUDLVHUDVVXPSWLRQV

    .%'     6(0       5HYLHZFRUUHVSRQGHQFHUHODWLQJWR6HPLQDU\                                 
                                DSSUDLVDO

    .%'     6(0       &DOOZ-6WDQJ%0LFKDHODQG&0XUUD\UHJDUGLQJ                        
                                6HPLQDU\DSSUDLVDO

    %00     6(0       &DOOZLWK&0XUUD\.'LQHDQG-6WDQJUHJDUGLQJ                        
                                6HPLQDU\DSSUDLVDO

    /$)     6(0       /HJDOUHVHDUFKUHQHZVRI6HPLQDU\VDOH                                    

    .%'     6(0       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-&0XUUD\                                
                                DQG-RQHV'D\UHJDUGLQJ6HPLQDU\DSSUDLVDO
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      1RYHPEHU


                                                                                        +RXUV           5DWH         $PRXQW

    %00     6(0       5HYLHZUHVSRQVHWRSURSRVHG6HPLQDU\DSSUDLVDO                            

    %00     6(0       5HYLHZKLVWRULF6HPLQDU\DSSUDLVDOV                                       

    %00     6(0       5HYLHZSRVVLEOHFRPSWR6HPLQDU\                                          

    .+%     6(0       5HYLHZHPDLOVUHGRFXPHQWH[FKDQJHV                                     
                                FRQILGHQWLDOO\DJUHHPHQWDQGDQDO\VLVRIIUDXGXOHQW 
                                WUDQVIHUFODLPV

    .+%     6(0       5HYLHZHPDLOVUHDQDO\VLVDQGPDUNHWDELOLW\RI                           
                                SURSHUW\DQGIUDXGXOHQWWUDQVIHUFODLPV

    .%'     6(0       )ROORZXSZ%0LFKDHOUHJDUGLQJRXWVWDQGLQJ                             
                                LVVXHVUHJDUGLQJDSSUDLVDO

    .%'     6(0       5HYLHZFRUUHVSRQGHQFHUHJDUGLQJRXWVWDQGLQJ                              
                                PDWWHUVUHODWLQJDPRQJ36=-DQG50)

    %00     6(0       &DOOZLWK.'LQHUHJDUGLQJ6HPLQDU\DSSUDLVDO                             

                                                                                                            

  727$/6(59,&(6)257+,60$77(5                                                                              
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                  3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                      ,QYRLFH 
                                                                        1RYHPEHU



 ([SHQVHV
    &&         &RQIHUHQFH&DOO>(@&RXUW6ROXWLRQV.'LQH               
    /1         /H[LV&KDUJHVIRU                        
    /1         /H[LV&KDUJHVIRU                       
    32         3RVWDJH                                                       
    5(        6&$1&23< #3(53*                                    
    5(        6&$1&23< #3(53*                                   
    5(        6&$1&23< #3(53*                                   
    &&         &RQIHUHQFH&DOO>(@&RXUW6ROXWLRQV%00                  
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    32         3RVWDJH                                                     
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    5(        6&$1&23< #3(53*                                   
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    /1         /H[LV&KDUJHVIRU                       
    %%         %ORRPEHUJ&KDUJHVWKURXJK               
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    32         3RVWDJH                                                       
    5(        6&$1&23< #3(53*                                   
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                  3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                      ,QYRLFH 
                                                                        1RYHPEHU

    5(        6&$1&23< #3(53*                                    
    5(        6&$1&23< #3(53*                                 
    5(        6&$1&23< #3(53*                                   
    3$&        3DFHU&RXUW5HVHDUFK                                       

   7RWDO([SHQVHVIRUWKLV0DWWHU                                             
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                         3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                             ,QYRLFH 
                                                                               1RYHPEHU


                                                5(0,77$1&($'9,&(

                                    3OHDVHLQFOXGHWKLV5HPLWWDQFHZLWK\RXUSD\PHQW

)RUFXUUHQWVHUYLFHVUHQGHUHGWKURXJK        

7RWDO)HHV                                                                                           

7RWDO([SHQVHV                                                                                          

7RWDO'XHRQ&XUUHQW,QYRLFH                                                                         

  2XWVWDQGLQJ%DODQFHIURPSULRULQYRLFHVDVRI                  0D\QRWLQFOXGHUHFHQWSD\PHQWV

$5%LOO1XPEHU           ,QYRLFH'DWH               )HHV%LOOHG        ([SHQVHV%LOOHG             %DODQFH'XH
                                                                   

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                                  'LVEXUVHPHQW6XPPDU\
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                      ([SHQVHV E\&DWHJRU\              $PRXQWV
            %ORRPEHUJ                                          
            &RQIHUHQFH&DOO                                   
            /H[LV1H[LV±/HJDO5HVHDUFK                      
            2XWVLGH6HUYLFHV                                 
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                               3DFKXOVNL6WDQJ=LHKO -RQHV//3
                                       6DQWD0RQLFD%OYG
                                              WK)ORRU
                                        /RV$QJHOHV&$
                                                                  'HFHPEHU
-,6                                                               ,QYRLFH 
                                                                  &OLHQW  
                                                                  0DWWHU  
                                                                          -,6

5( &RPPLWWHH5HSUHVHQWDWLRQ

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                    3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                        ,QYRLFH 
                                                          'HFHPEHU




  6XPPDU\RI6HUYLFHVE\3URIHVVLRQDO
  ,'        1DPH                        7LWOH               5DWH      +RXUV              $PRXQW

 %$         $QDYLP%HUQDGHWWH          /HJDO$VVLVWDQW                   

 %&'        'RZQLQJ%HQ&             2WKHU                            

 %00        0LFKDHO%ULWWDQ\0        &RXQVHO                         

 '++        +LQRMRVD'LDQH+          3DUDOHJDO                       

 *6*        *UHHQZRRG*DLO6          &RXQVHO                           

 ,$:1       1DVDWLU,DLQ$:         3DUWQHU                          

 ,'6        6FKDUI,ODQ'             3DUWQHU                           

 -,6        6WDQJ-DPHV,             3DUWQHU                          

 .%'        'LQH.DUHQ%             &RXQVHO                        

 .+%        %URZQ.HQQHWK+           3DUWQHU                               

 0.         .XOLFN0\UD                2WKHU                             

 1+%        %URZQ1DQF\+             2WKHU                             

 13/        /RFNZRRG1DQF\3)       3DUDOHJDO                         

 5/0        0RUL5RODQGD/            2WKHU                             

 6//        /HH6RSKLD/              2WKHU                             

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                        3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                            ,QYRLFH 
                                                              'HFHPEHU


  6XPPDU\RI6HUYLFHVE\7DVN&RGH
  7DVN&RGH         'HVFULSWLRQ                                 +RXUV                        $PRXQW

 &$                 &DVH$GPLQLVWUDWLRQ>%@                                       

 &(0                &HPHWHU\7UDQVIHUV                                               

 &5(9               &ODLPV5HYLHZ                                                  

 &5)                &PWH'LVF5HTV)LQDQFH*RYHUQ                                  

 &9$                &RPPLWWHH'LVFRYHU\5HTXHVWV                                     

 '&9$               &PWH'LVF5HTV&9$                                             

 ,$&                ,$&$IILOLDWH7UDQVDFWLRQV                                       

 ,)$                ,QWHULP)HH$SSOLFDWLRQV                                             

 ,/                 ,QVXUDQFH/LWLJDWLRQ                                             

 0&&                0WJV&RQIZ&OLHQW                                             

 0(                 0HGLDWLRQ                                                        

 0)                 0WJV&RQIZ&DVH3URI                                          

 0)$                0RQWKO\)HH6WDWHPHQWV                                           

 317&               3XEOLF1RWLFH                                                    

 5($/               5HDO(VWDWH                                                    

 6(0                6HPLQDU\7UDQVIHUV                                               

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                  3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                      ,QYRLFH 
                                                        'HFHPEHU


  6XPPDU\RI([SHQVHV
  'HVFULSWLRQ                                                                   $PRXQW
%ORRPEHUJ                                                                       
&RQIHUHQFH&DOO>(@                                                         
/H[LV1H[LV/HJDO5HVHDUFK>(                                                 
2XWVLGH6HUYLFHV                                                             
3DFHU&RXUW5HVHDUFK                                                          
5HSURGXFWLRQ([SHQVH>(@                                                     
5HSURGXFWLRQ6FDQ&RS\                                                          

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     'HFHPEHU


                                                                                       +RXUV            5DWH        $PRXQW

  &DVH$GPLQLVWUDWLRQ>%@
    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                          

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK%$QDYLPUHJDUGLQJ                             
                                FDOHQGDUXSDGDWHV

    .%'     &$        5HYLHZFRUUHVSRQGHQFHIURP-RQHV'D\UHJDUGLQJ                          
                                KHDULQJ

    13/     &$        5HYLHZQRWLFHRIFDQFHOHGKHDULQJV                                        

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                          

    13/     &$        (PDLOFRPPXQLFDWLRQVZLWK%$QDYLPUHJDUGLQJ                             
                                HGLWVWRXSGDWHGFULWLFDOGDWHPHPRUDQGXP

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                          

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                          

    13/     &$        8SGDWHFULWLFDOGDWHPHPRUDQGXP                                          

    13/     &$        )XUWKHUXSGDWHVWRFULWLFDOGDWHPHPRUDQGXP                               

                                                                                                            

  &HPHWHU\7UDQVIHUV
    .+%     &(0       (PDLOVZLWK-6WDQJDQG%0LFKDHOUH$QFKLQ                           
                                UHSRUW

    *6*     &(0       5HYLHZHPDLOVDQG$QFKLQUHSRUWUHFDOOWRGLVFXVV                       
                                YDOXDWLRQLVVXHV

    *6*     &(0       &DOOZLWK%5*UHFHPHWHU\YDOXDWLRQV                                     

    .%'     &(0       ,QYHVWLJDWHFHPHWHU\SURSHUW\Z%0LFKDHO                               

    .%'     &(0       &DOOZ36=-DQG%5*UHJDUGLQJFHPHWHU\DVVHWV                            

    %00     &(0       &DOOZLWK%5*DQG36=-WHDPVUHJDUGLQJ&HPHWHU\                          
                                WUDQVIHUYDOXH

    %00     &(0       ,QYHVWLJDWHFHPHWHU\SURSHUW\ZLWK.'LQH                               

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  &ODLPV5HYLHZ
    ,'6     &5(9      5HYLHZFODLPVFKDUWIRUGLVWULEXWLRQWR&RPPLWWHH                        

    6//     &5(9      5HGDFWVH[XDODEXVHFODLPV                                               
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     'HFHPEHU


                                                                                        +RXUV           5DWH        $PRXQW

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

    .%'     &5(9      5HYLHZPDWHULDOVUHODWLQJWRFODLPVPDWWHUV                              

    6//     &5(9      5HGDFWFRQILGHQWLDOVH[XDODEXVHFODLPV                                  

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                        
                                RWKHUEDQNUXSWF\FDVHV

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                                SHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDODEXVH 
                                FODLPV

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    6//     &5(9      5HGDFWSHUVRQDOLQIRUPDWLRQIURPFRQILGHQWLDODEXVH                      
                                FODLPV

    %00     &5(9      5HVHDUFKUHJDUGLQJFODLPVYDOXHV                                         

    1+%     &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    1+%     &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                  
                                DEXVHFODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    5/0     &5(9      5HGDFWFRQILGHQWLDOVH[XDODEXVHFODLPV                              

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    6//     &5(9      5HGDFWSHUVRQDOLQIRUPDWLRQLQVH[DEXVHSURRIVRI                       
                                FODLPV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      'HFHPEHU


                                                                                        +RXUV            5DWH        $PRXQW

    1+%     &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

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    6//     &5(9      5HGDFWLGHQWLI\LQJLQIRUPDWLRQIURPDEXVHFODLPV                          

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    '++     &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                   
                                DEXVHFODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    .%'     &5(9      5HYLHZFODLPVILOHG                                                   

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLPV

                                                                                                           

  &PWH'LVF5HTV)LQDQFH*RYHUQ
    .%'     &5)       &DOOZ%5*DQG36=-UHJDUGLQJVWDWXVRIGRFXPHQW                         
                                UHYLHZDQGGLVFRYHU\

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHUHJDUGLQJILQDQFLDO                                
                                GLVFRYHU\

    %00     &5)       0HHWLQJZLWK.'LQHDQG%5*UHJDUGLQJDVVHW                              
                                LQYHVWLJDWLRQ

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                             
                                DQDO\VLV

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                         
                                DQDO\VLV

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                             
                                DQDO\VLV

    ,'6     &5)       :RUNRQLQVXUDQFHDQDO\VLV                                            
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                            3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                ,QYRLFH 
                                                                                  'HFHPEHU


                                                                                     +RXUV           5DWH        $PRXQW

    .%'     &5)       )ROORZXSZ%0LFKDHOUHJDUGLQJGLVFRYHU\DQG                       
                                QH[WVWHSV

    .%'     &5)       &DOOZ-RQHV'D\UHJDUGLQJVWDWXVRIGLVFRYHU\                       

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                         
                                SURGXFWLRQ

    .%'     &5)       &DOOZ0%DEFRFN56WURQJ&7HUJYRUNLDQDQG                     
                                %0LFKDHOUHJDUGLQJGLVFRYHU\PDWWHUV

    .%'     &5)       )ROORZXSRQRXWVWDQGLQJGLVFRYHU\PDWWHUVZ%                      
                                0LFKDHO

    %00     &5)       &DOOZLWK%5* LQSDUW DQG.'LQHUHJDUGLQJ                         
                                LQYHVWLJDWLRQRIGHEWRU VDVVHWV

    %00     &5)       &RPPXQLFDWLRQVZLWKWHDPUHJDUGLQJDVVHW                              
                                LQYHVWLJDWLRQ

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                     
                                DQDO\VLV

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                          
                                DQDO\VLV

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                         
                                DQDO\VLV

    .%'     &5)       &DOOUHJDUGLQJ&)16SHFWUXPZ$%XWOHU7                          
                                'RRGLDQ%5*DQG%0LFKDHO

    .%'     &5)       )ROORZXSFDOOZ%5*DQG%0LFKDHOUHJDUGLQJ                        
                                6SHFWUXPDQGRWKHUGLVFRYHU\LWHPV

    .%'     &5)       &DOOZ-RQHV'D\UHJDUGLQJRXWVWDQGLQJGLVFRYHU\                     

    %00     &5)       0HHWLQJZLWK7'RRGLDQ$%XWOHU%5*DQG.                       
                                'LQHUHJDUGLQJ(%6/LFHQVHV

    %00     &5)       &DOOZLWK.'LQH %5*UHJDUGLQJ(%6/LFHQVHV                        

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJGRFXPHQWUHYLHZ                           

    %00     &5)       0HHWLQJZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                      
                                SURGXFWLRQ

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ%5*DQG$OL[                             
                                3DUWQHUVUHJDUGLQJGLVFRYHU\PDWWHUV

    .%'     &5)       5HYLHZDQGSUHSDUHFRPPHQWVWROHWWHUUHJDUGLQJ                      
                                GLVFRYHU\
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    'HFHPEHU


                                                                                      +RXUV            5DWH        $PRXQW

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHZLWK%5*DQG36=-                                
                                UHJDUGLQJRXWVWDQGLQJGLVFRYHU\PDWWHUV

    %00     &5)       'UDIWOHWWHUUHJDUGLQJRXWVWDQGLQJGLVFRYHU\                        
                                UHTXHVWV

    %00     &5)       'UDIWOHWWHUUHJDUGLQJRXWVWDQGLQJGLVFRYHU\                            
                                UHTXHVWV

    .%'     &5)       ,QYHVWLJDWH'LRFHVHDVVHWVZ%0LFKDHO                            

    %00     &5)       ,QYHVWLJDWH'LRFHVDQDVVHWVZLWK.'LQH LQSDUW                   

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHZ36=--RQHV'D\%5*                           
                                DQG$OYDUH]UHJDUGLQJGLVFRYHU\

    .%'     &5)       &DOOZ-RQHV'D\UHJDUGLQJRXWVWDQGLQJGLVFRYHU\                       

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                           
                                SURGXFWLRQ

    %00     &5)       &DOOZLWK56WURQJUHJDUGLQJDVVHWLQYHVWLJDWLRQ                       

    %00     &5)       5HYLHZPHPRUHJDUGLQJ'LRFHVDQDVVHW                                

                                                                                                         

  &RPPLWWHH'LVFRYHU\5HTXHVWV
    .%'     &9$       5HYLHZ&9$GLVFRYHU\LQIRUPDWLRQZ%0LFKDHO                      
                                 IRUSDUW

                                                                                                           

  &PWH'LVF5HTV&9$
    .%'     '&9$      $QDO\VLVRIGRFXPHQWVDQGGLVFRYHU\UHJDUGLQJ                      
                                &9$FODLPV

    .%'     '&9$      5HYLHZRI&9$UHODWHGLQIRUPDWLRQDQGGRFXPHQWV                        

    .%'     '&9$      5HYLHZRI&9$UHODWHGGRFXPHQWVZ%0LFKDHO                       
                                 IRUSDUW 

                                                                                                           

  ,$&$IILOLDWH7UDQVDFWLRQV
    *6*     ,$&       5HYLHZHPDLOWR&RPPLWWHHUHXSGDWHVUHJDUGLQJ                           
                                PHGLDWLRQDQGDVVHWV

    .%'     ,$&       &DOOZVSHFLDOPHGLDWRUDQGFRXQVHO                                     
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      'HFHPEHU


                                                                                        +RXUV            5DWH        $PRXQW

    %00     ,$&       &DOOZLWK.'LQHDQGVSHFLDOPHGLDWRUUHJDUGLQJ                          
                                ,$&LQYHVWLJDWHGWUDQVIHUV

    *6*     ,$&       5HYLHZFRXUWOHWWHUUHGLVFRYHU\UHTXHVWVLQ                               
                                DGYHUVDU\

    *6*     ,$&       5HYLHZ'HEWRU¶VPHGLDWLRQEULHIDQGDUJXPHQWVUH                          
                                WUDQVIHUV

    *6*     ,$&       5HYLHZUHVSRQGWRHPDLOVUHVFKHGXOLQJFDOOZLWK                           
                                %5*UH,$&WUDQVIHUVDQGYDOXDWLRQ

    *6*     ,$&       5HYLHZHPDLOVUH'2(WUDQVIHUVDQGRXWVWDQGLQJ                            
                                LVVXHV

    .%'     ,$&       &RUUHVSRQGHQFHZLWKVSHFLDOPHGLDWRUDQGFRXQVHO                         

    .%'     ,$&       )ROORZXSZ%0LFKDHOUHJDUGLQJRXWVWDQGLQJ                             
                                GLVFRYHU\PDWWHUV

                                                                                                             

  ,QWHULP)HH$SSOLFDWLRQV
    13/     ,)$       8SGDWHHVWDWHSURIHVVLRQDOVIHHVSXUVXDQWWRLQWHULP                      
                                IHHDSSOLFDWLRQV

                                                                                                                 

  ,QVXUDQFH/LWLJDWLRQ
    -,6     ,/        &DOO7%XUQVUHRSHQLQVXUDQFHWDVNVDQGLVVXHV                         

    ,$:1 ,/           7HOHSKRQHFRQIHUHQFHZLWK-DPHV,6WDQJUH                               
                                SDULVKHV

    -,6     ,/        &DOOZLWKVSHFLDOLQVXUDQFHFRXQVHOUHJDUGLQJ                        
                                LQVXUDQFHLVVXHVDQGPHGLDWLRQ

    .%'     ,/        5HYLHZOHWWHUUHJDUGLQJLQVXUDQFHOLWLJDWLRQ                             

    ,$:1 ,/           7HOHSKRQHFRQIHUHQFHZ%HUULQJHU$QQ./DZ                           
                                %XUQV%DLUUHLQVXUDQFHDOORFDWLRQ

    ,$:1 ,/           5HYLHZ5HHG6PLWKWLPHUHFRUGV                                       

    ,$:1 ,/           6HQGEXOOHWSRLQWHPDLOWR%DLUDQG%XUQVUHLVVXHV                      
                                EHLQJDGGUHVVHGE\WKHGHEWRU

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    'HFHPEHU


                                                                                       +RXUV           5DWH        $PRXQW

  0WJV&RQIZ&OLHQW
    .%'     0&&       &RUUHVSRQGHQFHWRFRPPLWWHH6&&UHJDUGLQJ                              
                                RXWVWDQGLQJPDWWHUV

    .%'     0&&       &DOOZ,6FKDUI%0LFKDHODQG6&&PHPEHU                            
                                UHJDUGLQJRXWVWDQGLQJOHJDOLVVXHV

    .%'     0&&       )ROORZXSZ%0LFKDHOUHJDUGLQJ&RPPLWWHH                             
                                PHHWLQJVDQGQH[WVWHSV

    %00     0&&       'LVFXVVLRQZLWK6&&UHJDUGLQJRXWVWDQGLQJFDVH                          
                                LVVXHV

    %00     0&&       'LVFXVVLRQZLWK.'LQHUHJDUGLQJXSFRPLQJ                              
                                &RPPLWWHHPHHWLQJV

    .%'     0&&       7HOHSKRQHFRQIHUHQFHZ%0LFKDHOUHJDUGLQJ                            
                                SUHSDUDWLRQIRUFRPPLWWHHPHHWLQJ

    .%'     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                   

    %00     0&&       3UHSDUHPDWHULDOVIRU&RPPLWWHHPHHWLQJ                                 

    ,$:1 0&&          7HOHSKRQHFRQIHUHQFHZ&RPPLWWHHPHGLDWLRQ                        

    .%'     0&&       3UHSDUHIRUFRPPLWWHHPHHWLQJUHJDUGLQJ                                
                                RXWVWDQGLQJPDWWHUV

    .%'     0&&       $WWHQGFRPPLWWHHPHHWLQJUHJDUGLQJRXWVWDQGLQJ                     
                                PDWWHUV

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                            
                                PHHWLQJUHJDUGLQJPHGLDWLRQDQGRWKHUFDVHLVVXHV

    .%'     0&&       &RUUHVSRQGHQFHZ6&&DQG36=-UHJDUGLQJPHHWLQJ                        
                                DQGRXWVWDQGLQJPDWWHUV

    .%'     0&&       3UHSDUHPDWHULDOVIRU&RPPLWWHHPHHWLQJ                                

    .%'     0&&       &RUUHVSRQGHQFHZ&RPPLWWHH6&&DQG36=-                               
                                UHJDUGLQJRXWVWDQGLQJPDWWHUV

    .%'     0&&       5HYLHZGUDIWSUHVHQWDWLRQVOLGHVIRUFRPPLWWHH                         

    .%'     0&&       5HYLHZPDWHULDOVIRU&RPPLWWHHPHHWLQJDQGUHODWHG                     
                                FRUUHVSRQGHQFH

    .%'     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                   

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ&RPPLWWHHDQG6&&RQ                              
                                RXWVWDQGLQJPDWWHUV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                             3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                 ,QYRLFH 
                                                                                   'HFHPEHU


                                                                                      +RXUV           5DWH        $PRXQW

    %00     0&&       5HYLHZPDWHULDOVIRU&RPPLWWHHPHHWLQJ                           

    -,6     0&&       5HYLHZ%5*SRZHUSRLQWSUHVHQWDWLRQIRUFRPPLWWHH                      
                                FDOO

    -,6     0&&       $WWHQGFRPPLWWHHFDOOUHJDUGLQJFDVHLVVXHV                       

    ,'6     0&&       3DUWLDO $WWHQGFRPPLWWHHPHHWLQJUHJDUGLQJ                            
                                PHGLDWLRQVWUDWHJ\

    .%'     0&&       3UHSDUHIRUPHHWLQJZLWK&RPPLWWHHZ-6WDQJDQG                     
                                56WURQJ IRUSDUW 

    .%'     0&&       $WWHQGPHHWLQJZLWK&RPPLWWHH                                     

    .%'     0&&       3UHSDUHFRUUHVSRQGHQFHWR&RPPLWWHHUHJDUGLQJ                         
                                RXWVWDQGLQJPDWWHUV

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                       
                                PHHWLQJUHJDUGLQJLQVXUDQFHDQGRWKHUFDVHLVVXHV

    .%'     0&&       3UHSDUHSUHVHQWDWLRQWR&RPPLWWHHUHJDUGLQJ                       
                                PHGLDWLRQZ%0LFKDHO IRUSDUW   

    %00     0&&       5HYLVHSUHVHQWDWLRQWR&RPPLWWHH ZLWK.'LQHLQ                      
                                SDUW 

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-&RPPLWWHHDQG6&&                          
                                UHJDUGLQJXSFRPLQJPHHWLQJV

    %00     0&&       5HVSRQGWR&RPPLWWHHPHPEHUTXHVWLRQUHJDUGLQJ                     
                                SUHFHGHQWLDOFDVH

    .%'     0&&       5HYLHZSUHVHQWDWLRQIRUFRPPLWWHH                                     

    .%'     0&&       3UHSDUHFRUUHVSRQGHQFHWRFRPPLWWHHUHJDUGLQJ                        
                                RXWVWDQGLQJPDWWHUV

    %00     0&&       5HYLVHSUHVHQWDWLRQWR&RPPLWWHHUHJDUGLQJ                         
                                PHGLDWLRQVWUDWHJ\

    .%'     0&&       3UHSDUHIRUFRPPLWWHHFDOO                                            

    .%'     0&&       3DUWLFLSDWHLQFDOOZ&RPPLWWHHRQRXWVWDQGLQJ                    
                                PDWWHUV

    .%'     0&&       &RUUHVSRQGHQFHZLWKFRPPLWWHHDQG6&&RQ                              
                                RXWVWDQGLQJPDWWHUV

    %00     0&&       &DOOZLWK.'LQHUHJDUGLQJXSFRPLQJ&RPPLWWHH                         
                                PHHWLQJ

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                           
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                      ,QYRLFH 
                                                                                        'HFHPEHU


                                                                                          +RXUV            5DWH        $PRXQW
                                PHHWLQJUHJDUGLQJFDVHLVVXHV
    .%'     0&&       3UHSDUHIRUIXUWKHUPHHWLQJZLWK&RPPLWWHH                                 
                                UHJDUGLQJPHGLDWLRQDQGRWKHUPDWWHUV

                                                                                                             

  0HGLDWLRQ
    .%'     0(        5HYLHZFRUUHVSRQGHQFHZLWKUHVSHFWWRPHGLDWLRQ                            
                                DPRQJ-RQHV'D\WKH0HGLDWRUDQG36=-

    .%'     0(        &DOOZ%0LFKDHO-6WDQJDQG%%%UHJDUGLQJ                         
                                LQVXUDQFHPDWWHUV

    %00     0(        'LVFXVVLRQZLWK%%% 36=-UHJDUGLQJDYDLODEOH                              
                                LQVXUDQFHDVVHWVDQGPHGLDWLRQ

    ,$:1 0(           7HOHSKRQHFRQIHUHQFHZ6WDQJ0LFKDHO6FKDUI                            
                                %DLU%XUQVDQG'LQH

    -,6     0(        &DOOZLWK36=-DQGLQVXUDQFHFRXQVHOUHLQVXUDQFH                          
                                LVVXHVLQFOXGLQJPHGLDWLRQEULHI

    .%'     0(        &DOOUHJDUGLQJLQVXUDQFHLVVXHVUHODWLQJWRPHGLDWLRQ                      
                                Z7%XUQV-%DLU,1DVDWLU-6WDQJDQG%
                                0LFKDHO

    .%'     0(        5HYLHZPHGLDWLRQVWDWHPHQWIURP'HEWRU                                     

    %00     0(        'LVFXVVLRQUHJDUGLQJLQVXUDQFHDVVHWVDQGPHGLDWLRQ                         
                                ZLWK36=-DQG%%%WHDPV

    .%'     0(        5HYLHZFRUUHVSRQGHQFHDPRQJPHGLDWRUDQGSDUWLHV                           

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQVWUDWHJ\                              

    .%'     0(        5HYLHZFRUUHVSRQGHQFHIURPPHGLDWRUUHODWLQJWR                            
                                PHGLDWLRQ

    .%'     0(        5HYLHZLQIRUPDWLRQUHODWLQJWRLQVXUDQFHFRYHUDJH                           

    .%'     0(        5HYLHZPHGLDWRU VVWDWXVUHSRUW                                            

    .%'     0(        &RUUHVSRQGHQFHDPRQJ36=-DQGRWKHU&RPPLWWHH                              
                                SURIHVVLRQDOVUHJDUGLQJPHGLDWLRQ

    ,$:1 0(           ([FKDQJHHPDLOVZLWKWHDPUHPHGLDWLRQFDOO                                

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    'HFHPEHU


                                                                                      +RXUV            5DWH        $PRXQW

  0WJV&RQIZ&DVH3URI
    -,6     0)        &DOOZLWK'HEWRURQFDVHVWDWXV                                        

    .%'     0)        3UHSDUHIRUFDOOZ-RQHV'D\                                           

    .%'     0)        &DOOZ-RQHV'D\DQG3DFKXOVNLUHJDUGLQJ                           
                                RXWVWDQGLQJPDWWHUV

    %00     0)        0HHWLQJZLWKGHEWRU VFRXQVHOUHJDUGLQJRQJRLQJ                         
                                FDVHLVVXHV

    .%'     0)        7HOHSKRQHFRQIHUHQFHZLWK%5RVHQEOXPUHJDUGLQJ                       
                                RXWVWDQGLQJPDWWHUV

    .%'     0)        5HYLHZFRUUHVSRQGHQFHIURP-RQHV'D\UHODWLQJWR                       
                                KHDULQJ

    -,6     0)        &DOO.'LQHUHJDUGLQJPHHWLQJZLWK'HEWRU                             

    .%'     0)        &DOOZ-RQHV'D\UHJDUGLQJRXWVWDQGLQJPDWWHUV                         

    .%'     0)        )ROORZXSFDOOZ-6WDQJUHJDUGLQJRXWVWDQGLQJ                        
                                PDWWHUV

    %00     0)        &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJRQJRLQJFDVH                       
                                LVVXHV

    .%'     0)        &RUUHVSRQGHQFHDPRQJ-RQHV'D\DQG36=-UH                             
                                RXWVWDQGLQJPDWWHUV

    .%'     0)        5HYLHZFRUUHVSRQGHQFHIURP-RQHV'D\RQ                                
                                RXWVWDQGLQJPDWWHUV

                                                                                                           

  0RQWKO\)HH6WDWHPHQWV
    '++     0)$       5HYLHZHGLW36=-1RYHPEHUPRQWKO\VWDWHPHQW                             

    '++     0)$       5HYLHZHGLW36=-1RYHPEHUPRQWKO\VWDWHPHQW                             

    13/     0)$       3UHSDUHFHUWLILFDWHRIQRREMHFWLRQUHJDUGLQJ                           
                                &RPPLWWHHPRQWKO\IHHVWDWHPHQWVIRU2FWREHU 
                                

    %00     0)$       5HYLVHPRQWKO\IHHVWDWHPHQW                                            

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                           
                                FHUWLILFDWHRIQRREMHFWLRQUHJDUGLQJ&RPPLWWHH
                                2FWREHUIHHVWDWHPHQWV

    13/     0)$       3UHSDUHFHUWLILFDWHRIQRREMHFWLRQUHJDUGLQJ                            
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      'HFHPEHU


                                                                                        +RXUV            5DWH        $PRXQW
                                &RPPLWWHH2FWREHUIHHVWDWHPHQWVIRUILOLQJ
    13/     0)$       'UDIWHPDLOWR$%XWOHUUHJDUGLQJFHUWLILFDWHRIQR                       
                                REMHFWLRQUHJDUGLQJ&RPPLWWHH2FWREHUIHH
                                VWDWHPHQWV

    '++     0)$       5HYLHZHGLW36=-1RYHPEHUPRQWKO\VWDWHPHQW                               

    '++     0)$       5HYLHZILQDOHGLWVWR36=-1RYHPEHUPRQWKO\                               
                                VWDWHPHQWDQGSUHSDUH36=-1RYHPEHUIHH
                                VWDWHPHQW

    13/     0)$       )LQDOL]H36=-PRQWKO\IHHVWDWHPHQWQR                                

    13/     0)$       )LQDOL]H%XUQV%RZHQ%DLUPRQWKO\IHHVWDWHPHQW                           
                                QR

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWKLQWHUHVWHGSDUWLHV                               
                                UHJDUGLQJ&RPPLWWHHPRQWKO\IHHVWDWHPHQWV

    13/     0)$       (PDLOFRPPXQLFDWLRQVZLWK%0LFKDHOUHJDUGLQJ                             
                                &RPPLWWHHPRQWKO\IHHVWDWHPHQWV

                                                                                                             

  3XEOLF1RWLFH
    ,'6     317&      5HYLHZDQGUHYLVHGRFXPHQWUHTXHVWUHJDUGLQJ                              
                                UHYLHZERDUGPRWLRQ

    ,'6     317&      5HYLHZDQGFRPPHQWRQODQJXDJHUHDPHQGPHQWRI                            
                                EDUGDWHRUGHU

    .%'     317&      )ROORZXSFDOOZ%0LFKDHODQG-6WDQJRQ                              
                                RXWVWDQGLQJPDWWHUVLQFOXGLQJEDUGDWHLVVXH

    %00     317&      &DOOZLWK.'LQHDQG-6WDQJUHJDUGLQJH[SHUW                           
                                DFFHVVWR32&VDQGRWKHUFDVHLVVXHV

    .%'     317&      $QDO\VLVRILVVXHVUHODWLQJWREDUGDWHRUGHU                             

    .%'     317&      &RUUHVSRQGHQFHUHODWLQJWREDUGDWHDQGRWKHUPDWWHU                     
                                DPRQJ36=-

    ,'6     317&      0HHWZLWK6&&UHJDUGLQJ'LRFHVDQ5HYLHZ%RDUG                             
                                LVVXHV

                                                                                                             

  5HDO(VWDWH
    '++     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                   
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                   3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                       ,QYRLFH 
                                                                                         'HFHPEHU


                                                                                           +RXUV            5DWH        $PRXQW

    '++     5($/      7HOHSKRQHFRQIHUHQFHZLWK%0LFKDHOUHJDUGLQJ                           
                                DQDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV
                                SURMHFW  EHJLQDQDO\VLVRI'LRFHVHDQG3DULVK
                                UHDOHVWDWHKROGLQJV  

    %00     5($/      0HHWLQJZLWK'+LQRMRVDUHJDUGLQJUHDOSURSHUW\                             
                                DQDO\VLV

    %&'     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                           

    '++     5($/      7HOHSKRQHFRQIHUHQFHZLWK*'RZQLQJDQGHPDLOV                          
                                WRIURP%'RZQLQJUHJDUGLQJDQDO\VLVRI'LRFHVH 
                                DQG3DULVKUHDOHVWDWHKROGLQJVSURMHFW  DQDO\VLV
                                RI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV  

    %&'     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                       

    '++     5($/      7HOHSKRQHFRQIHUHQFHZLWK%'RZQLQJUHJDUGLQJ                           
                                DQDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV
                                SURMHFWLVVXHV  DQDO\VLVRI'LRFHVHDQG3DULVK
                                UHDOHVWDWHKROGLQJV  

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Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                         Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


            THIRTEENTH MONTHLY FEE STATEMENT OF PACHULSKI
           STANG ZIEHL & JONES LLP FOR PROFESSIONAL SERVICES
            RENDERED AND DISBURSEMENTS INCURRED AS COUNSEL
         TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
         THE PERIOD FROM JANUARY 1, 2022 THROUGH JANUARY 31, 2022




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 Name of Applicant:                                                   Pachulski Stang Ziehl & Jones LLP
 Authorized to Provide Professional Services                          Official Committee of Unsecured Creditors
 to:
                                                                      Effective October 16, 2020 pursuant to Order
 Date of Retention:
                                                                      dated November 17, 2020 [Docket No.163]
 Period for which Compensation and
                                                                      January 1, 2022 – January 31, 20221
 Reimbursement is Sought:
 Amount of Compensation Sought as Actual,
                                                                      $181,912.40 (80% of $227,390.50)
 Reasonable and Necessary:
 Amount of Expense Reimbursement Sought
                                                                      $5,080.50
 as Actual, Reasonable and Necessary:

This is a:            x Monthly                Interim              Final Application.

                                                   Preliminary Statement

          Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), attorneys for the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York (the “Debtor”), hereby submits this statement of fees and disbursements (the

“Monthly Statement”) for the period from January 1, 2022 through January 31, 2022 (the

“Compensation Period”) in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals dated November 4, 2020

[Docket No. 129] (the “Interim Compensation Order”). PSZ&J requests (a) interim allowance

and payment of compensation in the amount of $181,912.40 (80% of $227,390.50) for fees on

account of reasonable and necessary professional services rendered to the Committee by

PSZ&J2; and (b) reimbursement of actual and necessary costs and expenses in the amount of

$5,080.50. PSZ&J reserves the right to apply in the future for reimbursement of actual and




1 The applicant reserves the right to include any time expended in the time period indicated above in future application(s) if it is

not included herein.
2 PSZJ will hold ten percent of all fees received in this Case in a trust account to benefit this Case’s tort claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created, the funds will be donated to a
child advocacy organization to be selected by the Committee at the conclusion of the Case.



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necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Compensation Period.

                        Services Rendered During the Compensation Period

                 Exhibit A sets forth a timekeeper summary that includes the respective names,

positions, department, bar admissions, hourly billing rates and aggregate hours spent by each

PSZ&J professional and paraprofessional that provided services to the Committee during the

Compensation Period. The rates charged by PSZ&J for services rendered to the Committee are

the same rates that PSZ&J charges generally for professional services rendered to its non-

bankruptcy clients.

                 Exhibit B sets forth a task code summary that includes the aggregate hours per

task code spent by PSZ&J professionals and paraprofessionals in rendering services to the

Committee during the Compensation Period.

                 Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZ&J in connection with

services rendered to the Committee during the Compensation Period.

                 Exhibit D sets forth a complete itemization of all time records for PSZ&J

professionals and paraprofessionals for the Compensation Period.

                                    Notice and Objection Procedures

                 No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, notice of the Monthly Statement has been served by hand or

overnight delivery upon: (a) the Debtor c/o The Roman Catholic Diocese of Rockville Centre,

50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn: Thomas Renker); (b)

the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne




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Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and (c) the Office of the

United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite 1006, New York,

NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). PSZ&J submits that no other or

further notice need be provided.

                 Pursuant to the Interim Compensation Order, objections to this Application, if

any, must be served upon the Application Recipients by March 12, 2022 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

                 If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay PSZ&J 80% of the fees and 100% of the expenses set forth above.

                 To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is

directed and promptly pay the remainder of the fees and disbursements in the percentages set

forth above. To the extent such objection is not resolved; it shall be preserved and presented to

the Court at the next interim or final fee application hearing.




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                                    PACHULSKI STANG ZIEHL & JONES LLP
 Dated: February 25, 2022
                                     /s/ James I. Stang
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                                    Facsimile: (310) 201-0760
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                                    -and-

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                                    ischarf@pszjlaw.com
                                    bmichael@pszjlaw.com

                                    Counsel to the Official Committee of Unsecured
                                    Creditors of The Roman Catholic Diocese of
                                    Rockville Centre, New York




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                                             EXHIBIT A

                                         Timekeeper Summary

 NAME OF PROFESSIONAL           TITLE      YEAR OF      YEAR OF     HOURLY      TOTAL        TOTAL
                                          ADMISSION   PARTNERSHIP    RATE       HOURS     COMPENSATION
                                                                                BILLED




James I. Stang               Partner        1980         1983       $1,525.00      7.80     $11,895.00
Iain A.W. Nasatir            Partner        1983         1998       $1,295.00      7.90     $10,230.50
Kenneth H. Brown             Partner        1981         2001       $1,395.00      2.30      $3,208.50
Ilan D. Scharf               Partner        2002         2010        $995.00     20.30      $20,198.50
Gail S. Greenwood            Counsel        1994         N/A        $1,045.00    39.20      $40,964.00
Karen B. Dine                Counsel        1994         N/A        $1,295.00    33.00      $42,735.00
Brittany M. Michael          Counsel        2015         N/A         $725.00     71.40      $51,765.00
Diane H. Hinojosa            Paralegal      N/A          N/A         $395.00     53.90      $21,290.50
Kerri L. LaBrada             Paralegal      N/A          N/A         $495.00       5.50      $2,722.50
Bernadette Anavim            Assistant      N/A          N/A         $460.00       7.50      $3,450.00
Rolanda L. Mori              Assistant      N/A          N/A         $395.00       1.90        $750.50
Sophia L. Lee                Assistant      N/A          N/A         $395.00     10.50       $4,147.50
Myra Kulick                  Assistant      N/A          N/A         $395.00     13.90       $5,490.50
Ben C. Downing               Assistant      N/A          N/A         $395.00     20.60       $8,137.00
Denise L. Mendoza            Assistant      N/A          N/A         $395.00        .40        $158.00
Leslie A. Forrester          Other          N/A          N/A         $495.00        .50        $247.50
Total                                                                           296.60     $227,390.50




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                                           EXHIBIT B

                                      Task Code Summary

       Code                          Description          Hours     Amount
        CA         Case Administration                      1.60       $907.00
       CEM         Cemetery Transfers                       9.30    $10,445.50
        CPO        Compensation of Professionals/Others      .50       $362.50
       CREV        Claims Review                           60.80    $34,460.50
        CRF        Committee Discovery Requests –
                   Finance/Governance                      48.40    $39,986.00
        CRP        Cmte Disc Requests - Parishes             .10        $72.50
        IAC        IAC/Affiliate Transactions              37.40    $37,683.00
         IL        Insurance Litigation                    23.20    $23,321.00
       MCC         Mtgs/Conf w/Client                      23.00    $23,490.00
       MCP         Mtgs/Conf w/Cmte Professionals           2.40     $2,493.00
        ME         Mediation                               16.90    $19,496.50
       MFA         Monthly Fee Statements                   4.40     $2,373.00
       REAL        Real Estate                             61.30    $24,312.50
       SEM         Seminary Transfers                       7.30     $7,987.50
                   TOTAL                                  296.60   $227,390.50




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                                        EXHIBIT C

                                  Disbursement Summary


                       Expenses (by Category)            Amounts
            Bloomberg                                          $12.50
            Federal Express                                    $47.84
            Lexis/Nexis – Legal Research                      $184.21
            Legal Vision Atty Mess Service                   $127.50
            Postage                                            $26.95
            Research                                        $4,466.00
            Transcript                                        $215.50
            TOTAL                                           $5,080.50




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                                 EXHIBIT D




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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                    3DJH     
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  6XPPDU\RI6HUYLFHVE\3URIHVVLRQDO
  ,'        1DPH                        7LWOH               5DWH      +RXUV               $PRXQW

 %$         $QDYLP%HUQDGHWWH          /HJDO$VVLVWDQW                       

 %&'        'RZQLQJ%HQ&             2WKHU                                

 %00        0LFKDHO%ULWWDQ\0        &RXQVHO                          

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 ,'6        6FKDUI,ODQ'             3DUWQHU                          

 -,6        6WDQJ-DPHV,             3DUWQHU                          

 .%'        'LQH.DUHQ%             &RXQVHO                         

 .+%        %URZQ.HQQHWK+           3DUWQHU                              

 .//        /D%UDGD.HUUL/           3DUDOHJDO                             

 /$)        )RUUHVWHU/HVOLH$        2WKHU                                  

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                                                              -DQXDU\


  6XPPDU\RI6HUYLFHVE\7DVN&RGH
  7DVN&RGH         'HVFULSWLRQ                                 +RXUV                         $PRXQW

 &$                 &DVH$GPLQLVWUDWLRQ>%@                                            

 &(0                &HPHWHU\7UDQVIHUV                                                  

 &32                &RPSRI3URI2WKHUV                                                 

 &5(9               &ODLPV5HYLHZ                                                      

 &5)                &PWH'LVF5HTV)LQDQFH*RYHUQ                                      

 &53                &PWH'LVF5HTV3DULVKHV                                               

 ,$&                ,$&$IILOLDWH7UDQVDFWLRQV                                         

 ,/                 ,QVXUDQFH/LWLJDWLRQ                                               

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 0&3                0WJV&RQIZ&PWH3URIV                                               

 0(                 0HGLDWLRQ                                                          

 0)$                0RQWKO\)HH6WDWHPHQWV                                               

 5($/               5HDO(VWDWH                                                        

 6(0                6HPLQDU\7UDQVIHUV                                                   

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  6XPPDU\RI([SHQVHV
  'HVFULSWLRQ                                                                    $PRXQW
%ORRPEHUJ                                                                        
)HGHUDO([SUHVV>(@                                                           
/H[LV1H[LV/HJDO5HVHDUFK>(                                                  
/HJDO9LVLRQ$WW\0HVV6HUYLFH                                                  
3RVWDJH>(@                                                                   
5HVHDUFK>(@                                                               
7UDQVFULSW>(@                                                               

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH     
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                                                                                          +RXUV            5DWH       $PRXQW

  &DVH$GPLQLVWUDWLRQ>%@
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  &HPHWHU\7UDQVIHUV
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                                IROORZXSHPDLOWR36=-WHDP

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                                GLVFRYHU\LVVXHVDQG$QFKLQUHSRUWDQDO\VLV

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                                DQGGUDIWPHPR

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                                QHFHVVDU\IRUFHPHWHU\DQDO\VLV

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                                IUDXGXOHQWWUDQVIHUVDQG,$&UHSRUW  HPDLOVZLWK 
                                %0LFKDHOVDPH  

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                                LVVXHV

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                                FHPHWHU\WUDQVIHUDQDO\VLV

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                                FRUUHVSRQGHQFH

    *6*     &(0       'UDIWSUHSDUHSUHVHQWDWLRQIRU&RPPLWWHHUH                               
                                FHPHWHU\WUDQVIHUV

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    *6*     &(0       5HYLHZ$QFKLQUHSRUWVDQGILQDQFLDOVUHYDOXDWLRQ                          

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                                                                                        +RXUV            5DWH         $PRXQW

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                                EODFNOLQHDPRQJ36=-WHDP

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  &RPSRI3URI2WKHUV
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  &ODLPV5HYLHZ
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                                DEXVHFODLPV

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                                DQGLQVXUDQFHDQDO\VLV

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                                DEXVHFODLPV

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                                DEXVHFODLPV

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                                FODLPV

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                                DEXVHFODLPV

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                                0LFKDHO.'LQHDQG,6FKDUIUHJDUGLQJFODLPV
                                FKDUW

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                                UHJDUGLQJLQVXUDQFHFKDUWV

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                                FODLPV

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     -DQXDU\


                                                                                        +RXUV           5DWH       $PRXQW

    .%'     &5(9      &DOOZ%%%DQG36=-UHJDUGLQJ&ODLPV,QVXUDQFH                         
                                DQDO\VLV

    %00     &5(9      0HHWLQJZLWK%%%DQG36=-WHDPVUHJDUGLQJFODLPV                        
                                VORWWLQJ

    6//     &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPDEXVH                       
                                FODLPV

    .%'     &5(9      5HYLHZFODLPVDQDO\VLVFKDUW                                            

    %00     &5(9      5HYLVHFODLPVFKDUWIRUGLVWULEXWLRQWR&RPPLWWHH                        

    %00     &5(9      $QDO\]HLQIRUPDWLRQUHODWHGWRFODLPVYDOXDWLRQV                        

    5/0     &5(9      5HGDFWFRQILGHQWLDOVH[XDODEXVHFODLPV                                  

    6//     &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQRQDEXVH                        
                                FODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    .%'     &5(9      5HYLHZFODLPVFKDUWLQSUHSDUDWLRQIRU6&&FDOO                         

    %00     &5(9      3DUWLFLSDWHLQ6&&PHHWLQJUHJDUGLQJFODLPVUHYLHZ                       

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      7HOHSKRQHFRQIHUHQFHVDQGHPDLOVZLWK36=-WHDP                          
                                UHJDUGLQJUHGDFWLRQRISHUVRQDOLGHQWLI\LQJ
                                LQIRUPDWLRQIURPFODLPV

    6//     &5(9      5HGDFWLGHQWLI\LQJLQIRUPDWLRQIURPDEXVHFODLPV                         

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                     
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                      
                                DEXVHFODLPV

    '++     &5(9      )XUWKHUWHOHSKRQHFRQIHUHQFHVDQGHPDLOVZLWK36=-                       
                                WHDPUHJDUGLQJUHGDFWLRQRISHUVRQDOLGHQWLI\LQJ
                                LQIRUPDWLRQIURPFODLPV

    %$      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                     
      20-12345-scc Doc
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                       989 Filed
                           Filed02/25/22
                                 03/15/22 Entered
                                           Entered02/25/22
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                                                            18:58:48 Main
                                                                     MainDocument
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                                     Pg  17 of 176
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      -DQXDU\


                                                                                        +RXUV            5DWH         $PRXQW
                                DEXVHFODLPV
    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                       
                                DEXVHFODLP

    0.      &5(9      5HGDFWSHUVRQDOLGHQWLI\LQJLQIRUPDWLRQIURPVH[XDO                        
                                DEXVHFODLPV

    .%'     &5(9      3UHSDUHDQGUHYLHZFRUUHVSRQGHQFHZLWK6HJDOH                             
                                UHJDUGLQJFODLPV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                          
                                RWKHUEDQNUXSWF\FDVHV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                          
                                RWKHUEDQNUXSWF\FDVHV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                          
                                RWKHUEDQNUXSWF\FDVHV

    '++     &5(9      5HYLHZILOHGFODLPVIRUGXSOLFDWHFODLPVILOHGLQ                          
                                RWKHUEDQNUXSWF\FDVHV

                                                                                                               

  &PWH'LVF5HTV)LQDQFH*RYHUQ
    .%'     &5)       5HYLHZGUDIWGLVFRYHU\OHWWHUDQGSURSRVHGUHTXHVWV                       

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                             
                                DQDO\VLV

    %00     &5)       5HYLHZ'HEWRU VUHFHQWSURGXFWLRQVDQGXSGDWH                              
                                GLVFRYHU\FKDUWDFFRUGLQJO\

    %00     &5)       $QDO\]HVWUDWHJ\IRURXWVWDQGLQJGLVFRYHU\UHTXHVWV                        

    %00     &5)       $QDO\]HLQIRUPDWLRQRQGHEWRU VDVVHWVDQGGUDIW                          
                                GLVFRYHU\UHTXHVWV

    .%'     &5)       )ROORZXSZLWK%0LFKDHORQRXWVWDQGLQJPDWWHUV                          

    .%'     &5)       5HYLHZGLVFRYHU\VWDWXVDQGFRUUHVSRQGHQFH                                

    .%'     &5)       &DOOZ%0LFKDHODQG-RQHV'D\UHGLVFRYHU\                              

    %00     &5)       5HYLVHVFKHGXOHRIDVVHWLQYHVWLJDWLRQ                                     

    %00     &5)       &DOOZLWK,6FKDUIUHJDUGLQJLQYHVWLJDWLRQRI                             
                                WUDQVIHUFDXVHRIDFWLRQ

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                              
                                SURGXFWLRQ
      20-12345-scc Doc
     20-12345-scc  Doc1010
                       989 Filed
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                             3DJH     
'LRFHVHRI5RFNYLOOH&WU2&&                                                                 ,QYRLFH 
                                                                                   -DQXDU\


                                                                                      +RXUV           5DWH       $PRXQW

    %00     &5)       5HYLHZ'LRFHVH VSURGXFHGGRFXPHQWVIRUDVVHW                         
                                DQDO\VLV

    %00     &5)       5HYLHZ'HEWRU VSURGXFHGGRFXPHQWVIRUDVVHW                           
                                LQYHVWLJDWLRQ

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJGLVFRYHU\IROORZXS                        

    .%'     &5)       5HYLHZGLVFRYHU\VWDWXVDQGUHODWHGFRUUHVSRQGHQFH                    

    .%'     &5)        3DUWLDO &DOOZ%0LFKDHODQG%5*UHJDUGLQJ                        
                                RXWVWDQGLQJGLVFRYHU\

    .%'     &5)       &DOOZ%0LFKDHOUHJDUGLQJRXWVWDQGLQJGLVFRYHU\                     
                                PDWWHUV

    %00     &5)       3URFHVVGRFXPHQWSURGXFWLRQVIRU&RPPLWWHH                             
                                UHYLHZ

    %00     &5)       3UHSDUHFRPPXQLFDWLRQWR(6WHSKHQVUHJDUGLQJ                         
                                RXWVWDQGLQJGLVFRYHU\

    %00     &5)       &RPPXQLFDWLRQVZLWK36=-WHDPUHJDUGLQJDVVHW                         
                                LQYHVWLJDWLRQV

    %00     &5)       0HHWLQJZLWK%5*DQG.'LQH LQSDUW UHJDUGLQJ                       
                                DVVHWLQYHVWLJDWLRQ

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJRQJRLQJFDVHLVVXHV                        

    .%'     &5)       $WWHQGWRGLVFRYHU\FRUUHVSRQGHQFH                                    

    %00     &5)       3UHSDUHRXWVWDQGLQJGLVFRYHU\UHTXHVWV                                

    .%'     &5)       &DOOZ(6WHSKHQV$%XWOHUDQG%0LFKDHO                          
                                UHJDUGLQJGLVFRYHU\

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHUHJDUGLQJGLVFRYHU\PDWWHUV                     

    .%'     &5)       )ROORZXSFDOOZ%0LFKDHOUHJDUGLQJGLVFRYHU\                       
                                DQGQH[WVWHSV

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                          
                                SURGXFWLRQ

    %00     &5)       'UDIWPHPRUHJDUGLQJIUDXGXOHQWWUDQVIHU                               
                                LQYHVWLJDWLRQ

    .%'     &5)       &DOOZ%0LFKDHODQG%5*WHDPUHJDUGLQJ                             
                                FRQWLQXHGGLVFRYHU\DQGDQDO\VLV

    .%'     &5)       &DOOZ,1DVDWLU%0LFKDHODQG%5*WHDP                            
                                UHJDUGLQJ(FFOHVLDPDWWHUV
      20-12345-scc Doc
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                       989 Filed
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                                     Pg  19 of 176
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       -DQXDU\


                                                                                          +RXUV           5DWH       $PRXQW

    %00     &5)       0HHWLQJZLWK%5*DQG.'LQHUHJDUGLQJDVVHW                               
                                LQYHVWLJDWLRQ

    .%'     &5)       &DOOZ%5*DQG%0LFKDHOUHJDUGLQJDVVHW                                 
                                LQYHVWLJDWLRQ

    %00     &5)       0HHWLQJZLWK%5*DQG.'LQHUHJDUGLQJDVVHW                               
                                LQYHVWLJDWLRQ

    %00     &5)       8SGDWHGUDIWGRFXPHQWSURGXFWLRQUHTXHVWV                                  

    .%'     &5)       5HYLHZRXWVWDQGLQJDQGQHZGLVFRYHU\UHTXHVWV                             

    .%'     &5)       &DOOZ-RQHV'D\UHJDUGLQJGLVFRYHU\PDWWHUV                              

    %00     &5)       5HYLHZPDWHULDOVXSORDGHGE\'LRFHVHWRER[FRP                            

    %00     &5)       5HYLHZPDWHULDOVXSORDGHGE\'LRFHVHWRER[FRP                            

    %00     &5)       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJGRFXPHQW                              
                                SURGXFWLRQ

    %00     &5)       5HVHDUFKGLRFHVHDVVHWV                                                   

    %00     &5)       &DOOZLWK%5*UHJDUGLQJLQYHVWLJDWLRQRIGHEWRU¶V                         
                                DVVHWV

    %00     &5)       &DOOZLWK56WURQJUHJDUGLQJDVVHWLQYHVWLJDWLRQ                          

    .%'     &5)       7HOHSKRQHFDOOZLWK%0LFKDHOUHJDUGLQJRQJRLQJ                          
                                GLVFRYHU\RI'LRFHVHDVVHWVDQGQH[WVWHSV

    %00     &5)       )ROORZXSFDOOZLWK%5*UHJDUGLQJGLRFHVHDVVHWV                           

    %00     &5)       &DOOZLWK.'LQHUHJDUGLQJGLRFHVHDVVHWV                                 

    %00     &5)       &DOOZLWK&)1DQG'LRFHVHUHJDUGLQJGLRFHVHDVVHWV                         

    %00     &5)       'UDIWGLVFRYHU\UHTXHVWVWR'LRFHVH                                        

    .%'     &5)       &RUUHVSRQGHQFHDPRQJ36=-DQG%5*WHDPV                                   
                                UHJDUGLQJ'HEWRUUHTXHVWV

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-DQG%5*                                  
                                WHDPVUHJDUGLQJGLVFRYHU\PDWWHUV

    %00     &5)       5HYLHZUHVWULFWHGDVVHWGRFXPHQWV                                         

    %00     &5)       5HYLVHGRFXPHQWUHTXHVWVIRU36=-WHDPUHYLHZ                             

    .%'     &5)       7HOHSKRQHFRQIHUHQFHVZLWK%0LFKDHODQG                                 
                                SRWHQWLDOH[SHUWVZLWKUHVSHFWWRFHUWDLQDVVHWV

    %00     &5)       &DOOVZLWK.'LQH LQSDUW DQGSRWHQWLDOH[SHUWV LQ                    
      20-12345-scc Doc
     20-12345-scc  Doc1010
                       989 Filed
                           Filed02/25/22
                                 03/15/22 Entered
                                           Entered02/25/22
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                                                            18:58:48 Main
                                                                     MainDocument
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                                     Pg  20 of 176
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                   ,QYRLFH 
                                                                                     -DQXDU\


                                                                                       +RXUV            5DWH         $PRXQW
                                SDUW UHJDUGLQJDVVHWLQYHVWLJDWLRQ
    .//     &5)       5HYLHZ'HEWRUVGRFXPHQWVSURGXFHGRQ                            

    .%'     &5)       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-DQG%5*                                 
                                WHDPVUHODWLQJWRGLVFRYHU\PDWWHUV

    %00     &5)       5HYLVHGRFXPHQWUHTXHVWVWRWKHGHEWRU                                    

    %00     &5)       3UHSDUHSUHVHQWDWLRQIRU&RPPLWWHHUHJDUGLQJ                              
                                'LRFHVDQDVVHWV

    .//     &5)       5HYLHZDQGXSORDGGRFXPHQWVUHFHLYHGIURP                                
                                'HEWRUVRQ

                                                                                                              

  &PWH'LVF5HTV3DULVKHV
    %00     &53       &RPPXQLFDWLRQUHJDUGLQJSDULVKSURSHUW\VDOH                               

                                                                                                                  

  ,$&$IILOLDWH7UDQVDFWLRQV
    .%'     ,$&       &RUUHVSRQGHQFHZLWK)DUUHO)ULW]UHJDUGLQJ                               
                                )RXQGDWLRQ

    %00     ,$&       0HHWLQJZLWKVSHFLDOPHGLDWRUDQG()LVKHU LQ                           
                                SDUW 

    *6*     ,$&       5HYLHZ%0LFKDHOHPDLOVUHGLVFRYHU\UHTXHVWVDQG                       
                                FRPPHQWV

    *6*     ,$&       5HYLHZUHVHDUFKGDWDEDVHUHDYDLODEOH'2(                                
                                GRFXPHQWVDQG+6WUDQVIHUV

    %00     ,$&       5HYLVHPHPRUHJDUGLQJ,$&LQYHVWLJDWHGWUDQVIHU                          
                                IRU&RPPLWWHH

    *6*     ,$&       (PDLOVWRIURP%0LFKDHOUHDGYHUVDU\OLWLJDWLRQ                        
                                DQGPHPRUDQGDUHVDPH

    .%'     ,$&       5HYLHZDQGSUHSDUHFRPPHQWVWRPHPRUDQGDIRU                            
                                &RPPLWWHHUHJDUGLQJWUDQVIHUV

    %00     ,$&       5HYLVHPHPRUHJDUGLQJ,$&LQYHVWLJDWHGWUDQVIHU                           
                                IRU&RPPLWWHH

    *6*     ,$&       'UDIWPHPRUH+LJK6FKRROWUDQVIHUVDQGDQDO\VLVRI                     
                                FODLPV

    *6*     ,$&       5HYLHZGDWDEDVHUH'2(+6ILQDQFLDOVDQG                                
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                              3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                  ,QYRLFH 
                                                                                    -DQXDU\


                                                                                       +RXUV           5DWH        $PRXQW
                                GLVFXVVLRQRIWUDQVIHUV
    *6*     ,$&       5HYLHZGDWDEDVHUH+6DSSUDLVDOVDQGGLVFXVVLRQRI                    
                                LQYHVWPHQWDVVHWV

    *6*     ,$&       'UDIWUHYLVHPHPRUHOHJDODQDO\VLVRI+LJK6FKRRO                    
                                7UDQVIHUV

    *6*     ,$&       'UDIWUHYLVHPHPRUHIDFWVUHODWLQJWR+LJK6FKRRO                    
                                7UDQVIHUV

    *6*     ,$&       5HYLVH+6FRPSODLQWUHSUHWUDQVIHUDSSUDLVDOVDQG                      
                                GDPDJHV

    *6*     ,$&       5HYLHZ)RXQGDWLRQIDFWVDQGEHJLQGUDIWRIVKRUW                       
                                PHPRUHOHJDOFODLPV

    *6*     ,$&       (PDLOWR%0LFKDHOUH+LJK6FKRROWUDQVIHUVDQG                       
                                PHPR

    -,6     ,$&       5HYLHZIROORZXSUHTXHVWWR)RXQGDWLRQ                                 

    -,6     ,$&       5HYLHZDQGFRPPHQWRQPHPRUHJDUGLQJIUDXGXOHQW                        
                                WUDQVIHUVIRU&RPPLWWHHSUHVHQWDWLRQ

    -,6     ,$&       5HYLHZDQGFRPPHQWRQSRZHUSRLQWSUHVHQWDWLRQWR                       
                                &RPPLWWHHRQ,$&LVVXHV

    -,6     ,$&       &DOOZLWK.%URZQUHJDUGLQJ,$&SUHVHQWDWLRQWR                       
                                &RPPLWWHH

    *6*     ,$&       5HYLHZ)RXQGDWLRQILQDQFLDOVUHFXUUHQWVWDWXV                         

    *6*     ,$&       'UDIWPHPRUH)RXQGDWLRQWUDQVIHU                                      

    *6*     ,$&       &DOOZLWK%0LFKDHOUHGLVFRYHU\DQG&RPPLWWHH                        
                                SUHVHQWDWLRQV

    %00     ,$&       5HYLVHPHPRUHJDUGLQJ,$&LQYHVWLJDWHGWUDQVIHU                         
                                IRU&RPPLWWHH

    *6*     ,$&       5HYLHZVOLGHGHFNUHSUHSDUDWLRQRILQGLYLGXDO                         
                                SUHVHQWDWLRQV

    %00     ,$&       5HYLVHPHPRUHJDUGLQJ,$&LQYHVWLJDWHGWUDQVIHU                         
                                IRU&RPPLWWHH

    *6*     ,$&       5HVHDUFK1<'&/YV897$FKDQJHVWRIUDXGXOHQW                          
                                WUDQVIHUODZ

    *6*     ,$&       'UDIWSUHVHQWDWLRQIRU&RPPLWWHHUH6HPLQDU\                          
                                7UDQVIHU

    /$)     ,$&       /HJDOUHVHDUFKUH7H[WRI1<8)&$ UHSHDOHG                            
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       -DQXDU\


                                                                                         +RXUV            5DWH         $PRXQW

    *6*     ,$&       5HVHDUFKUHYLHZFDVHVDQGUHVXOWLQJWUXVWLVVXHV                           
                                UHODWLQJWRWUDQVIHUV

    *6*     ,$&       5HYLHZ5)5$LVVXHVUHODWLQJWRIUDXGXOHQWWUDQVIHUV                       

    *6*     ,$&       5HYLHZ)LUVW$PHQGPHQWLVVXHVUH'LRFHVH¶V                                 
                                DUWLFXODWHGGHIHQVHVDQGUHVSRQVHV

    *6*     ,$&       5HYLHZ+6ILQDQFLDOVDQGDSSUDLVDOVUHWUDQVIHUVDQG                       
                                YDOXDWLRQ

    *6*     ,$&       'UDIWSRZHUSRLQWSUHVHQWDWLRQUH+6WUDQVIHUV                             

    *6*     ,$&       'UDIWFRPSOHWHSRZHUSRLQWSUHVHQWDWLRQUH+6                              
                                WUDQVIHUV

    .+%     ,$&       (PDLOVIURP%0LFKDHOUHPHHWLQJZLWK&RPPLWWHH                           
                                UHIUDXGXOHQWWUDQVIHUFODLPV

    *6*     ,$&       5HYLHZGUDIWGRFXPHQWUHTXHVWV                                             

    *6*     ,$&       5HYLHZUHYLVH+LJK6FKRROWUDQVIHUSUHVHQWDWLRQ                            

    *6*     ,$&       (PDLOIURPWR.%URZQUH,$&PHPRUDQGDDQG                                
                                DQDO\VLV

    *6*     ,$&       7HOHSKRQHFDOOZLWK%0LFKDHOUHGLVFRYHU\                                
                                UHTXHVWVDQG&RPPLWWHHFDOOV

    *6*     ,$&       5HYLHZDQGDQQRWDWHGUDIWGLVFRYHU\UHTXHVWV                               

    *6*     ,$&       3UHSDUHSRZHUSRLQWSUHVHQWDWLRQUH)RXQGDWLRQ                            
                                7UDQVIHUDQGHPDLO%0LFKDHOUHVDPH

    *6*     ,$&       5HYLHZ3RZHUSRLQWVUHIORZDQGGXSOLFDWLRQ                                 

    *6*     ,$&       5HVHDUFKUHYLHZPHPRUDQGDUHPL[HGLQWHQWUH                               
                                IUDXGXOHQWWUDQVIHUV

    %00     ,$&       &DOOZLWK**UHHQZRRGUHJDUGLQJGLVFRYHU\                                  
                                UHTXHVWV

                                                                                                                

  ,QVXUDQFH/LWLJDWLRQ
    ,'6     ,/        5HYLVHLQVXUDQFHVORWWLQJFKDUW                                            

    ,'6     ,/        :RUNRQLQVXUDQFHVORWWLQJFKDUW                                           

    ,'6     ,/        5HYLVHLQVXUDQFHVORWWLQJFKDUW                                            

    ,$:1 ,/           5HYLHZHG%0LFKDHOHPDLOVUH(FFOHVLD                                     
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                      ,QYRLFH 
                                                                                        -DQXDU\


                                                                                          +RXUV            5DWH         $PRXQW

    ,$:1 ,/           ([FKDQJHGHPDLOVZLWK%HUULQJHUUHFKDUW                                    

    ,$:1 ,/           5HYLHZ,6FKDUIHPDLOVUH%HUULQJHUFKDUW                                  

    ,$:1 ,/           ([FKDQJHHPDLOVZLWK-%DLUUHFKDUW                                       

    ,'6     ,/        &RQWLQXHZRUNRQLQVXUDQFHVORWWLQJFKDUW                                   

    ,'6     ,/        (PDLOWR36=-%XUQV%RZHQ%DLUWHDPVUHJDUGLQJ                               
                                VORWWLQJFKDUW

    ,'6     ,/        )LQDOL]HGUDIWVORWWLQJFKDUW                                               

    ,'6     ,/        &RQWLQXHZRUNRQLQVXUDQFHVORWWLQJFKDUW                                   

    ,$:1 ,/           3UHSDUDWLRQIRULQVXUDQFHFRYHUDJHFDOOZLWKUHYLHZ                        
                                RI,6FKDUIFKDUW

    ,'6     ,/        5HYLVHLQVXUDQFHVORWWLQJFKDUWDIWHUGLVFXVVLRQZLWK                       
                                36=-%XUQV%RZHQ%DLUWHDPV

    ,$:1 ,/           5HYLHZ-%DLUUHVSRQVHVWRTXHVWLRQVUHLVVXHV                             

    ,$:1 ,/           5HYLHZ%0LFKDHOHPDLOUHWHOHSKRQHFDOOVZLWK                             
                                36=-WHDPUHJDUGLQJFRYHUDJH

    ,$:1 ,/           5HYLHZ-%DLUIROORZXSUH6,5H[KDXVWLRQ                                  

    ,$:1 ,/           5HYLHZ-%DLUHPDLOVUHVH[XDODEXVHH[FOXVLRQ                             

    ,$:1 ,/           5HYLHZ-%DLUHPDLOZLWKH[FHVVDQDO\VLVUH6,5                            
                                IXQG

    ,$:1 ,/           5HYLHZFKDUWUH6,5IXQG                                                    

    ,$:1 ,/           ([FKDQJHHPDLOVUHVDPHZLWK,6FKDUIDQG-%DLU                          

    ,$:1 ,/           5HYLHZ-%DLUHPDLOVUH$UURZRRGOHWWHU                                    

    ,$:1 ,/           5HYLHZFKDUWZLWKFODLPVDJDLQVWLQVXUHUV                                   

    ,$:1 ,/           5HYLHZ%0LFKDHOHPDLOUHFODLPVDJDLQVWLQVXUHUV                          

    %00     ,/        $QDO\]H'HEWRU VFODLPVLQVXUDQFHVORWWLQJ                                  

                                                                                                                 

  0WJV&RQIZ&OLHQW
    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-DQG%5*WHDPV                                     
                                UHJDUGLQJ&RPPLWWHHPHHWLQJVDQGQH[WVWHSV

    .%'     0&&       &RUUHVSRQGHQFHZLWK&RPPLWWHHDQG6&&UHJDUGLQJ                             
                                RXWVWDQGLQJPDWWHUV
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       -DQXDU\


                                                                                          +RXUV           5DWH       $PRXQW

    -,6     0&&       &DOOZLWK.'LQHDQG%0LFKDHOUHJDUGLQJ                                
                                UHWHQWLRQDQGPHHWLQJVFKHGXOH

    .%'     0&&       3ODQXSFRPLQJ&RPPLWWHHPHHWLQJVZ%0LFKDHO                             
                                DQG-6WDQJ

    %00     0&&       'LVFXVVLRQZLWK-6WDQJDQG.'LQHUHJDUGLQJ                              
                                XSFRPLQJ&RPPLWWHHPHHWLQJV

    .%'     0&&       5HYLHZFRUUHVSRQGHQFHWR6&&                                              

    %00     0&&       &RPPXQLFDWLRQZLWK6&&UHJDUGLQJXSFRPLQJ                                  
                                PHHWLQJ

    -,6     0&&       &DOOZLWKVWDWHFRXUWFRXQVHOIRUUHYLHZRILQVXUDQFH                    
                                LVVXHV

    .%'     0&&       3DUWLFLSDWHLQFDOOZ6&&UHJDUGLQJRXWVWDQGLQJ                          
                                PDWWHUV

    .%'     0&&       5HYLHZPHPRUDQGDIRU&RPPLWWHHRQRXWVWDQGLQJ                             
                                LVVXHV

    .%'     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                      

    .%'     0&&       5HYLHZFRUUHVSRQGHQFHDPRQJ36=-WHDPDQG                                 
                                &RPPLWWHH

    -,6     0&&        3DUWLDO $WWHQG&RPPLWWHHPHHWLQJUHJDUGLQJ                              
                                LQVXUDQFHFRYHUDJH

    .%'     0&&       3DUWLFLSDWHLQPHHWLQJZLWK&RPPLWWHHDQG6&&RQ                         
                                RXWVWDQGLQJPDWWHUV

    .%'     0&&       3UHSDUHIRUFDOOZ&RPPLWWHHRQRXWVWDQGLQJ                               
                                PDWWHUV

    %00     0&&       &DOOZLWK.'LQHUHJDUGLQJXSFRPLQJ&RPPLWWHH                             
                                PHHWLQJVDQGSUHVHQWDWLRQV

    %00     0&&       'UDIWSUHVHQWDWLRQVIRU&RPPLWWHHPHHWLQJV                                

    %00     0&&       &DOOZLWK6&&UHJDUGLQJRQJRLQJFDVHLVVXHV                                

    %00     0&&       3DUWLFLSDWHLQ&RPPLWWHHPHHWLQJUHJDUGLQJRQJRLQJ                         
                                FDVHLVVXHV

    .%'     0&&       &RUUHVSRQGHQFHZLWK6&&RQRXWVWDQGLQJPDWWHUV                            

    %00     0&&       &RPPXQLFDWLRQVZLWK36=-WHDPUHJDUGLQJ                                    
                                XSFRPLQJPHHWLQJVDQGVWUDWHJ\

    %00     0&&       'UDIWSUHVHQWDWLRQVIRU&RPPLWWHHPHHWLQJV                                
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       -DQXDU\


                                                                                          +RXUV           5DWH       $PRXQW

    .%'     0&&       5HYLHZGUDIWPHPRUDQGDWR&RPPLWWHHUHJDUGLQJ                             
                                OHJDOLVVXHV

    .%'     0&&       5HYLHZPDWHULDOVIRU&RPPLWWHHPHHWLQJV                                  

    %00     0&&       &DOOZLWK**UHHQZRRGUHJDUGLQJ&RPPLWWHH                                 
                                SUHVHQWDWLRQV

    %00     0&&       5HYLVH3RZHU3RLQWIRU&RPPLWWHHPHHWLQJ                                    

    *6*     0&&       $WWHQG&RPPLWWHHPHHWLQJWRGLVFXVVIUDXGXOHQW                           
                                WUDQVIHUVDVOLWLJDWLRQH[SHUW

    .%'     0&&       3DUWLFLSDWHLQPHHWLQJRI&RPPLWWHHDQG6&&                              
                                UHJDUGLQJRXWVWDQGLQJPDWWHUV

    .%'     0&&       5HYLHZPHPRUDQGDWR&RPPLWWHHRQOHJDOLVVXHV                             

    %00     0&&       3DUWLFLSDWHLQDQGWDNHPLQXWHVDW&RPPLWWHH                               
                                PHHWLQJUHJDUGLQJPHGLDWLRQDQGRWKHUFDVHLVVXHV

    %00     0&&       3UHSDUHIRU&RPPLWWHHPHHWLQJ                                              

    %00     0&&       5HVSRQGWR&RPPLWWHHPHPEHUTXHVWLRQ                                       

    .%'     0&&       7HOHSKRQHFDOOZLWK-$QGHUVRQUHJDUGLQJVWDWXV                          

    .%'     0&&       &RUUHVSRQGHQFHZLWK36=-WHDPVUHJDUGLQJVWDWXV                           
                                DQGQH[WVWHSV

    .%'     0&&       5HYLHZDQGSUHSDUHFRPPHQWVWRPHPRUDQGDIRU                              
                                FOLHQWV

    .%'     0&&       &RUUHVSRQGHQFHZ&RPPLWWHHDQG6&&UHJDUGLQJ                              
                                XSFRPLQJPHHWLQJV

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPUHJDUGLQJ                                  
                                &RPPLWWHHPHHWLQJV

    %00     0&&       &DOOZLWK57ROOQHUUHJDUGLQJDVVHWLQYHVWLJWLRQDQG                      
                                FDVHLVVXHV

    %00     0&&       &RPPXQLFDWLRQZLK36=-WHDPUHJDUGLQJXSFRPLQJ                             
                                &RPPLWWHHPHHWLQJV

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPDQG6&&                                    

    .%'     0&&       &RUUHVSRQGHQFHDPRQJ36=-WHDPUHJDUGLQJ                                  
                                SUHSDUDWLRQIRU&RPPLWWHHPHHWLQJ

    .%'     0&&       3UHSDUHDQGUHYLHZFRUUHVSRQGHQFHDPRQJ36=-                              
                                WHDPDQG&RPPLWWHHUHJDUGLQJPHHWLQJDJHQGD
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                    ,QYRLFH 
                                                                                      -DQXDU\


                                                                                        +RXUV            5DWH         $PRXQW

    .%'     0&&       5HYLHZPDWHULDOVDQGSURYLGHFRPPHQWVIRU                                 
                                SUHVHQWDWLRQWR&RPPLWWHH

    %00     0&&       3UHSDUHDJHQGDIRU&RPPLWWHHPHHWLQJ                                       

                                                                                                               

  0WJV&RQIZ&PWH3URIV
    .%'     0&3       &DOOZ$%XWOHUDQG-6WDQJUHJDUGLQJRXWVWDQGLQJ                       
                                PDWWHUV

    .%'     0&3       &DOOZ-RQHV'D\UHJDUGLQJRXWVWDQGLQJLVVXHV                              

    %00     0&3       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJRQJRLQJFDVH                          
                                LVVXHV

    -,6     0&3       &DOO,6FKDUIUHJDUGLQJXSGDWHPHHWLQJZLWK                              
                                'HEWRU VFRXQVHO

    %00     0&3       &RPPXQLFDWLRQVZLWK36=-WHDPUHJDUGLQJFDOOZLWK                          
                                -RQHV'D\

    %00     0&3       &DOOZLWK'HEWRU VFRXQVHOUHJDUGLQJPHGLDWLRQ                             

    -,6     0&3       &DOOZLWK'HEWRUUHJDUGLQJFDVHVWDWXV                                    

    .%'     0&3       &DOOZ-6WDQJ%5RVHQEOXP%0LFKDHODQG$                          
                                %XWOHUUHJDUGLQJRXWVWDQGLQJPDWWHUV

                                                                                                                 

  0HGLDWLRQ
    ,$:1 0(           ([FKDQJHHPDLOVZLWK,6FKDUIUHPHGLDWRUFDOO                           

    ,$:1 0(           5HYLHZHPDLOVEHWZHHQPHGLDWRUDQG%0LFKDHO                             
                                DQG,6FKDUIUHWHOHSKRQHFRQIHUHQFH

    .%'     0(        )ROORZXSFDOOZ%0LFKDHOUHJDUGLQJPHGLDWLRQ                           
                                PDWWHUV

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQVWUDWHJ\                             

    ,$:1 0(           3UHSDUDWLRQIRUSUHPHGLDWLRQFDOOZLWKUHYLHZRI                        
                                LQVXUDQFH

    ,$:1 0(           3UHPHGLDWLRQFDOOZLWK-6WDQJ%0LFKDHO7                         
                                %XUQV-%DLU,6FKDUIDQG.'LQH

    ,$:1 0(           0HGLDWLRQFDOOZLWK39DQ2VVHODHUDQG7&&                              
                                FRXQVHO
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       -DQXDU\


                                                                                         +RXUV            5DWH         $PRXQW

    ,$:1 0(           5HYLHZ%0LFKDHODQG%5*HPDLOVUHDYDLODELOLW\                           
                                IRUPHHWLQJ

    -,6     0(        0HHWLQJZLWKPHGLDWRU                                                     

    -,6     0(        &RQIHUHQFHFDOOZLWK36=-WHDPDQGVSHFLDO                                
                                LQVXUDQFHFRXQVHOUHLVVXHVWREHGLVFXVVHGZLWKWKH 
                                PHGLDWRU

    .%'     0(        &DOOZ39DQ2VVHODHU%%%DQG36=-WHDPV                                
                                UHJDUGLQJPHGLDWLRQ

    .%'     0(        7HOHSKRQHFDOOZLWK%0LFKDHOUHJDUGLQJIROORZXS                         
                                IURPPHHWLQJZLWKPHGLDWRU

    .%'     0(        &DOOZ%%%DQG36=-WHDPVWRSUHSDUHIRUFDOOZLWK                        
                                39DQ2VVHODHU

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQGHOLYHUDEOHV                          

    %00     0(        0HHWLQJZLWK%%%DQG36=-WHDPVUHJDUGLQJ                                   
                                PHGLDWLRQ

    %00     0(        &DOOZLWKPHGLDWRUDQG%%%DQG36=-WHDPV                                  
                                UHJDUGLQJPHGLDWLRQ

    ,$:1 0(           5HYLHZHPDLOVUHWLPLQJIRUFDOOUHPHGLDWLRQZLWK                         
                                GHEWRUV FRXQVHO

    .%'     0(        &DOOZ%%%DQG36=-WHDPVUHJDUGLQJQH[WVWHSV                            
                                UHODWLQJWRPHGLDWLRQ

    %00     0(        &DOOZLWKWHDPUHJDUGLQJPHGLDWLRQVWUDWHJ\                                 

    ,$:1 0(           5HYLHZ%0LFKDHOGUDIWHPDLOWRPHGLDWRU                                  

    .%'     0(        5HYLHZGUDIWFRUUHVSRQGHQFHUHODWLQJWRPHGLDWLRQ                          

    .%'     0(        7HOHSKRQHFRQIHUHQFHZLWK%0LFKDHOUHJDUGLQJ                            
                                PHGLDWLRQPDWWHUV

    %00     0(        &DOOZLWK.'LQHUHJDUGLQJPHGLDWLRQVWUDWHJ\                              

    ,$:1 0(           5HYLHZ%0LFKDHOHPDLOWR39DQ2VVHODHUUH                              
                                PHGLDWLRQ

                                                                                                                

  0RQWKO\)HH6WDWHPHQWV
    %00     0)$       5HYLVH36=-PRQWKO\IHHVWDWHPHQW                                           

    %00     0)$       5HYLVH36=-PRQWKO\IHHVWDWHPHQW                                           
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
'LRFHVHRI5RFNYLOOH&WU2&&                                                                     ,QYRLFH 
                                                                                       -DQXDU\


                                                                                         +RXUV            5DWH       $PRXQW

    %00     0)$       5HYLVH36=-PRQWKO\IHHVWDWHPHQW                                          

    %00     0)$       5HYLVH36=-PRQWKO\IHHVWDWHPHQW                                          

    '++     0)$       5HYLHZHGLW36=-'HFHPEHUPRQWKO\VWDWHPHQW                                
                                  SUHSDUH36=-'HFHPEHUIHHVWDWHPHQWIRU
                                ILOLQJZLWKWKHFRXUW  

    .//     0)$       )LQDOL]HFHUWLILFDWHRIQRREMHFWLRQWRFRXQVHOV IHH                      
                                VWDWHPHQWVIRUILOLQJ

    '/0     0)$       5HYLHZILQDOL]HDQGILOH&12UH1RYHPEHU)HH                             
                                6WDWHPHQWVRI36=-DQG%XUQV%RZHQ%DLU

    .//     0)$       5HYLHZUHYLVHDQGILQDOL]H36=-'HFHPEHUPRQWKO\                          
                                IHHVWDWHPHQW

    .//     0)$       5HYLHZUHYLVHDQGILQDOL]H%XUQV%RZHQ%DLU                               
                                'HFHPEHUPRQWKO\IHHVWDWHPHQW

                                                                                                                 

  5HDO(VWDWH
    '++     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                        

    '++     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                        

    '++     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                       

    %&'     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                        

    '++     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                       

    %&'     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                         

    '++     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                       

    %&'     5($/      $QDO\VLVRI'LRFHVHDQG3DULVKUHDOHVWDWHKROGLQJV                         

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                                       SERVICE LIST

Debtor
Attn: Thomas Renker
The Roman Catholic Diocese of Rockville Centre
992 North Village Avenue
P.O. Box 9023
Rockville Centre, NY 11570-9023

Attorneys for the Debtor
Jones Day
Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.
250 Vesey Street
New York, NY 10281

The U.S. Trustee
The Office of the United States Trustee Region 2
Attn: Greg Zipes, Esq. and Shara Cornell, Esq.
201 Varick Street, Suite 1006
New York, NY 10014




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                                         EXHIBIT F

                                       Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor.1                    )
                                                                )


                            ORDER GRANTING
    FOURTH INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION AND
    REIMBURSEMENT OF EXPENSES BY PACHULSKI STANG ZIEHL & JONES LLP
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH JANUARY 31, 2022

                  Pachulski Stang Ziehl & Jones LLC (“PSZJ”) as Counsel to the Official

Committee of Unsecured Creditors in the above-captioned case, filed its Fourth Interim

Application for Compensation for the Period from October 1, 2021 through January 31, 2022

(the “Fourth Interim Fee Application”). The Court has reviewed the Fourth Interim Fee

Application and finds that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; (b) notice of the Fourth Interim Fee Application, and any hearing on the Fourth

Interim Fee Application, was adequate under the circumstances; and (c) all persons with standing

have been afforded the opportunity to be heard on the Fourth Interim Fee Application.

Accordingly, it is hereby

                  ORDERED that the Fourth Interim Fee Application is GRANTED. PSZJ is

hereby awarded, on an interim basis, the allowance of $883,629.00 for services rendered and

$16,266.20 for actual and necessary expenses incurred in the Chapter 11 case during the Fourth


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.


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Interim Compensation Period. The Debtor is hereby authorized and directed to immediately pay

PSZJ the unpaid portion of such allowed fees.

                 ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.

Dated: ____________________, 2022
       New York, New York

                                              THE HONORABLE SHELLEY C. CHAPMAN
                                              U.S. BANKRUPTCY JUDGE




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